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  Exhibit H
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                         IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 A.S.R., individually and on behalf of all others
 similarly situated,

 Petitioner–Plaintiff,

 v.

 DONALD J. TRUMP, in his official capacity as              Case No. 3:25-cv-00113-SLH
 President of the United States, et al.,

 Respondents–Defendants.                                   Judge Stephanie L. Haines




                     DECLARATION OF OSCAR SARABIA ROMAN

       I, Oscar Sarabia Roman, declare as follows:

       1. I am over eighteen years of age and am competent to make this declaration.

       2. I am a lawyer at the American Civil Liberties Union Immigrants’ Rights Project. I

          represent the Petitioners in this case.

       3. Attached hereto as exhibits are true and correct copies of the following:

Exhibit Documents

1.       “Alien Enemy Validation Guide,” “Verification of Removal,” and “Notice and Warrant
         of Apprehension and Removal Under the Alien Enemies Act” Transcription.

2.       Second “Notice and Warrant of Apprehension and Removal under the Alien Enemies
         Act.”

3.       Attorney General, Memorandum for Law Enforcement Officers re: Guidance for
         Implementing the Alien Enemies Act (Mar. 14, 2025).

4.       Dep’t of Homeland Sec., Homeland Sec. Investigations, Assessment Report of Analysis
         (HSI-CHI-24-455).



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5.       Dep’t of Homeland Sec., U.S. Border Patrol, Situational Awareness: TDA Gang
         Recognition Indicators (Oct. 2, 2023).

6.       Syra Ortiz Blanes, Veronica Egui Brito & Claire Healy, Trump Sent These Venezuelans
         to El Salvador Mega Prison. Their Families Deny Gang Ties, Miami Herald (Mar. 18,
         2025), available at
         https://www.miamiherald.com/news/local/immigration/article302251339.html.

7.       Veronica Egui Brito, Despite Refugee Status in the U.S., Young Venezuelan Was
         Deported to Salvadoran Prison, Miami Herald (Mar. 21, 2025), available at
         https://www.miamiherald.com/news/local/immigration/article302464134.html.

8.       Patrick J. McDonnell et al., They Were Called Gang Members and Deported. Families
         Say Their Only Crime Was Having Tattoos, L.A. Times (Mar. 23, 2025), available at
         https://www.latimes.com/world-nation/story/2025-03-23/deportation-trump-
         venezuelans-el-salvador.

9.       Carla Gloria Colome & Florantonia Singer, Arturo and Frizgeralth, Convicted for Being
         Venezuelans: Trump Takes Another Step in His Racist Drift, El Pais (Mar. 24, 2025),
         available at https://english.elpais.com/international/2025-03-24/arturo-and-frizgeralth-
         convicted-for-being-venezuelans-trump-takes-another-step-in-his-racist-drift.html.

10.      Arelis R. Hernandez & Maria Luisa Paul, They Were Arrested During Routine ICE
         Check-Ins. Then They Were Disappeared, Wash. Post (Mar. 22, 2025), available at
         https://www.washingtonpost.com/immigration/2025/03/22/trump-venezuela-migrants-el-
         salvador/.

11.      Syra Ortiz Blanes & Veronica Egui Brito, U.S. Sent Venezuelan Man with Pending
         Political Asylum Case to El Salvador Mega Prison, Miami Herald (Mar. 27, 2025),
         available at
         https://www.miamiherald.com/news/local/immigration/article302671624.html.

12.      Noah Lanard & Isabela Dias, You’re Here Because of Your Tattoos, Mother Jones (Mar.
         26, 2025), available at https://www.motherjones.com/politics/2025/03/trump-el-
         salvador-venezulea-deportation-prison-cecot-bukele/.

13.      Tom Phillips & Clavel Rangel, Deported Because of His Tattoos: Has the US Targeted
         Venezuelans for Their Body Art?, Guardian (Mar. 20, 2025), available at
         https://www.theguardian.com/us-news/2025/mar/20/deported-because-of-his-tattoos-has-
         the-us-targeted-venezuelans-for-their-body-art.

14.      Charlie Savage & Julian E. Barnes, Intelligence Assessment Said to Contradict Trump on
         Venezuelan Gang, N.Y. Times (Mar. 22, 2025), available at
         https://www.nytimes.com/2025/03/20/us/politics/intelligence-trump-venezuelan-gang-
         alien-enemies.html.


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 15.      Nicole Acevedo, Deon J. Hampton & David Noriega, Tattoos of Deported Venezuelans
          Don’t Necessarily Signal Gang Affiliation, Experts Say, NBC News (Mar. 21, 2025),
          available at https://www.nbcnews.com/news/latino/tattoos-deported-venezuelans-not-
          necessarily-gang-members-rcna197089.

 16.      Julie Turjewitz, Jazmine Ulloa, Isayen Herrera, Hamed Aleaziz & Zolan Kanno-Youngs,
          ‘Alien Enemies’ or Innocent Men? Inside Trump’s Rushed Effort to Deport 238
          Migrants, N.Y. Times (Apr. 15, 2025), available at
          https://www.nytimes.com/2025/04/15/world/americas/trump-migrants-deportations.html.

 17.      Jonathan Blitzer, The Makeup Artist Donald Trump Deported under the Alien Enemies
          Act, New Yorker (Mar. 31, 2025), available at
          https://www.newyorker.com/news/annals-of-immigration/the-makeup-artist-donald-
          trump-deported-under-the-alien-enemies-act.

 18.      About 90% of migrants sent to El Salvador lacked U.S. criminal record, L.A. Times
          (Apr. 10, 2025), available at https://www.latimes.com/world-nation/story/2025-04-
          10/about-90-of-migrants-sent-to-el-salvador-lacked-u-s-criminal-record.

 19.      John Hudson & Warren P. Strobel, U.S. Intelligence Contradicts Trump’s Justification
          for Mass Deportations, Wash. Post (Apr. 17, 2025), available at
          https://www.washingtonpost.com/national-security/2025/04/17/us-intelligence-tren-de-
          aragua-deportations-trump/.


I hereby declare under penalty of perjury of the laws of the United States that the foregoing is

true and correct to the best of my knowledge and belief.

        Executed on 29th of April, 2025, in San Francisco, California.

                                                     /s/ Oscar Sarabia Roman
                                                     Oscar Sarabia Roman




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              EXHIBIT 1
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                                ALIEN ENEMIES ACT:
                           ALIEN ENEMY VALIDATION GUIDE


In the case of: ________________________________ A-File No:__________________

1. The person named above is fourteen years or older:
2. The person named above is not a citizen or lawful permanent resident of the United
   States:
3. The person named above is a citizen of Venezuela:

       If any of these three requirements are not satisfied, the person named above shall not
be ordered removed under the Alien Enemies Act (AEA). In such a case, you should consult
your supervisor and the Office of the Principal Legal Advisor (OPLA), U.S. Immigration and
Customs Enforcement, and, where applicable, initiate removal proceedings under the
Immigration and Nationality Act (INA).

4. The person named above is validated as a member of Tren de Aragua (TDA), as
   determined by reference to the following evaluation form:

       Instructions: Complete the following validation evaluation form for each suspected
alien targeted for removal under the AEA, or, following apprehension, for each alien
potentially subject to an AEA removal.

        After accounting for the two comments below, aliens scoring 8 points and higher are
validated as members of TDA; you should proceed with issuing Form AEA-21B, titled, “Notice
and Warrant of Apprehension and Removal under the Alien Enemies Act.” Aliens scoring 6 or
7 points may be validated as members of TDA; you should consult with a supervisor and
OPLA, reviewing the totality of the facts, before making that determination; if you determine
an alien should not be validated at this time as a member of TDA, when available, you should
initiate removal proceedings under the INA. Alien scoring 5 points or less should not be
validated at this time as member of TDA; when available, you should initiate removal
proceedings under the INA. 1

       Comment 1: Even if 8 points or higher, if all tallied points for an alien are from the
Symbolism and/or Association categories (with no points scoring in any other category),
consult your supervisor and OPLA before determining whether to validate the alien as a
member of TDA (and proceed with an AEA removal) or initiate INA removal proceedings.




1
  A tally of 5 points or less, or any decision to initiate INA removal proceedings, is not a finding
that an alien is not an Alien Enemy. Relatedly, at any time, additional information may come to
light that gives reason to revisit a prior decision to forego an AEA removal.
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         Comment 2: For purposes of validating an alien as a member of TDA, at least one
  scoring category must involve conduct occurring, or information received, within the past five
  years.

                                            Valuation Explanation
   Category                                 Definition Explanation                                  Points
                 a.   Subject has been convicted of violating Title 18, United States Code,
   Judicial           Section 521 or any other federal or state law criminalizing or imposing        10
 Outcomes and         civil penalties for activity related to TDA
   Official      b.   Court records (e.g., indictments, criminal complaints, sentencing
  Documents           memorandums) identifying the subject as a member of TDA, describing             5
                      specific activity of TDA
                 a.   Subject self-identifies as a member or associate of TDA verbally or in
                      writing to law enforcement officer, even if that self identification to a
Self-Admission                                                                                       10
                      law enforcement officer is unwitting, e.g., through lawful interception of
                      communications.
                 a.   Subject participates in criminal activity (e.g., narcotics trafficking,
                      human smuggling, etc.) with other members of TDA, including                     6
                      preparatory meetings and significant incidents directly attributed to TDA
                 b.   Law enforcement or intelligence reporting identifying subject as a
                      member of TDA, to include Bureau of Prisons validations and reliable            4
  Criminal            foreign partner information.
 Conduct and     c.   Credible testimonies/statements from victims, community members, or
                                                                                                      3
 Information          informants that affirm the subject’s membership in or allegiance to TDA.
                 d.   Detailed open-source media (e.g., newspapers, investigative journalism
                      reports) that describe arrest, prosecution, or operations of a subject as a     2
                      member of TDA
                 e.   Subject conducts and/or facilitates business with TDA (e.g., money
                                                                                                      2
                      laundering, mule, service provider)
                 a.   Written or electronic communications (e.g., e-mails, letters, texts, secure
                      messages) that discuss business with, and/or are communicating with,
                                                                                                      6
                      known members of TDA; cell phone data contains multiple group,
                      organizational, or organization leaders’ or members’ information.
                 b.   Subject conducts phone calls about the business of TDA with known
Documents and                                                                                        10
                      members of TDA
Communications
                 c.   Financial transactions indicating criminal activity for TDA or with
                                                                                                      3
                      known members of TDA
                 d.   Subject possesses written rules, constitution, membership certificates,
                      bylaws, etc., indicating, together with other conduct, membership of or         6
                      allegiance to TDA
                 a.   Subject has tattoos denoting membership/loyalty to TDA                          4
                 b.   Social media posts by the subject displaying symbols of TDA or
                                                                                                      2
                      depicting activity with other known members of TDA
                 c.   Subject observed tagging or graffitiing to mark the territory of, and the
                                                                                                      2
  Symbolism           subject’s allegiance to, TDA
                 d.   Subject observed displaying hand signs used by TDA                              2
                 e.   Subject displays insignia, logos, notations, drawings, or dress known to
                      indicate allegiance to TDA, as observed by law enforcement in person or         4
                      via virtual mediums
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                  a. Surveillance documentation that a subject is frequently observed closely
                                                                                                  2
                     associating with known leaders and members of TDA
Association
                  b. Subject part of group photos with two or more known members of TDA           2
                  c. Subject presently resides with known members of TDA                          2
                                                                                                Total Points




                                  VALIDATION DETERMINATION

                       Note: If any of the four requirements are not satisfied, do not
                                  complete this validation determination.

        Based on the validation guide and instructions above, including Comments 1 and 2, I find

that the person named above, _______________________________________________:

        1.    Is fourteen years or older;
        2.    Is not a citizen or lawful permanent resident of the United States;
        3.    Is a citizen of Venezuela; and
        4.    Is a member of Tren de Aragua.

              Accordingly, the above-named person is validated as an Alien Enemy.


  _____________________              _________________________                  __________________
   Name of Agent/officer           Signature of agent/officer                   Date
  completing the form              completing the form




 ______________________   _________________________                            ____________________
  Name of Supervisor    Signature of Supervisor                                Date
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                                  VERIFICATION OF REMOVAL


A-number______________________________________________ Date: __________________



Alien Enemy’s name: ___________________________________________________________



 Departure Date         Port of Departure               Manner of Departure


 Signature of Verifying Officer                         Title of Officer




       Photograph of alien removed                       Right index fingerprint of alien
                                                         removed




______________________________________                _________________________________
(Signature of alien whose fingerprint and             (Signature of official taking fingerprint)
Photograph appear above)
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             NOTICE AND WARRANT OF APPREHENSION AND REMOVAL
                       UNDER THE ALIEN ENEMIES ACT

A-File No.__________________________________________ Date: __________________

In the Matter of: _____________________________________________________________

Date of Birth: ________________                           Sex:       Male          Female

Warrant of Apprehension and Removal

To any authorized law enforcement officer:

The President has found that Tren de Aragua is perpetrating, attempting, or threatening an invasion or
predatory incursion against the territory of the United States, and that Tren de Aragua members are thus
Alien Enemies removable under Title 50, United States Code, Section 21.

________________________________________has been determined to be: (1) at least fourteen years of
            (Full Name of Alien Enemy)
age; (2) not a citizen or lawful permanent resident of the United States; (3) a citizen of Venezuela; and (4)
a member of Tren de Aragua. Accordingly, he or she has been determined to be an Alien Enemy and, under
Title 50, United States Code, Section 21, he or she shall immediately be apprehended, restrained, and
removed from the United States pursuant to this Warrant of Apprehension and Removal.

        Signature of Supervisory Officer: ___________________________________________

        Title of Officer: _______________________________              Date: __________________

Notice to Alien Enemy

I am a law enforcement officer authorized to apprehend, restrain, and remove Alien Enemies. You have
been determined to be at least fourteen years of age; not a citizen or lawful permanent resident of the United
States; a citizen of Venezuela; and a member of Tren de Aragua. Accordingly, you have been determined
to be an Alien Enemy subject to apprehension, restraint, and removal from the United States. You are not
entitled to a hearing, appeal, or judicial review of this notice and warrant of apprehension and removal.
Until you are removed from the United States, you will remain detained under Title 40, Unite States Code,
Section 21. Any statements you make now or while you are in custody may be used against you in any
administrative or criminal proceeding. This is not a removal under the Immigration and Nationality Act.

After being removed from the United States, you must request and obtain permission from the Secretary of
Homeland Security to enter or attempt to enter the United States at any time. Should you enter or attempt
to enter the United States without receiving such permission, you will be subject to immediate removal and
may be subject to criminal prosecution and imprisonment.

Signature of alien: ___________________________________                     Date:_______________

                                      CERTIFICATE OF SERVICE
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               EXHIBIT 2
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                        NOTICE AND WARRANT OF APPREHENSION AND REMOVAL
                                   UNDER THE ALIEN ENEMIES ACT

A-File No:
          - - - - - - - - - - - - - - - - - - - - - Date:- - - - - - - -
In the Matter of:
                  -----------------------------
Date of Birth: _ _ _ _ _ _ __                          Sex:         Male              Female

Warrant of Apprehension and Removal

To any authorized law enforcement officer:
The President has found that Tren de Aragua is perpetrating, attempting, or threatening an invasion or
predatory incursion against the territory of the United States, and that Tren de Aragua members are thus
Alien Enemies removable under Title 50, United States Code, Section 21.

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ has been determined to be: (1) at least fourteen years of
          (Full Name of Alien Enemy)
age; (2) not a citizen or lawful permanent resident of the United States; (3) a citizen of Venezuela; and (4)
a member ofTren de Aragua. Accordingly, he or she has been determined to be an Alien Enemy and, under
Title 50, United States Code, Section 21, he or she shall be apprehended, restrained, and removed from the
United States pursuant to this Warrant of Apprehension and Removal.
        Signature of Supervisory Officer: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        Title of Officer:                                                          Date: - - - - - - -
                            -----------------
Notice to Alien Enemy
I am a law enforcement officer authorized to apprehend, restrain, and remove Alien Enemies. You have
been determined to be at least fourteen years of age; not a citizen or lawful permanent resident of the United
States; a citizen of Venezuela; and a member of Tren de Aragua. Accordingly, under the Alien Enemies
Act, you have been determined to be an Alien Enemy subject to apprehension, restraint, and removal from
the United States. Until you are removed from the United States, you will be detained under Title 50, United
States Code, Section 21. Any statement you make now or while you are in custody may be used against you
in any administrative or criminal proceeding. This is not a removal under the Immigration and Nationality
Act. If you desire to make a phone call, you will be permitted to do so.
After being removed from the United States, you must request and obtain permission from the Secretary of
Homeland Security to enter or attempt to enter the United States at any time. Should you enter or attempt
to enter the United States without receiving such permission, you will be subject to immediate removal and
may be subject to criminal prosecution and imprisonment.

Signature of alien: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                             Date: - - - - - - -

                                     CERTIFICATE OF SERVICE
I personally served a copy of this Notice and Warrant upon the above-named person on _·_ _ _ _ __
and ensured it was read to this person in a language he or she understands.               (Date)


Name of officer/agent                                 Signature of officer/agent

                                                                                               Form AEA-21B
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               EXHIBIT 3
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                                           March 14, 2025

MEMORANDUM FOR LAW ENFORCEMENT OFFICERS

FROM:                      THEATTORNEYGENERAL                ~
SUBJECT:                   GUIDANCE FOR IMPLEMENTING THE ALIEN ENEMIES ACT

        The President's Proclamation under 50 U.S.C. § 21 et seq., titled, "Invocation of the Alien
Enemies Act Regarding the Invasion of the United States by Tren de Aragua" ("the Proclamation"),
directs the Attorney General and Secretary of Homeland Security to apprehend, restrain, secure,
and remove every Alien Enemy subject to the Proclamation. The Proclamation further grants
authority to the Attorney General to issue any guidance necessary to effectuate the prompt
apprehension, detention, and removal of Alien Enemies. This memorandum provides guidance on
implementing the President's invocation of the Alien Enemies Act ("AEA"). This guidance shall
take effect when the Proclamation is made public by the President.

                                                 ***
    (1) Definitions

       For purposes of this guidance memorandum, an "Alien Enemy" under the Proclamation
and 50 U.S.C. § 21 is a person who is: (1) fourteen years of age or older; (2) not a citizen or lawful
permanent resident of the United States; (3) a citizen of Venezuela; and (4) a member of the hostile
enemy Tren de Aragua, as determined by reference to Form AEA-21A, titled, "Alien Enemies Act:
Alien Enemy Validation Guide," attached to this memorandum.

    (2) Removal of Alien Enemies

        All aliens who are determined to be Alien Enemies under the Proclamation and 50 U.S.C.
§ 21 shall be issued a.Notice and Warrant of Apprehension and Removal under the AEA and
removed from the United States, except as provided in section (8) of this memorandum. In
effectuating the removal of Alien Enemies, law enforcement officers and agents ("officers") must
follow the procedures below.

       A. Apprehension and Removal Procedures in Proactive Matters

              i.      Step 1: Validation of Alien Enemy Status and Execution of Form AEA-21A

         At Step 1 of the proactive AEA apprehension and removal procedures, a line officer, or any
other available officer ("line officer"), is responsible for determining whether an individual
qualifies as an Alien Enemy. As outlined above, that requires determining that an individual is:
(1) at least fourteen years ofage; (2) not a citizen or lawful permanent resident of the United States;
(3) a citizen of Venezuela; and (4) a member ofTren de Aragua.




               LAW ENFORCEMENT SENSITIVE/LIMITED OFFICIAL USE
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Subject: Guidance For Implementing the Alien Enemies Act



        Form AEA-21A guides the analysis of these four requirements. Accordingly, at Step 1, a
line officer must complete Form AEA-21A for each suspected Alien Enemy. As outlined in that
form, there may be instances where removal proceedings under the Immigration and Nationality
Act ("INA") would be more appropriate based upon a review of the facts of the case than removal
under the AEA. Line officers should adhere to the instructions in Form AEA-21A, including
consulting with their supervisor(s) and the Office of the Principal Legal Advisor, U.S. Immigration
and Customs Enforcement, in making such a determination.

        At the conclusion of Step 1, if all four requirements stated above are satisfied, the line
officer must validate the subject individual as an Alien Enemy by signing the Validation
Determination section of Form AEA-21A. Thereafter, a supervisor must review the line officer's
determination and approve the reviewing officer's determination by signing in the space allotted
in Form AEA-21A. In this supervisory review, the supervisor may consider all relevant facts,
including but not limited to, supporting documentation, identity verification documentation, and
statements made by the alien regarding his or her alienage and connection to Tren de Aragua. The
supervisor may request additional information from any source and may require an interview of
the alien.

              ii.   Step 2: Issuance of Warrant of Apprehension and Removal

        If, at the conclusion of Step 1, a supervisor approves the line officer's validation
determination, a supervisor must then issue a Warrant of Apprehension and Removal for the
subject Alien Enemy by signing the top portion of Form AEA-21B, titled "Notice and Warrant of
Apprehension and Removal Under the Alien Enemies Act."

             iii.   Step 3: Deconfliction

       To the extent possible, before apprehending an Alien Enemy, officers should conduct
standard conflict checks (e.g., DICE, DARTS) to ensure apprehending and removing the Alien
Enemy is consistent with the interests of justice.

             iv.    Step 4: Apprehension of Alien Enemies in Proactive Matters

       After a supervisor issues a Warrant of Apprehension and Removal and deconfliction is
complete, officers shall use all available tools to immediately apprehend validated Alien Enemies
wherever they are found in the United States, including, but not limited to, inside Alien Enemies'
residences and workplaces. Prior to entering an Alien Enemy's residence to apprehend an Alien
Enemy, officers must have reason to believe the validated Alien Enemy is present inside the
residence.

       To be clear, as outlined below in the section titled, "Apprehension and Removal Procedures
in Reactive Matters," it is not necessary to complete Forms AEA-21A and AEA-21B prior to
apprehending an Alien Enemy, where an officer has a reasonable belief that all four requirements
to be validated as an Alien Enemy are met. In such circumstances, officers are authorized to
apprehend the Alien Enemy and thereafter complete Forms AEA-21A and AEA-21B.




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Subject: Guidance For Implementing the Alien Enemies Act

         While a judicial or administrative arrest warrant is not necessary to apprehend a validated
Alien Enemy, to perfect apprehension operation plans, officers should consider consulting federal
prosecutors in the relevant district to obtain criminal search warrants and/or criminal arrest
warrants based on violations of, for example, 8 U.S.C. § 1304(e) (failure to carry immigration
documents), 8 U.S.C. § 1306 (failure to register and failure to comply with address obligations), 8
U.S.C. § 1324 (smuggling and harboring aliens), 8 U.S.C. §§ 1325-1326 (illegal entry and re-
entry); and 18 U.S.C. § 922(g)(5) (possession of firearm by alien). Beyond these common crimes,
because Tren de Aragua has been designated as a Foreign Terrorist Organization and a Specially
Designated Global Terrorist, crimes including 18 U.S.C. § 2339B (providing material support or
resources to designated Foreign Terrorist Organizations) and 50 U.S.C. § 1705 (violating orders
issued under the International Emergency Economic Powers Act) may also be relevant to address
in any consultation. While the ultimate goal is immediate identification and removal of Alien
Enemies, coordination with federal prosecutors-who are required to support these operations at
every step-may enhance officers' ability to conduct apprehensions safely and efficiently, and may
assist in the collection of evidence identifying additional Tren de Aragua members in the vicinity
of the Alien Enemy to be apprehended.

              v.    Step 5: Service of Notice and Warrant of Apprehension and Removal

        Upon apprehension, an officer must serve the Alien Enemy with Form AEA-21B. This
Notice and Warrant of Apprehension and Removal must include a statement by the officer that
notifies the Alien Enemy that:

                    a) The officer has been authorized to apprehend, restrain, and remove Alien
                       Enemies;
                    b) The alien has been determined to be an Alien Enemy;
                    c) The alien has been determined to be at least fourteen years of age;
                    d) The alien has been determined to not be a citizen or lawful permanent
                       resident of the United States;
                    e) The alien has been determined to be a citizen of Venezuela;
                    f) The alien has been determined to be a member of Tren de Aragua;
                    g) The alien is not entitled to a hearing, appeal, or judicial review of the
                       apprehension and removal warrant;
                    h) The Alien Enemy shall be detained pending removal from the United States;
                       and
                    i) After being removed from the United States, the Alien Enemy may not enter
                       or attempt to enter the United States without the permission of the Secretary
                       of Homeland Security.

        After serving Form AEA-21B upon the validated Alien Enemy, the serving officer must
obtain the signature of the Alien Enemy and execute the certificate of service on Form AEA-21B.
If the Alien Enemy refuses to sign, the officer should so indicate on the signature line.




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Memorandum for Federal Law Enforcement Officers                                                Page4
Subject: Guidance For Implementing the Alien Enemies Act

             vi.     Step 6: Detention

         All apprehended Alien Enemies must be detained under 50 U.S.C. § 21 until removal is
effectuated because all Alien Enemies subject to the Proclamation are chargeable with actual
hostility or other crime against the public safety. Such detention may occur in any location deemed
suitable by officers in the Department of Justice or the Department of Homeland Security, and may
include facilities maintained by the federal government, state or local governments, or contracted
private entities.

             vii.   Step 7: Removal

        Immediately upon apprehension, officers should commence arrangements to promptly
remove the Alien Enemy out of the territory of the United States. At the time of removal, officers
must verify removal of the Alien Enemy on Form AEA-21C, titled, "Verification of Removal,"
and fully execute such form.

        B. Apprehension and Removal Procedures in Reactive Matters

        As much as practicable, officers should follow the proactive procedures above-and have
an executed Warrant of Apprehension and Removal-before contacting an Alien Enemy.
However, that will not always be realistic or effective in swiftly identifying and removing Alien
Enemies. For example, consistent with the law, officers may need to contact a suspected Alien
Enemy to develop further facts or otherwise confirm any of the four requirements for validation
as an Alien Enemy. Or an officer may encounter a suspected Alien Enemy in the natural course of
the officer's enforcement activity, such as when apprehending other validated members of Tren de
Aragua. Given the dynamic nature of enforcement operations, officers in the field are authorized
to apprehend aliens upon a reasonable belief that the alien meets all four requirements to be
validated as an Alien Enemy. This authority includes entering an Alien Enemy's residence to make
an AEA apprehension where circumstances render it impracticable to first obtain a signed Notice
and Warrant of Apprehension and Removal (Form AEA-21B).

       Whenever officers make a reactive apprehension under the AEA, officers must thereafter
complete each relevant step of the Proactive Removal Procedures outlined above. And prior to
removal of an Alien Enemy, officers must complete all forms described above, namely, Forms
AEA-21A, AEA-21B, and AEA-21C.

   (3) Independent Arrest Authority

        Many Alien Enemies and suspected Alien Enemies are already subject to immediate arrest
under traditional criminal and immigration arrest authority. Those arrests should already be
occurring. And in such cases, adhering to traditional arrest requirements, there is no reason to wait
for validation of Alien Enemy status before making an arrest. Following such arrests officers have
discretion to initiate an AEA removal if all requirements set forth herein are satisfied.




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    (4) Recordkeeping

       All records associated with the apprehension and removal of an Alien Enemy, including all
forms identified above and all supporting documentation, must be maintained by the Department
of Homeland Security.

    (5) Limitations on Relief From Removal

        a. No entitlement to hearings, appeals, or judicial review of removal order

       An alien determined to be an Alien Enemy and ordered removed under the Proclamation
and 50 U.S.C. § 21 is not entitled to a hearing before an immigration judge, to an appeal of the
removal order to the Board oflmmigration Appeals, or to judicial review of the removal order in
any court of the United States.

        b. Ineligibility for relief or protection from removal

        An alien determined to be an Alien Enemy under the Proclamation and 50 U.S.C. § 21 shall
be ineligible for any relief or protection from removal.

    (6) Reporting of Apprehension and Removal Warrants

       All issued Forms AEA-21B under this guidance memorandum must be reported to the
Secretary of Homeland Security.

    (7) Apprehension and Removal Authority

        All Department of Justice and Department of Homeland Security officers and agents are
hereby authorized to perform the actions described herein, including but not limited to,
determining Alien Enemy status, issuing notices and warrants of apprehension and removal, and
effectuating removals of Alien Enemies from the United States. At the direction of the Attorney
General or the Secretary of Homeland Security, subject to applicable law, any other law
enforcement officer or agent may also perform the actions described herein.

   (8) Exemptions from Removal

       An alien determined to be an Alien Enemy under the Proclamation and 50 U.S.C. § 21 may
be exempted from the immediate removal requirement of section (2) of this memorandum in the
following circumstances:

            a. First, immediate removal is not mandated when an Assistant United States Attorney
               or other Department of Justice attorney determines that the Alien Enemy may have
               engaged in criminal misconduct in violation of federal laws and investigation
               and/or prosecution of that criminal misconduct would best serve the interests of
               justice. In such a case, the Alien Enemy shall be detained under 50 U.S.C. § 21




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                (irrespective of any conditions of release set under 18 U .S.C. § 3142), 1 until the
                conclusion of any investigation, prosecution, and custodial sentence, or until an
                Assistant United States Attorney or other Department of Justice attorney
                determines that continued investigation or criminal prosecution no longer best
                serves the interests of justice. At such time, the Alien Enemy shall be removed from
                the United States under the AEA.

            b. Second, immediate apprehension and removal of an Alien Enemy is not mandated
               when the investigating agency determines that such actions would substantially
               compromise a significant law enforcement investigation or prosecution, and the
               participating U.S. Attorney's Office concurs in writing with the agency's
               determination.2    These determinations should be made with all relevant
               circumstances in mind, including the safety of the public and the desire to swiftly
               remove Alien Enemies from the United States. Delay in apprehension and removal
               of an Alien Enemy under this subsection is permitted only for such time as is
               reasonably necessary to complete the investigation or prosecution. Further, in the
               event it would not impair an investigation or prosecution to hold an Alien Enemy
               in custody during the pendency of the investigation or prosecution, the Alien
               Enemy shall be detained under 50 U.S.C. § 21.

        All exemptions under this section shall be disclosed as Urgent Reports pursuant to Justice
Manual § 1-13.130; such reports shall specify the anticipated charges, the anticipated timeframe
for bringing charges, and, where applicable, the significance of an Alien Enemy's role in an
ongoing investigation or prosecution.

    (9) Prosecution Referrals

        Consistent with the exemptions outlined in section (8), throughout the removal process
described herein, officers should be alert to cases where a referral to the U.S. Attorney's Office
for criminal prosecution, rather than immediate removal as an Alien Enemy, may better serve the
interests of justice.

    (10)        Attachments

            a. Form AEA-21A ("Alien Enemies Act: Validation Guide")


1 In the event a court orders an Alien Enemy detained pending trial under 18 U.S.C. § 3142, officers

should be prepared to resume custody of the Alien Enemy under 50 U.S.C. § 21 when the Alien
Enemy's custodial status changes (e.g., when conditions of release are later set by the court or the
criminal case terminates).
2
  There may be instances where a federal agency is partnered with a state or local prosecutor on an
active investigation or prosecution. The presumption in such cases is that any associated Alien
Enemy will be subject to immediate apprehension and removal under the AEA. This presumption
may be overcome only upon approval from the Office of the Deputy Attorney General following
a written request from the subject agency and prosecutor's office.



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            b. Form AEA-21B ("Notice and Warrant of Apprehension and Removal Under the
               Alien Enemies Act")
            c. Form AEA-21C ("Verification of Removal")




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                                  ALIEN ENEMIES ACT:
                            ALIEN ENEMY VALIDATION GUIDE

In the case of: ----------------                              A-File No.: ---------

1. The person named above is fourteen years or older: D
2. The person named above is not a citizen or lawful permanent resident of the United
   States: D
3. The person named above is a citizen of Venezuela: D

       If any of these three requirements are not satisfied, the person named above shall not
be ordered removed under the Alien Enemies Act (AEA). In such a case, you should consult
your supervisor and the Office of the Principal Legal Advisor (OPLA), US. Immigration and
Customs Enforcement, and, where applicable, initiate removal proceedings under the
Immigration and Nationality Act (INA).

4. The person named above is validated as a member ofTren de Aragua (TDA), as
   determined by reference to the following evaluation form:

       Instructions: Complete the following validation evaluation form for each suspected
alien targeted for removal under the AEA, or, following apprehension, for each alien
potentially subject to an AEA removal.

        After accounting for the two comments below, aliens scoring 8 points and higher are
validated as members of TDA; you should proceed with issuing Form AEA-21 B, titled, "Notice
and Warrant of Apprehension and Removal under the Alien Enemies Act. "Aliens scoring 6 or
7 points may be validated as members of TDA; you should consult with a supervisor and
OPLA, reviewing the totality of the facts, before making that determination; if you determine
an alien should not be validated at this time as a member ofTDA, when available, you should
initiate removal proceedings under the INA. Aliens scoring 5 points or less should not be
validated at this time as members of TDA; when available, you should initiate removal
proceedings under the INA. 1

       Comment 1: Even if 8 points or higher, if all tallied points for an alien are from the
Symbolism and/or Association categories (with no points scoring in any other category),
consult your supervisor and OPLA before determining whether to validate the alien as a
member ofTDA (and proceed with an AEA removal) or initiate INA removal proceedings.




1
  A tally of 5 points or less, or any decision to initiate INA removal proceedings, is not a finding
that an alien is not an Alien Enemy. Relatedly, at any time, additional information may come to
light that gives reason to revisit a prior decision to forego an AEA removal.
                                                 1
                                                                                            Form AEA-21A
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           Comment 2: For purposes of validating an alien as a member of TDA, at least one
    scoring category must involve conduct occurring, or information received, within the past five
    years.




                  a.   Subject has been convicted of violating Title 18, United States Code,
   Judicial            Section 521 or any other federal or state law criminalizing or imposing       10
 Outcomes and          civil penalties for activity related to TDA
    Official     b. Court records (e.g., indictments, criminal complaints, sentencing
  Documents         memorandums) identifying the subject as a member ofTDA, describing               5
                    s ecific activi ofTDA
                 a. Subject self-identifies as a member or associate of TDA verbally or in
                    writing to law enforcement officer, even if that self-identification to a
Self-Admission                                                                                       10
                    law enforcement officer is unwitting, e.g., through lawful interception of
                    communications
                 a. Subject participates in criminal activity (e.g., narcotics trafficking,
                    human smuggling, etc.) with other members ofTDA, including                       6
                    preparatory meetings and significant incidents directly attributed to TDA
                 b. Law enforcement or intelligence reporting identifying subject as a
                    member ofTDA, to include Bureau of Prisons validations and reliable              4
  Criminal          foreign partner information
 Conduct and     C. Credible testimonies/statements from victims, community members, or
                                                                                                     3
 Information        informants that affirm the subject's membership in or allegiance to TDA
                 d. Detailed open-source media (e.g., newspapers, investigative journalism
                    reports) that describe arrest, prosecution, or operations of a subject as a      2
                    member of TDA
                 e.    Subject conducts and/or facilitates business with TDA (e.g., money
                                                                                                     2
                       laundering, mule, service provider)
                 a.    Written or electronic communications (e.g., e-mails, letters, texts, secure
                       messages) that discuss business with, and/or are communicating with,
                                                                                                     6
                       known members of TDA; cell phone data contains multiple group,
                       or anizational, or or anization leaders' or members' information
                 b.    Subject conducts phone calls about the business ofTDA with known
Documents and                                                                                        10
                       members of TDA
Communications
                 C.    Financial transactions indicating criminal activity for TDA or with
                                                                                                     3
                       known members of TDA
                 d.    Subject possesses written rules, constitution, membership certificates,
                       bylaws, etc., indicating, together with other conduct, membership of or       6
                       alle iance to TDA
                 a.    Subject has tattoos denoting membership/loyalty to TDA                        4
                 b.    Social media posts by the subject displaying symbols of TDA or
                                                                                                     2
                       de ictin activi with other known members ofTDA
                 C.    Subject observed tagging or graffitiing to mark the territory of, and the
                                                                                                     2
  Symbolism            sub·ect's alle iance to, TDA
                 d.    Subject observed displaying hand signs used by TDA                            2
                 e.    Subject displays insignia, logos, notations, drawings, or dress known to
                       indicate allegiance to TDA, as observed by law enforcement in person or       4
                       via virtual mediums


                                                        2
                                                                                                     Form AEA-21A
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                  a. Surveillance documentation that a subject is frequently observed closely
                                                                                                   2
                     associatin with known leaders and members ofTDA
Association       b. Subject part of group photos with two or more known members of TDA            2
                  c. Subject presently resides with known members ofTDA                            2
                                                                                                Total Points




                                  VALIDATION DETERMINATION

                      Note: If any of the four requirements are not satisfied, do not
                                 complete this validation determination.
          Based on the validation guide and instructions above, including Comments I and 2, I find

  that the person named above, ------------------------

  I.   Is fourteen years or older;
  2.   Is not a citizen or lawful permanent resident of the United States;
  3.   Is a citizen of Venezuela; and
  4.   Is a member of Tren de Aragua.
       Accordingly, the above-named person is validated as an Alien Enemy.



  Name of agent/officer                   Signature of agent/officer              Date
  completing the form                     completing the form




  Name of supervisor                      Signature of supervisor                 Date




                                                     3
                                                                                                  Form AEA-21A
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                        NOTICE AND WARRANT OF APPREHENSION AND REMOVAL
                                   UNDER THE ALIEN ENEMIES ACT

A-File No:____________________                                       _     Date:_______               _

In the Matter of: -----------------------------
Date of Birth: --------                                Sex:         Male               Female

Warrant of Apprehension and Removal

To any authorized law enforcement officer:
The President has found that Tren de Aragua is perpetrating, attempting, or threatening an invasion or
predatory incursion against the territory of the United States, and that Tren de Aragua members are thus
Alien Enemies removable under Title 50, United States Code, Section 21.

___________________                                 has been determined to be: (1) at least fourteen years of
          (Full Name of Alien Enemy)
age; (2) not a citizen or lawful permanent resident of the United States; (3) a citizen of Venezuela; and (4)
a member ofTren de Aragua. Accordingly, he or she has been determined to be an Alien Enemy and, under
Title 50, United States Code, Section 21, he or she shall immediately be apprehended, restrained, and
removed from the United States pursuant to this Warrant of Apprehension and Removal.

        Signature of Supervisory Officer: ____________________                                              _

        Title of Officer:                                                          Date: -------
                            -----------------
Notice to Alien Enemy

I am a law enforcement officer authorized to apprehend, restrain, and remove Alien Enemies. You have
been determined to be at least fourteen years of age; not a citizen or lawful permanent resident of the United
States; a citizen of Venezuela; and a member of Tren de Aragua. Accordingly, you have been determined
to be an Alien Enemy subject to apprehension, restraint, and removal from the United States. You are not
entitled to a hearing, appeal, or judicial review of this notice and warrant of apprehension and removal.
Until you are removed from the United States, you will remain detained under Title 50, United States Code,
Section 21. Any statement you make now or while you are in custody may be used against you in any
administrative or criminal proceeding. This is not a removal under the Immigration and Nationality Act.
After being removed from the United States, you must request and obtain permission from the Secretary of
Homeland Security to enter or attempt to enter the United States at any time. Should you enter or attempt
to enter the United States without receiving such permission, you will be subject to immediate removal and
may be subject to criminal prosecution and imprisonment.

Signature of alien: _________________                                _             Date: -------
                                        CERTIFICATE OF SERVICE

I personally served the original of this Notice and Warrant upon the above-named person on -----
                                                                                                          (Date)

Name of officer/agent                                 Signature of officer/agent
                                                                                                   Form AEA-2 lB
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                                       VERIFICATION OF REMOVAL

A-File No:                                                               Date:_______                      _
             -----------------------
Alien Enemy's name:------------------------------


Departure Date                   Port of Departure             Manner of Departure


Signature of Verifying Officer                                 Title of Officer




       Photograph of alien removed                            Right index fingerprint of alien
                                                              removed


(Signature of alien whose fingerprint and                     (Signature of official taking fingerprint)
photograph appear above)




                                                                                              Form AEA-21C
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               EXHIBIT 4
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      Tren de Aragua (T d.A) is a transnational criminal organization that began as a labor union working in Venezuelan rail yards in the mid-to-
      late 2000s. Td.A rapidly evolved into a gang that specializes in human trafficking, extreme violence, and extortion in the Aragua State of
      Venezuela. The foundation of the gang and its leadership is based in Venezuelan prisons but has expanded into Mexico, Brazil, Ecuador,
      Pern, Chile, Costa Rica, Panama, Colombia, Guatemala, and Bolivia. The gang is swiftly growing and ramping up recruiting measw·es to
      strengthen its presence in the United States. Td.A is headed by Hector Rusthenford GueITero Flores aka ''Nino GueITero"-his cw1·ent
      whereabouts are unknown.


      EXPANSION AND CRIMINAL INVOLVEMENT
      Td.A has continuously made effo1ts to expand its criminal enterprise
      into other countries. There are three major steps that are part of its
      expansion process:
       1. Exploration Phase: Td.Amembers airive to a new area via
          border crossings, migration routes, hotspots, or urban ai·eas
                                                                                Tren de Aragua's Regional
                                                                                Presenceand Criminal
                                                                                Economies(2023)
                                                                                                        ~i:.':0
                                                                                                                ~
                                                                                                                                           Lara




                                                                                                                                           Vene
                                                                                                                                                   fi,_    Carabobo



                                                                                                                                                                         ::;co

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                                                                                                                                   Oeogo,a


-
          with notable Venezuelan populations. Td.A members exploit
Cl)       migrants and maintain a low profile while conducting illicit
                                                                                    PRESENCE               I       ,tt Jj &    >
                                                                                                                               Colombia                              Bo~,.,
          activities.
                                                                                                               I
                                                                                                                                                              -&e&~,.
Cl)
                                                                                    ■ Exptorat1onphase
~     2.   Penetration Phase: Td.A members enter local cri1ninal econo-
           mies with low baiTiers to entiy.
                                                                                    ■ PtnettJtlOn phut


~ 3. Consolidation Phase: Td.A establishes roots in cri1ninal econo-                ■ Conschdalion phase

                                                                                                                                                              rl I
<
i::.-
      mies, sets up a financial base, and builds criminal strnctures
                                                                                    CAIMlt-lM.
                                                                                             ECONOMIES

                                                                                     i;.EMr<lftion
                                                                                                                                          SOUTH
                                                                                                                                      ~MERICA                 ~ ~
           needed to maintain their illicit activities. This phase usually                                         TrUJ,1100
0          involves money laundering.                                               _        Ktctnapp,ng



t0    As depicted by a July 2023 InSight crime repo1t (see map to the
      right), Td.A has been involved in a variety of crimes while operating
                                                                                    ,ti .i,i,ontSmu09'"'9
                                                                                    tt Hll"'tlln Tr&f6ck1no
                                                                                             Contraband
                                                                                                                                                                        Bra11I




Q..   in South America.                                                             i•       M~O-trlfftckl"9
                                                                                                                                                           Bolivia

~
ci::: More recently, the organization has shifted its focus to establish a          I, Cybetcimo                                       Atica.0
                                                                                                                                                       p;·~·{5]
E- presence in the United States. Open source infonnation indicates                 0 Bladt        M&11<tts                          Tittapac     0

z~    that Td.A members ai·epresent in California, Illinois, Florida, New
      York, Nevada, and Texas and that suspected Td.A members may be
                                                                                    I Aobl><n••                                                                          Paraguay

                                                                                    W llegalM,mng
                                                                                                                                                  >
                                                                                                                                                   Chile

~     involved in a variety of crimes to include kidnapping, human ti·af-             •:     Loar, Shl1k1n9         1,-~-f.--tt-"-
                                                                                                                                 .....
                                                                                                                                  -"'----
Cl)   ficking, sex ti·afficking, organized retail crime, robberies, and docu-       ~ Smal-scaleDrug                                                             Ar9Pnt1na
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~
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      ment fraud.
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        Open sow-ce material has depicted T dA members with a combination of the below tattoos:

        "Jump Man" Symbol                              AK-47s                                Trains                              Crowns                 "Hijos de Dios" Quote




-
Cl)
Cl)

~
~ "Real Hasta La Muerte" Quote                                               Stars                                    Clocks                        Skull with Gas Mask
<
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Cl)
< ADDITIONAL IDENTIFIERS
        Homeland Secw-ity Investigations, Chicago Field Office, has obtained additional information to help identify TdA members:

        •    Typically males in the age range of 18-25 years old;

        •    Dressed in high-end w-ban street wear;

        •    Favor the Chicago BullsusPERbasketball jersey, specifically Michael JordanUSPERjerseyswith the number "23", and Jordan "Jump Man"
             footwear/sneakers; and/ or

        •    Often wear sports attire from U.S. professional sports teams with Venezuelan nationals on them.

        This product contains U.S. perso11i11fon11atio11 that has been deemed necessary for the intended recipient to understand, assess, or act on the infonnation provided. It has been
        highlighted in this document with the label USPER and should be handled in accordance with the recipient's intelligence oversightlinfonnation handling procedures. U.S. person
        infonnation should be protected in accordance with constitutional requirements and al/federal and state privacy and civil liberties laws.

        This is a Homeland Security Investigations (HSI), Chicago Field Division document. For any questions related to this report or to pro-
        vide additional information,please contact HSI Chicago at (630) 458-7400 or HSIChicagointake@J,si.dhs.gov.



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               EXHIBIT 5
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  US.   DEPARTMENT    OF HOMELAND      SECURITY

  U.S. CUSTOMS       AND BORDER PROTECTION


  U.S.         BORDER                    PATROL                                               ELPASOSECTOR
        THIS INFORMATION WAS PROVIDED BY CBP AND MAY CONTAIN INFORMATION FROM ANOTHER AGENCY. ANY DISCLOSURE OF THIS
INFORMATION OUTSIDE OF CBP MAY CONSTITUTE A VIOLATION OF THE THIRD AGENCY RULE. RELEASING ANY INFORMATION TO ANY ENTITY OUTSIDE OF
                                                    CBP IS STRICTLY PROHIBITED.
Situational Awareness                                                                                DATE: 10/02/2023
TDA Gang Recognition Indicators

(U//FOUO/LES) The El Paso Sector (EPT) Intelligence Unit (SIU) HUMINT-Gang Unit continues to see migrants
from Venezuela with confirmed and suspected links to the Tren de Aragua (TDA) gang.

(U//FOUO/LES) Intelligence collections have identified the below tattoos on subjects; indicative of possibly being
a member or associate of the TDA.
                                                     AK-47




                                              Gas Mask/Real Hasta la Muerte




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                   UNCLASSIFIED//FOR OFFICIAL USE ONLY/LAW ENFORCEMENT SENSITIVE
                                                         Stars on the Shoulders:




                                                                  Trains:




                                                                 Ismalito:




(U//FOUO/LES) EPT HUMINT-Gang Unit collections determined that the Chicago Bulls attire, clocks, and rose tattoos are typically related
to the Venezuelan culture and not a definite indictor of being a member or associate of the TDA.

(U//FOUO/LES) Agents are reminded to remain cognizant of their surroundings at all times and maintain a high level of situational
awareness when dealing with subjects with TDA indicators.

                               This product was prepared by the El Paso Sector Intelligence and Operations Center.
          Comments and/or questions may be directed to the El Paso Sector Intelligence HUMINT-GANG Unit EPT SIU HUMINT@cbp.dhs.gov.



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               EXHIBIT 6
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Trump sent these Venezuelans to El Salvador mega
prison. Their families deny gang ties.
    miamiherald.com/news/local/immigration/article302251339.html

Syra Ortiz Blanes, Verónica Egui Brito, Claire Healy                                         March 18, 2025

Immigration
By Syra Ortiz Blanes,
Verónica Egui Brito and
Claire Healy
|    22



     Watch the latest video shared today on President Nayib Bukele's X account, showing over 200
 Venezuelan migrants—that the federal government is linking to Tren de Aragua —arriving in El Salvador
and being transferred to the country's mega prison. The footage documents their arrival and transfer to the
    country's notorious prison. U.S. Secretary of State Marco Rubio and President Bukele have both
                confirmed the deportation flights. By El Salvador Presidential Press Office

The day after he was arrested while working at a restaurant in Texas, Mervin Jose Yamarte
Fernandez climbed out of a plane in shackles in El Salvador, bound for the largest mega-
prison in Latin America.

His sister, Jare, recognized him in a video shared on social media. As masked guards
shaved detainees’ heads and led them into cells at the maximum-security complex, Yamarte
Fernandez turned his gaze slowly to the camera.

TOP VIDEOS

“He was asking for help. And that help didn’t come from the lips. It came from the soul,” said
Jare, who asked to be identified by her nickname because she fears for her family’s safety
and who added her brother has no previous criminal record. “You know when someone has
their soul broken.”

READ MORE: Trump deports hundreds of alleged Venezuelan gang members. Did he defy a
court order?

Yamarte Fernandez, 29, is among 238 Venezuelans the Trump administration accused of
being gang members without providing public evidence and sent over the weekend to El
Salvador’s Terrorist Confinement Center, a prison about 45 miles from the capital designed
to hold up to 40,000 people as part of a crackdown on gangs. They will be jailed for at least
one year, El Salvador’s President Nayib Bukele said in a statement on X, following a deal
brokered between the two countries in February.

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Mervin Jose Yamarte Fernandez, 29, is one of Venezuelans accused by the Trump administration of gang
 affiliation and sent over the weekend to El Salvador’s Terrorist Confinement Center. His sister identified
him in a video shared on social media by the Salvadoran government. “He shouldn’t be imprisoned in El
 Salvador, let alone in a dangerous prison like the one where the Mara Salvatruchas are held,” his sister
                        told the Miami Herald. El Salvador Presidential Press Office

“These heinous monsters were extracted and removed to El Salvador where they will no
longer be able to pose any threat to the American people,” White House Press Secretary
Karoline Leavitt said.

But families of three men who appear to have been deported and imprisoned in El Salvador
told the Miami Herald that their relatives have no gang affiliation – and two said their relatives
had never been charged with a crime in the U.S. or elsewhere. One has been previously
accused by the U.S. government of ties to the feared Tren de Aragua gang, but his family
denies any connection.

Neither the Department of Homeland Security nor Immigration and Customs Enforcement
responded to Miami Herald questions about what criteria was used to select detainees sent
to El Salvador, what the plan is for detainees incarcerated abroad, and whether the
government had defied a federal judge’s orders to send them there.

Legal experts have taken the Trump administration to court over the deportations, arguing
that the government illegally invoked an 18th century wartime law. On Saturday, a federal
judge ordered the government to hold off on the deportations. The Justice Department has
said in court filings that the judge’s oral order to turn around the planes, after they had
already departed, was not enforceable and suggested that the ruling was not applicable
outside U.S. territory.

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READ MORE: White House says it didn’t defy court order on deportations as judge calls
hearing

Hannah Flamm, an attorney and acting senior policy director at the International Refugee
Assistance Project, a New York-based legal aid and advocacy group, said the Trump
administration’s use of wartime authorities to conduct deportations is “shocking.” She
described the weekend’s deportations as part of a “campaign of mass deportations and
evisceration of the rule of law.”

“The Trump administration is pushing the limits to find out what it can get away with, both in
the courts and in public opinion,” she said.

Families of some of the men sent to El Salvador told the Herald that they feel powerless in
the wake of the U.S. government’s decision to ship their loved ones off to a prison in a
foreign country without due process. For years, the prison has been the subject of
investigations by reporters and advocates who have found thousands of innocent people
have been jailed there without due process.

“He shouldn’t be imprisoned in El Salvador, let alone in a dangerous prison like the one
where the Mara Salvatruchas are held,” said Jare, referring to the international criminal
organization with roots in El Salvador. “There are many innocent people behind bars. And
today, my brother is one of them.”

Originally Yamarte Fernandez was hesitant to move to the United States, Jare said, but she
convinced him to join her in Dallas County to provide a better life for his partner and
daughter, who stayed back in their home state of Zulia. Jare said her brother did not have
any tattoos because of their Christian upbringing. Tattoos have been used by the U.S.
government in the past as an indication of gang affiliation, though experts say that Tren de
Aragua members don’t have any particular signs that identify their membership.

“I’m in so much pain,” said Jare, who lives in Texas. “I never imagined this country would
cause so much harm to my family.”

‘Irregular warfare’
On Saturday, President Donald Trump invoked the centuries old wartime law to allow his
administration to arrest, relocate, and deport any Venezuelan citizens over the age of 14 who
are Tren de Aragua members.

Best known for its role in interning Japanese immigrants during World War II, the Alien
Enemies Act is a 1798 law that has been used only three times before – all during times of
war. In his announcement of the order, Trump said that Tren de Aragua is invading the
country.



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“Evidence irrefutably demonstrates that TdA has invaded the United States and continues to
invade, attempt to invade, and threaten to invade the country; perpetrated irregular warfare
within the country; and used drug trafficking as a weapon against our citizens,” a statement
from Trump said.

Anyone accused of being a member of the gang has no right to challenge the accusation
under the Alien Enemies law, which grants the government the power to deport a person
without due process or the opportunity to contest the claim. Before the proclamation, the
American Civil Liberties Union filed a lawsuit against the U.S. government on behalf of five
Venezuelans facing deportation.

The rights organization claimed the law cannot be used against nationals of Venezuela
because the United States is not at war with Venezuela nor has Venezuela launched a
predatory incursion into the United States. Attorneys said the five men, who were not among
those deported on Saturday, had been wrongly identified as gang members and were
seeking asylum. At least two of them fled Venezuela in part because Tren de Aragua was
persecuting them, according to the lawsuit.

“J.A.V. is not and has never been a member of Tren de Aragua,” attorneys wrote about one
of the plaintiffs. “He was in fact victimized by that group and the group is the reason he
cannot return to Venezuela.”

Lee Gelernt, the ACLU’s lead counsel on the case, called the use of the Alien Enemies Act
“flatly unlawful” in a statement to the Herald. But he said that even if it could be used, the
individuals were entitled to due process to show they were not gang members.

“If these individuals are afforded due process it will then be determined whether they are
members of the gang but we would caution hesitation before anybody takes at face value the
Trump administration’s characterization given the administration’s frequent overstatement
about immigrant detainees, including with respect to the individuals sent to Guantanamo
over the past month,” said Gelernt.

READ MORE:‘Give us back our sons’: A look at the Venezuelan migrants Trump sent
to Guantanamo

A federal judge issued a ruling blocking the president from deporting the men on Saturday.
He also broadened the order to apply to anyone who could be at risk of deportation under
the executive order.

At the hearing, he ordered the Trump administration to return any flights that were in mid-air.
Flight-tracking data shows that three flights landed after the judge blocked the executive
order, according to the Washington Post.




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“Oopsie… Too late,” Bukele wrote on X, a post that Secretary of State Marco Rubio later re-
shared.

In Monday’s press briefing at the White House, Leavitt said the U.S. is paying $6 million to El
Salvador “for the detention of these foreign terrorists.” That same day during a court hearing,
the federal judge questioned the Trump administration to determine whether it had violated
Saturday’s injunction.

In an interview with Fox News, Rubio was asked about concerns regarding the lack of
concrete evidence confirming that all the individuals deported to the Salvadoran prisons are
indeed members of Tren de Aragua. He responded, “If one of them turns out not to be, then
they’re just illegally in our country, and the Salvadorans can then deport them from — to
Venezuela, but they weren’t supposed to be in our country to begin with.”

Flamm, the International Refugee Project lawyer, said the Trump administration was
undermining its own ability to crack down on gangs by deporting the people it is in the midst
of prosecuting. The federal government sent MS-13 members to El Salvador over the
weekend too, including a top leader of the group who is a defendant in a prominent criminal
case in New York

“The U.S. government has gone out of its way to prosecute on terrorism charges precisely in
an effort to hold gang leaders to account. But the Trump administration clearly does not
actually care about public safety or accountability,” she said.

‘Decision to leave’
Yamarte Fernandez had bought a house in a poor neighborhood in Maracaibo to live with his
wife and 4-year-old daughter. But the house needed to be remodeled, the kitchen
refurbished, the roof replaced.

He decided to travel to the U.S. to support his family at home and send back his earnings to
fix up the house. He made the journey from Zulia to the U.S through the Darien Gap, the
dangerous jungle between Panama and Colombia, with 13 other Venezuelans, including
three other men from his neighborhood who were detained by ICE the same day he was. He
arrived at the border in September 2023.




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Mervin Jose Yamarte Fernandez, 29, is one of 238 Venezuelans accused by the Trump administration of
  gang affiliation and sent over the weekend to El Salvador’s Terrorist Confinement Center. His sister


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 recognized him in a video shared on social media, where masked guards shaved the detainees’ heads
 and escorted them into cells at the maximum-security facility. As the camera panned across the scene,
                       Yamarte slowly turned his gaze toward it. Yamarte's family

But as the Trump Administration started its crackdown on illegal immigration – specifically
targeting Venezuelans – Yamarte Fernandez and his family had already decided to self
deport later this year.

“We had made the decision to leave the U.S. voluntarily to return to Venezuela,” Jare said. “I
wanted to stay until December, but he was determined to leave in September.”

Jare said his brother was a hard worker determined to not burden the U.S. In videos where
she recognized her brother in El Salvador, she identified two other men who had traveled
with him from their neighborhood in Venezuela.

“We came to this country to work and do things right,” she said. “It’s painful that they blame
my brother, and they portray him as a member of the Tren de Aragua. I don’t accept the bad
reputation created around my brother.”

Yamarte Fernandez is one of seven siblings from a Christian family in Maracaibo, the capital
of oil-rich state Zulia, bordering Colombia, according to his sister. Jare described him as a
lifelong athlete who loved soccer and baseball and found ways to be active despite his
challenging asthma.

“It’s a lie when they said that he was from the TdA. My brother doesn’t even have a tattoo,”
his sister said, explaining that his family doesn’t believe in tattoos because of religious
reasons.

‘Speaking to the devil’

On Monday, Venezuelan National Assembly President Jorge Rodríguez called on the
legislature, controlled by Nicolás Maduro’s regime, to issue a formal request banning all
Venezuelans from traveling to the U.S.

“In the United States, there is no rule of law when it comes to the rights of our migrants,”
Rodríguez said during a press conference in Caracas. He also spoke about Venezuelans
who were sent to the prison in El Salvador.

“We will go to great lengths, even if it means speaking to the devil, to ensure that
Venezuelans are returned to their homeland,” he said.

Venezuelan opposition leader Edmundo Gonzalez, who is recognized by the U.S. and other
democratic nations as the real winner of the presidential election held in Venezuela on July
28th, and Maria Corina Machado issued a statement Monday saying that the Tren de Aragua
poses a significant “threat to the entire region.”


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Machado and Gonzalez expressed support for the measures the U.S. is taking to identify,
arrest and prosecute those involved with or supporting the gang. However, they stressed the
need for authorities to exercise “extreme caution in administering justice.” They said it is
crucial to distinguish between high-level criminals like Maduro and the vast majority of
innocent Venezuelans, to prevent the unjust criminalization of Venezuelan migrants.

‘Wait for me’
Another family fears that their relative was also sent to prison in El Salvador, after he had
spent several weeks awaiting deportation in Texas.

Gustavo Adolfo Aguilera Agüero, 27, is from the Venezuelan Andes in Táchira, an area
bordering Colombia, and had been living in Dallas since December 2023 with his wife. The
couple entered the United States using a now-defunct mobile application to schedule
appointments with southwest border authorities. Aguilera Agüero’s wife soon found out she
was five months pregnant with their first child. Her husband was working installing water
pipes on rooftops and his wife found work taking care of children.

“It hasn’t been easy, but we came together to move ahead in life together,” said his wife,
Susej, who asked to only use her first name because she fears for her safety.

In early February, authorities detained Aguilera Agüero while he was taking trash out of his
home, his wife said. Authorities had been looking for someone else, she said, but he was
taken to Bluebonnet Detention Facility in Anson, Texas.

Aguilera Agüero spent several weeks in detention waiting for a deportation to Venezuela, but
his mother, Miriam Aguilera, now fears her son could be among the Venezuelans deported
on Saturday to El Salvador instead. The family last heard from Aguilera Agüero on Friday
night, when he told his mother he was being deported to Venezuela. A plane from Conviasa,
Venezuelan airlines, was going to take him back to his country.

“Mom, we’re going to be deported to Venezuela. Wait for me,” Miriam Aguilera remembered
her son telling her.




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  Gustavo Adolfo Aguilera Agüero, 27, from the Venezuelan Andes in Táchira, had been living in Dallas,
Texas, with his wife since December 2023. In early February, Aguilera Agüero was detained by authorities
while taking out the trash, according to his wife. Authorities were actually searching for someone else, but
 Aguilera Agüero spent several weeks in detention, awaiting deportation to Venezuela. Now, his mother,
   Miriam Aguilera, fears her son may be among the Venezuelans deported to El Salvador on Saturday
                                          instead. Aguilera's family

But by Sunday, no plane had arrived in Venezuela, and she saw the deportations to El
Salvador on the news. She still doesn’t know where he is – and has been scanning videos of
the Terrorism Confinement Center in El Salvador looking for him.

Aguilera Agüero has an American-citizen son, Jacob, who is nine months old, and an older
Venezuelan son, Santiago. His family denies that he has any connection with Tren de
Aragua. According to his mother, her son’s tattoos tell a story of love and loyalty: A crown,
inked with the name of his first son, Santiago. A star intertwined with his name and his
mother’s name. Across one arm, the phrase “Real hasta la muerte” – “Real until death” –
which was made famous by Puerto Rican reggaeton artist Anuel AA.

Public safety authorities in Texas have linked these tattoos to Tren de Aragua and officials
are using them to identify suspected members.

“We were told he was arrested because of the tattoos on his neck and arms, but my son
doesn’t have a criminal record,” Miriam Aguilera told the Herald.

One man whose relatives spoke with the Herald has previously faced accusations of gang
ties from the Drug Enforcement Administration. His family insists he was wrongfully accused
of gang involvement.

‘Let us leave’

Henry Javier Vargas Lugo, 32, originally from La Guaira state on Venezuela’s coast, had
been living in Aurora, Colorado, for nearly a year when he was detained on Jan. 29, and he
was later transported to Texas.



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Before Vargas Lugo migrated to the U.S., he lived in Colombia for seven years, working as a
mechanic in Bogotá. Seeking a fresh start, he decided to leave Colombia and try his luck in
the United States.

Vargas Lugo entered the U.S. through El Paso, bringing his daughter and her mother with
him. When U.S. Customs and Border Protection encountered him, they asked him to remove
his shirt to document his tattoos. Officials inquired whether he was affiliated with a gang,
including Tren de Aragua, and he denied any association, according to his sister, Nayrobis
Vargas, who spoke with the Miami Herald. He has several tattoos, including crowns with his
niece and mother’s name, a clock on his arm and a rosary.




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   Henry Javier Vargas, 32, originally from Vargas state on Venezuela’s coast, had been living in Aurora,
  Colorado, for nearly a year when he was detained on January 29. Prior to migrating to the U.S., Vargas
spent seven years in Colombia, working as a mechanic in Bogotá. Vargas’s family was able to identify him
in a video posted by Salvadoran President Nayib Bukele, showing the detainees arriving in El Salvador. In
    the footage, his hands are shackled, and his head is bowed in a moment of despair Vargas's family



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In Colorado he worked odd jobs, delivering food and shoveling snow, doing whatever it took
to provide for his family, his family said.

He was arrested in Aurora on extortion charges connected to an incident that occurred on
the light rail, officials confirmed. He was later released from jail pending an investigation, and
his family says that he was the victim of a scam.

The Drug Enforcement Administration – which participated in the arrest – released a photo of
Vargas Lugo, identifying him as a member of Tren de Aragua, but hasn’t disclosed any
evidence. He has yet to be sentenced with a crime.

Vargas Lugo’s family was able to identify him in a video posted by Bukele of the detainees
arriving in El Salvador. His hands are shackled and his head bowed.




Henry Javier Vargas, 32, originally from La Guaira state on Venezuela’s coast, had been living in Colorado
 for nearly a year when a family member identified him in a video posted by Salvadoran President Nayib
  Bukele. The footage showed Vargas among the Venezuelans deported to El Salvador’s largest mega-
   prison, the largest in Latin America. In the video, his hands are shackled, and his head is bowed in a
                           moment of despair. El Salvador Presidential Press Office

“The families are devastated and terrified of what might happen to them,” said one of his
cousins in Venezuela. “I haven’t eaten all day just thinking about what they’re going through.”

Yamarte Fernandez’s family is still planning to self deport back to Venezuela. His sister said
she does not “blame Trump” because she was “taught not to judge others.” But she said that
the president’s decisions are “reaching extremes that are impacting innocent people.”



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“Let us leave, but let us leave in a good way,” said Jare, Yamarte Fernandez’s sister. “Not
leaving from here and ending up in a prison.”

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Verónica Egui Brito ha profundizado en temas sociales apremiantes y de
derechos humanos. Cubre noticias dentro de la vibrante ciudad de Hialeah y
sus alrededores para el Nuevo Herald y el Miami Herald. Nacida y criada en
Caracas, Venezuela. Se unió al Herald en 2022. Verónica Egui Brito has
delved into pressing social, and human rights issues. She covers news within
the vibrant city of Hialeah, and its surrounding areas for el Nuevo Herald, and the Miami
Herald. Born and raised in Caracas, Venezuela. Joined the Herald in 2022.

SB

Syra Ortiz Blanes covers immigration for the Miami Herald and El Nuevo Herald. Previously,
she was the Puerto Rico and Spanish Caribbean reporter for the Heralds through Report for
America.


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"-67.P2ÿ62$ÿ,3ÿ/#$ÿM'0$1ÿ&1$70$2ÿMN/ÿQÿ)ÿ2/)/6/$ÿ3-,7ÿRSTUÿ.-$*0,62'Vÿ,1'Vÿ01*,W$+
+6-01Oÿ5)-/07$ÿQÿ/,ÿ$X.$'ÿ7,2/ÿ,3ÿ/#$ÿ)''$O$+ÿY$1$Z6$')1ÿO)1Oÿ7$74$-2[




\1ÿ]-0+)V^ÿ)ÿ3$+$-)'ÿ_6+O$ÿ01ÿ̀ )2#01O/,1^ÿa[b[^ÿ*,5$+ÿ/,ÿcO$/ÿ/,ÿ/#$ÿ4,//,7dÿ,3ÿ5#$/#$-
/#$ÿ"-67.ÿ)+70102/-)/0,1ÿ<BeDB<ÿfDCÿ=><B>ÿ/,ÿ#,'+ÿ,33ÿ,1ÿ/#$ÿ+$.,-/)/0,12ÿ5#0'$ÿ')5260/2
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g)1Vÿ-$')/0*$2ÿ,3ÿ/#$ÿ+$.,-/$$2ÿ+$1Vÿ/#$0-ÿW01ÿ#)*$ÿO)1Oÿ/0$2ÿ,-ÿ)ÿN-0701)'ÿ-$N,-+^
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/6-46'$1/ÿ#,7$')1+^ÿ.)-/ÿ,3ÿ/#$ÿ$X,+62ÿ/#)/ÿ#)2ÿ2$$1ÿ70''0,12ÿ3'$$ÿY$1$Z6$')[
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.')V$-[ÿc`$ÿ61+$-2/)1+ÿ)1+ÿ-$2.$N/ÿ/#$ÿ')52ÿ,3ÿ$)N#ÿN,61/-Vjÿ46/ÿ)/ÿ/#$ÿ2)7$ÿ/07$^ÿ5$
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       Case 3:25-cv-00113-SLH   Document 57-9   Filed 04/29/25   Page 62 of 191
01213ÿ5677893ÿ63ÿ1681ÿ6ÿ1ÿ 62ÿ136ÿ9717ÿ93ÿ8ÿ689786ÿ8ÿ1117
6978ÿ9ÿ6ÿ3611 ÿ79ÿ83ÿ6 9712ÿ81 1ÿ98ÿ1 ÿ1ÿ61671ÿ97ÿ83
698 1 ÿ 17ÿ1ÿ581 ÿ6 8837689 ÿ7976ÿ 9 ÿ63ÿ5ÿ 1ÿ8
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6 ÿ67ÿ6 99ÿ6 ÿ6ÿ3986ÿ186ÿ93ÿ8ÿ8ÿ1ÿ6 1ÿ6ÿ6 ÿ1371ÿ6ÿ200
6978813ÿ61ÿ6ÿ6 ÿ38 0
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6 ÿ961ÿ9ÿ83ÿ6/9781ÿ16ÿ016ÿ6 78ÿ98ÿ7910ÿ1ÿ6 ÿ1371ÿ83ÿ6
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 1ÿ63ÿ6ÿ3917ÿ96ÿ97ÿ871 ÿ6 ÿ2907
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       Case 3:25-cv-00113-SLH   Document 57-9   Filed 04/29/25   Page 63 of 191
01213ÿ5677893ÿ63ÿ 9ÿ9 2ÿ8ÿ1ÿ 81ÿ613ÿ8162ÿ68ÿ791ÿ9 ÿÿ
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9 $81 ÿ8ÿ97ÿ$883"
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 ,+3ÿ )3ÿ9ÿ78 868(1ÿ39 19 1ÿ1631ÿ9$ÿ6ÿ6 99ÿ368ÿ76)9ÿ-."ÿ1ÿ368ÿ31
719 8(1ÿ17ÿ36 ÿ8ÿ1ÿ9 81ÿ%8193ÿ9$ÿ'1 1(16 3ÿ1*!11ÿ9ÿ/ÿ6%697"
09 ÿ631ÿ31ÿ368ÿ83ÿ17ÿ$6 82+3ÿ716 ÿ9$ÿ6ÿ71 89 ÿ8ÿ1ÿ 81ÿ613"ÿ1ÿ9
9!13ÿ$97ÿ6ÿ71 89 ÿ8ÿ'1 1(16ÿ1ÿ8$ÿ17ÿ36 ÿ6 ÿ1%17ÿ1ÿ9ÿ9$ÿ/ÿ6%697"
 ,+ ÿ99ÿ3671ÿ9ÿ1%1 ÿ72ÿ9ÿ9ÿ9ÿ1ÿ 81ÿ613ÿ368ÿ76)9ÿ9ÿ91ÿ6ÿ31
639ÿ63ÿ6ÿ6 99ÿ9$ÿ6ÿ7931"ÿ,+ÿ1ÿ6$768ÿ6ÿ12ÿ9ÿ31!6761ÿ 1ÿ$79 ÿ 2
6173ÿ6 ÿ!ÿ 1ÿ8ÿ)68"
1ÿ'1 1(16 3ÿ83!61ÿ9ÿ/ÿ6%697ÿ6%1ÿ9ÿ16ÿ719731ÿ$97ÿ6!!16ÿ97ÿ711631
6 97123ÿ362ÿ6 ÿ 62ÿ$61ÿ81$881ÿ11 89 "
 171ÿ83ÿ9$ÿ9731ÿ9ÿ6 ÿ71ÿ97ÿ)886ÿ36 67ÿ8ÿ/ÿ6%697ÿ9ÿ93971ÿ1
!7839 3ÿ368ÿ2933ÿ678179ÿ6ÿ6%6976 ÿ6 217"ÿ131ÿ!19!1ÿ6%1ÿ"""ÿ9ÿ9 %889 
 9ÿ1ÿ9ÿ1ÿ6%6976 ÿ)381ÿ3231 "
187ÿ!7186 1 ÿ68%833ÿ362ÿ883ÿ1ÿ179389 ÿ9$ÿ1 9762ÿ67933ÿ1ÿ7189 
63ÿ1ÿ63ÿ1ÿ76 68ÿ7649 ÿ9 ÿ 87689 ÿ!31ÿ2ÿ56389 "
       Case 3:25-cv-00113-SLH   Document 57-9   Filed 04/29/25   Page 64 of 191
01234356ÿ89ÿ43 ÿ6 3ÿ2 38ÿ3ÿ6ÿ2 3ÿ28ÿ 434ÿÿ9 ÿ6386ÿ29
636ÿ 8ÿ34ÿÿ48ÿ9983 2ÿ8346!"




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38ÿ$8336ÿÿ2 3ÿ89ÿ48 ÿ43946ÿ8ÿ23ÿ83ÿ%36"ÿ&ÿ23ÿ934838
6!6ÿ23!ÿ !ÿ6ÿ963ÿÿ243"
0'3ÿ638ÿ934ÿ()*ÿ38ÿ383!ÿ3346ÿ9ÿ1438ÿ3ÿ4 ÿ22ÿ$ÿ% 94ÿ2 6
 433ÿ9ÿ29ÿ8ÿ234ÿ34!ÿ99ÿ+6ÿÿÿ 4ÿ43ÿ2 ÿÿ69ÿ6 3ÿ94ÿ, !34
9 46ÿ%3434!ÿ9ÿ%3ÿ 49ÿ-9ÿ29ÿ49#343ÿ23ÿ3 ÿ2ÿ&#33ÿ3 43
98ÿ."
        Case 3:25-cv-00113-SLH   Document 57-9   Filed 04/29/25   Page 65 of 191
0123245ÿ578ÿ3973ÿ1 ÿ2ÿ ÿ25ÿ412 ÿ75ÿ7ÿ45ÿ1ÿ552ÿ422
21325
981ÿ52ÿ395ÿ71324718ÿ 17ÿ ÿ75ÿ353ÿ4755ÿ572ÿ7711ÿ9
7ÿ3973ÿ39ÿ 557ÿ7 715ÿ3ÿ!ÿ"ÿÿ47ÿ13ÿ ÿ9ÿ3ÿ97ÿ412 27
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257349ÿ2ÿ41 5ÿ3ÿ141ÿ39ÿ71127ÿÿ39ÿ%&75ÿ9ÿ1ÿÿ
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 9ÿ71ÿ91ÿ239 3ÿ7 15ÿ3ÿ5471ÿ ÿ7 78ÿ1 ÿ13532ÿ7711ÿ572
' 5ÿÿ39ÿ137325ÿ975ÿ53ÿ17325ÿÿ39ÿ ÿ%&75ÿ12ÿ1
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395ÿ ÿ3ÿ(ÿ$771
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012ÿ45627ÿ89ÿ12ÿ28 2ÿ2422547ÿ5 252ÿ84ÿ5ÿ7ÿ252ÿ8ÿ12ÿ625ÿ4 2
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48 184 ÿ2ÿ986ÿ81ÿ625ÿ84ÿ008ÿ7ÿ922ÿ4 2ÿ6527ÿ986ÿ12
 251287ÿ524ÿ!5 ÿ12ÿ2472ÿ"42ÿ72554ÿ#8865ÿ54 ÿ$54565
%24492ÿ5ÿ272ÿ12ÿ812ÿ57ÿ5ÿ15 &84ÿ956'ÿ654ÿ18ÿ92
24225ÿ98ÿ#8865ÿ4ÿ()*ÿ2ÿ157ÿ122ÿ1 24+ÿ54ÿ))&'25&8ÿÿ4ÿ24225
54 ÿ5ÿ&'25&8ÿÿ54 ÿ8'ÿ(ÿ4ÿ#8865ÿ5,7ÿ772ÿ75'7ÿ12ÿ8ÿ17ÿ5 88ÿ89
 5'4ÿ5 7ÿ54 ÿ2ÿ8ÿ8-2ÿ ÿ5ÿ75ÿ84ÿ17ÿ98256ÿ986ÿ54ÿ524ÿ12ÿ15 ÿ5ÿ52
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ÿ693ÿ5ÿÿ!"ÿ#6ÿ$6 ÿ%&ÿ ÿ294ÿÿ542ÿ2ÿ5 ÿ'234567ÿÿ6
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)*ÿ59ÿ56ÿ+24,ÿ ÿ329ÿ56ÿÿ19526ÿ)- 3ÿ9ÿ23ÿ 4ÿ426ÿ064ÿ939
23 ,
$6653ÿ0753ÿ54ÿ ÿ729ÿÿ.2'ÿ56ÿÿ93ÿ761ÿ56ÿ9 ÿ/52365ÿ'2343ÿ159ÿ2
/512ÿ023ÿ326ÿ99ÿ356ÿ613ÿ ÿÿ4956 4ÿ'ÿÿ55739526
923595 ÿ9ÿ9ÿ3
       Case 3:25-cv-00113-SLH   Document 57-9   Filed 04/29/25   Page 68 of 191
0123ÿ52623789ÿ 1ÿ ÿ68ÿ8ÿ 1ÿ1 ÿ9 1ÿ81ÿ8691ÿ9ÿ18
972ÿ 1ÿ712 1ÿ68 ÿ2ÿ2896ÿ3 89ÿ9ÿÿ3 9ÿ2ÿ  69ÿ18
826ÿ 912ÿ9ÿ2ÿ!"6ÿ ÿ#969219ÿ691$
8691ÿ%9ÿ 1ÿ7 ÿ2ÿ182ÿ8ÿ  69ÿ21ÿ8ÿ52623789&ÿ ÿ12ÿ2ÿ!"6$
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 2 ÿ9ÿ2ÿ22$&
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01234ÿ67849ÿ ÿ ÿ4ÿÿ6ÿ4ÿ 42ÿ384ÿ89ÿ64ÿ8647ÿ998ÿ6 6ÿ4ÿ9426
ÿ 4ÿ8ÿÿ 397ÿ01ÿ1ÿ9ÿ4ÿ6474ÿ1ÿ9ÿ12ÿ944 ÿ77ÿ6 6ÿ1ÿ26
ÿ 397ÿ ÿ7949ÿÿ9ÿ87849ÿ4ÿ!"""ÿ44ÿ#ÿ64ÿ4$83 46ÿ
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+44,4 ÿ474ÿ98 649ÿ6ÿ64ÿ8ÿ-4647ÿ7ÿ*47778ÿ-8446ÿ64
4647844ÿÿ)442ÿ ÿ874768ÿ49 
./012ÿ24566ÿ78/4182ÿ9:;<==1>>ÿ5=?ÿ@/=4A/:B0ÿ81C<841?ÿ68<0ÿ91D/:<ÿE/4Fÿ7A/>1ÿ2C1:/5>
:<8812C<=?1=42ÿ918Fÿ9<G<>>H=ÿ5=?ÿI1>2<=ÿJ5B?5ÿ:<=48/KB41?Lÿ812C1:4/M1>FLÿ68<0
E585:52LÿN1=1OB1>5Lÿ5=?ÿP5=ÿP5>M5?<8QÿPC1:/5>ÿ:<8812C<=?1=4ÿE1:/>/5ÿPR=:A1OÿN/?5>
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  STUVÿXTÿYVZ[
  \]^ÿ\`^aÿb^ÿc`defdÿedaeÿghd`h^bÿiaÿdÿj^a^kf^ldaÿm`ignaoÿphqgÿanr
  b^^mÿiaÿsotoÿmnlihiug
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               EXHIBIT 9
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       Case 3:25-cv-00113-SLH     Document 57-9            Filed 04/29/25   Page 73 of 191




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       Case 3:25-cv-00113-SLH   Document 57-9   Filed 04/29/25   Page 76 of 191
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         Case 3:25-cv-00113-SLH            Document 57-9        Filed 04/29/25       Page 77 of 191
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      Case 3:25-cv-00113-SLH   Document 57-9   Filed 04/29/25   Page 78 of 191
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  Immigration

  They were arrested during routine ICE check-ins.
  Then they disappeared.
  Deportation proceedings are often shrouded in secrecy. But lawyers say the lack of
  information about the Venezuelan migrants deported under the Alien Enemies Act is
  nearly unprecedented.
  Updated March 22, 2025


Nays Ñaupari Rosila shows a photo of herself and her husband, Henrry Albornoz Quintero, who was detained by ICE.
(Desiree Rios/For The Washington Post)


       By Arelis R. Hernández and María Luisa Paúl


SAN ANTONIO — Henrry Albornoz Quintero’s family had been tracking his whereabouts through an online detainee
locator ever since he was arrested and put in deportation proceedings after a routine check-in with immigration
officials in late January.


But on Friday — less than a week before the expected birth of his son — the Venezuelan man disappeared from the
database.


“Your search has returned zero (0) matching records,” the government website states.


The families and lawyers of dozens of other Venezuelan and Salvadoran men who had been detained by U.S.
Immigration and Customs Enforcement say their relatives and clients have similarly disappeared over the past week,
with no explanation provided by the government over where they may be.


Deportation proceedings in the United States are often shrouded in secrecy. Arrest records are not public, and
detainees can be transferred to far-flung jails anywhere in the United States. But family members, lawyers and the
public can get information on an inmate’s whereabouts through an online database, contact with an official or direct
phone communication with a detainee.
             Case 3:25-cv-00113-SLH               Document 57-9     Filed 04/29/25       Page 82 of 191
Yet in the week since the Trump administration invoked the Alien Enemies Act to deport 137 Venezuelan migrants
accused of being Tren de Aragua gang members to a mega-prison in El Salvador, detainees can no longer be found in
the database. The Trump administration cast them as violent threats against Americans, though a top ICE official
admitted in a court filing that “many” of those deported under the act do not have criminal records in the U.S. A
lawyer advocating for those sent to El Salvador said in court Friday that his team would soon file documents that
show some of the migrants deported there were rejected by the prison because they were women or from countries
other than Venezuela or El Salvador.


Government prosecutors have offered little or no information about the migrants who were left there. Lawyers have
gone to court dates for bond and asylum hearings, only to find that their clients are missing. Relatives have been left
to scrutinize images released by the Salvadoran government showing men being frog-marched off a plane in shackles
into the prison, to find out if they are there.


“This looks like the kinds of things we thought only happened in other countries, and it’s happening to people who
come from those places and came here to get away from it,” said Michelle Brané, a former Biden appointee who is
among a group of lawyers working to identify detainees who may have been sent to El Salvador. “You’re not
supposed to have people disappear in the United States.”


The White House and the U.S. Department of Homeland Security have not released the names of the men sent to El
Salvador and did not respond to questions regarding when family members or lawyers will be notified. Press
secretary Karoline Leavitt said at a briefing Monday that the names were not being released “because of privacy
concerns at this point in time — that doesn’t mean we won’t.”



Do you know someone who was sent to El Salvador?

The Washington Post is trying to learn more about those being detained in El Salvador. If you know — or
think — that your loved one is one of those involved, we would like to hear from you. You can send us
information at this link.

The Washington Post está intentando obtener más información sobre las personas detenidas en El
Salvador. Si sabe o cree que su ser querido está entre las personas afectadas, nos gustaría saberlo. Puede
enviarnos información a través de este enlace.


Lawyers of those likely to have been sent to El Salvador say the lack of information around these men is nearly
unprecedented. They described a scrambled quest to find out where their clients are that has thus far yielded few
answers. Some called ICE detention centers and were told that the detainees about whom they were inquiring were
no longer there, but officials weren’t able to say where they are now.


“It’s like being completely stonewalled,” said Lucia Curiel, who is representing a Salvadoran man who she said has
no criminal convictions and disappeared from ICE’s detainee database after the Alien Enemies Act was invoked.


Communicating with the migrants sent to El Salvador and offering them legal representation is likely to be
extremely difficult. Inmates at the prison where they were sent are routinely denied access to lawyers or relatives.
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The families of 19-year-old Anyelo Sarabia González and 24-year-old Francisco Javier García Casique shared similar
stories. Their relatives had been in regular contact with them before they disappeared last weekend. Their family
members believe they have spotted them in photos taken of prisoners at El Salvador’s Terrorism Confinement
Center, but they have no official information on where they are or why they were taken there.


For Albornoz Quintero’s family, the search for information has been anguishing. His wife, Nays Ñaupari Rosila, is
nine months pregnant. She said she has repeatedly called Salvadoran authorities but has not been able to get
through to anyone. When she went to the Dallas ICE office looking for answers, she said she was told to leave or risk
arrest.


“I’m so scared for my baby,” Ñaupari Rosila, 22, said, sobbing. “Unfortunately, we came to a country where basically
we don’t have a right to anything.”




‘This isn’t Venezuela’
The three men whose families spoke with The Washington Post are all young Venezuelans who settled in north
Texas. All had been in the United States for about a year after illegally crossing the Rio Grande and surrendering to
U.S. Border Patrol. They were released into the country while they pursued asylum claims and were required to
attend regular check-ins with ICE.


Anyelo Sarabia González was “the baby of the house,” said Solanyer Michell Sarabia González, 25, his older sister.
The siblings, along with another sister, crossed into the U.S. in November 2023. They were told to check in with ICE
once a year — and it was during one of those check-ins in January that an officer began asking questions.


Solanyer said an ICE official took interest in a tattoo on her brother’s hand showing a rose with petals made of $100
bills. He’d only recently gotten the tattoo, she said. Their mother had forbade him from getting one in Venezuela.
Because her brother was now helping her pay the bills, “I felt like I couldn’t say no when he asked. God, I even
helped him pick it. We thought it was just a cool design.”


The official asked where Anyelo was from, said his sister, who also had an appointment that day and witnessed what
transpired. When he said he was from La Victoria, in the Venezuelan state of Aragua, that “was the nail in the
coffin,” she said. He was taken to another room and told to strip naked. His sisters got on their knees and begged the
official to deport them instead.


For more than a month, Solanyer and her brother stayed in contact regularly by phone. She tried reassuring him that
everything would be fine. She reminded him that he had an asylum hearing coming up in May.


“Don’t cry. This isn’t Venezuela,” she told him. “They have a justice system here.”
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Francisco Javier García Casique had also been detained while trying to comply with a routine ICE check-in during
February of last year. His brother, Sebastián García Casique, said one of the officers looked at his arms — sprawled
with tattoos of a compass, a crown, a single rose, and his mother’s, grandmother’s and sisters’ names — and began
asking questions.


“They saw that and they decided he was Tren de Aragua,” Sebastián said. “They didn’t care that he had never been
arrested before — neither in Peru, Venezuela or the United States — and told him that they needed to investigate
him more.”


Sebastián said his brother was detained for several months last year. Though Sebastián said authorities could not
link Francisco to any criminal activity, he was nonetheless ordered deported. But that didn’t happen. A judge
released him with an ankle monitor because, at the time, the U.S. did not have a deportation agreement with
Venezuela and the court decided he didn’t pose a security threat, his brother said.


“Francisco just kept telling us: ‘I have nothing to fear because I’m not a criminal,’” his brother recalled. Then in
February, officials showed up at Francisco’s home and sent him to a detention center. “It was bittersweet for him,
but he kept saying that his only wish was to be sent back to Venezuela.”


Albornoz Quintero and his wife had just celebrated their first year in the U.S. when he went to the ICE check-in
where he was detained. He is a mechanic by training and had managed to find repair jobs while waiting for a work
permit. The couple initially made ends meet by sleeping in a car but eventually earned enough money to put a
deposit down on an apartment in Dallas.


Both were elated when they learned she was pregnant, Ñaupari Rosila said.


She had no issues at the check-in, but an officer detained her husband without providing any explanation. The
expectant mom — then seven months pregnant — got in touch with an attorney and began raising money for him to
be released on bond. A hearing was scheduled for the same week that she was due.


But a few days before, Albornoz Quintero told his wife he was going to be deported back to Venezuela. The other
men whose families spoke with The Post say their loved ones also said they were going to be sent home.


In Texas and Venezuela, relatives anxiously searched for information on their flights. They were disappointed, but
the men were also eager to be out of jail and back with their families, even if it was in the place they’d risked
everything to leave. Francisco’s relatives cooked his favorite foods and prepared a homecoming celebration.


Then they disappeared.




Pushing legal boundaries
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On the same day the men last called their families, President Donald Trump had invoked a wartime provision
designating members of the Tren de Aragua gang as alien enemies eligible for immediate deportation.


The next day, March 15, they were boarded onto planes as a court battle began brewing over whether the president
had the right to deport the men under the act. Five men named as plaintiffs in the case were removed from the
planes, but the others departed and were in the air when a federal judge ordered that they be turned around. The
planes landed in El Salvador several hours later anyway.


Greg Chen, senior director of government relations for the American Immigration Lawyers Association, said there
appears to have been an information breakdown between immigration officials in Washington and local ICE
officials, who do not appear to have received adequate instruction about what is happening and what to do next.


“There’s operational chaos,” he said.


The situation echoes ICE’s early days after its founding in 2003, when entering immigration detention was like
“entering a black hole,” said Ohio State University law professor César Cuauhtémoc García Hernández. “People
would die in detention, and ICE wouldn’t inform anyone.”


But several immigration lawyers said the agency had become more transparent in recent years, after several
embarrassing investigative reports and lawsuits. ICE regularly made detainees available for court, granted some
legal access, facilitated phone calls and in 2020 created the locator system in response to pressure from advocacy
groups. Anyone with a detainee’s basic details could learn where that person was being held.


That wasn’t the case, however, when the Trump administration began sending migrants to the Guantánamo Bay
naval station in Cuba. When families of those migrants searched the ICE locator for information on their loved ones,
they were told to call a Florida field office. The agency only updated the locator with a specific “NSGB” label after the
advocates brought a lawsuit earlier this year, ACLU attorney Eunice Cho said.


If the system does not offer a location, the likely scenario is that the detainee is no longer in ICE custody. That
person could be dead, or in the case of the alleged Venezuelan gang members, out of the country.


“We are in a situation where ICE is pushing the boundaries of what it is legally permitted to do,” García Hernández
said. “ICE is trying to act aggressively in making headway on President Trump’s promise of overseeing a mass
deportation campaign and making use of every legal tool available with little regard to norms or practices or the
effect removal has on the people who care about that individual.”


The Trump administration has wavered in justifying its decision to land two planes carrying Venezuelan migrants
deported under the Alien Enemies Act. High-ranking Trump administration officials have argued the president’s
executive authority supersedes the judge’s order, while in court his lawyers have argued that because the planes were
over international waters, the ruling did not apply.
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‘Freedom and rights?’
Dallas attorney John Dutton logged on to Albornoz Quintero’s bond hearing this week through the virtual Webex
platform. His client did not. The lawyer asked a government prosecutor where the expectant father was.


The Trump administration attorney said he did not know, Dutton said.


“The judge suggested that I contact the Salvadoran Consulate,” in the event that he was indeed in El Salvador,
Dutton recalled. If that was the case, the judged noted, he wasn’t sure if he had any jurisdiction over the case
anymore.


“Can you imagine just being taken ahead of what is supposed to be one of the most exciting days of your life, the
birth of a child, and being put in a foreign prison designed for terrorists?” Dutton said. “This kid is screwed.”


With no information from lawyers, families are resorting to amateur sleuthing — zooming in on blurry photos,
studying every image, and freezing frames of videos shared by the White House and Salvadoran government — to
confirm whether their brother, father, son or spouse are among those spirited away to a foreign prison.


Sebastián García Casique found his brother in a photograph. The blurry image featured dozens of men in formation,
with their heads shaved and wrists bound behind them. Sebastián zoomed in on every bald head. Then he saw them:
the tattoos, the ears, the broad frame he had known his whole life.


Still, hoping to be wrong, Sebastián checked the ICE locator website. Until March 15, it showed his brother was still
in Texas. By Sunday night, that had changed. Now it indicated that his search yielded no results.


“The worst part is that they don’t even have the courtesy of calling the families,” Sebastián said. “It’s inhumane how
they’re literally disappearing people. What happened to being the country of freedom and rights?”


Solanyer Sarabia González was also bewildered when she spotted her little brother among the prisoners in El
Salvador.


“I kept thinking to myself: ‘How in the world will I ever recognize him now among all these bald guys?’” she said.
Then she recognized him. “Those are the knees, shoulders, forehead I’ve known and loved forever.”


For Albornoz Quintero’s wife, finding him in a photograph was an official confirmation that he will not be at his
child’s birth. Ñaupari Rosila has tried to keep her mind focused on the baby, arranging and rearranging the baby’s
corner of their one-bedroom apartment. Most of the walls in their unit are bare, except for where the baby’s crib is,
which she has decorated with a dinosaur sticker.


The closet is full of baby clothes that her husband had excitedly picked out.
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“I just want to know where my husband is,” she said. “How can they just do this?”


Graphics by Álvaro Valiño. Silvia Foster-Frau contributed to this report.




   What readers are saying
   The comments express strong opposition to the use of the Alien Enemies Act for deporting individuals
   without criminal records, drawing parallels to authoritarian regimes and historical instances of
   "disappearing" people. Many commenters fear this sets a dangerous precedent for... Show more
   This summary is AI-generated. AI can make mistakes and this summary is not a replacement for reading the comments.
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               EXHIBIT 11
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    IMMIGRATION


    U.S. sent Venezuelan man with pending political
    asylum case to El Salvador mega prison
    By Syra Ortiz Blanes and Verónica Egui Brito
    Updated March 27, 2025 10:00 AM|              11




    Frengel Reyes Mota and his 9-year-old stepson, whose face has been blurred to protect his identity.



                  Only have a minute? Listen instead                                                      10   10    1.0x
                  Powered by Trinity Audio

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    Frengel Reyes Mota was supposed to be dealing with his ongoing asylum case as he
    fought for his chance to stay in the United States. Suddenly, he instead found himself
    locked up in a mega prison thousands of miles away.

    “He’s in the torture prison in El Salvador,” Mark Prada, Reyes Mota’s lawyer, told
    Immigration Judge Jorge Pereira

    during a hearing on Monday at the Krome Detention Center in western Miami-Dade
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    County. The hearing had been scheduled before Reyes Mota was sent out of the
    country.




              TOP VIDEOS




    Reyes Mota is among the hundreds of Venezuelans that the Trump administration
    deported earlier this month through the use of extraordinary wartime powers based
    on a 1798 law. The administration sent them to the Terrorism Confinement Center in
    El Salvador, claiming they are members of the notorious Venezuelan gang Tren de
    Aragua.

    But the 24-year-old father does not have a criminal record in Venezuela. His U.S.
    immigration detention records are riddled with mistakes, raising questions about
    how reliable they are. He does not have tattoos and his family members deny he has
    any gang ties.

    “He’s not a gang member, judge,” Prada said.

    Had Reyes Mota still been in the United States, the hearing related to his asylum
    request would have been a commonplace matter. But his absence showcases the
    remarkable nature of the Venezuelans’ deportation to El Salvador. As lawyers argue
    the deportation flights were unlawful and violated a federal judge’s order, the
    immigration court system is navigating the case of an asylum seeker with pending
    immigration proceedings whom the Trump administration flew to another country
    without due process.
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    “We are facing a novel and extremely concerning situation where people’s
    immigration court proceedings are still pending but they are being disappeared
    from the United States without any lawful removal order,” said Prada. “This is an
    affront to the rule of law.”

    Other lawyers have said in court documents challenging the deportations that their
    clients were also in pending asylum or other immigration proceedings.

    ‘Doesn’t deserve this injustice’
    Reyes Mota and his wife decided to come to the United States because they saw no
    future for their child in Venezuela. In 2023, they became part of the seven million
    Venezuelans who have fled economic turbulence, political repression and
    widespread poverty in their native country.

    Liyanara Sánchez, Reyes Mota’s wife, described him as a reserved man, a loving
    husband, a dedicated father and pet lover. In the United States he painted houses for
    a living. He carefully budgeted to buy treats and clothes to spoil his adopted dog,
    Sacha.

    “He’s the most beautiful person. If you need something, he’ll be there for you,” said
    Sánchez. “He’s a hard worker. He’s never left us without food or housing.”




                               ©2025 United Airlines, Inc. All rights reserved. Schedule subject to change.




    At a young age, he chose to build a life with Sánchez, who was already a mother. To
    the boy, Reyes Mota was more than a stepfather — he was a true father, someone
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    who stepped into the role with love and commitment, embracing the boy as his own,
    his family said.

    “I need help for my father,” his 9-year-old son, who has learned English in the United
    States, told the Herald over audio messages. “My father is very nice with me.... My
    father is not bad people. My father is very, very good people.”




    Frengel Reyes Mota, a 24-year-old Venezuelan asylum seeker, enjoyed playing with his dog, Sacha. He was deported to El
    Salvador’s mega prison despite having no criminal record in Venezuela or the U.S. Frengel Reyes Mota family


    On Feb. 4, Reyes Mota, who was living in Tampa, went to the Immigration and
    Customs Enforcement office in the city for a required check-in. There, agents
    informed him that he was being placed in custody under suspicion of being
    associated with the Tren de Aragua gang, according to his family.
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    From detention, Reyes Mota asked his loved ones about whether Sacha was eating
    enough and how his son was doing in school. But they lost contact with him on the
    day before the deportation flights to El Salvador, on March 15. A week later, his name
    popped up on a list of Venezuelans who were being held at the Central American
    mega prison.

    “He doesn’t deserve this injustice,” said a family member who requested to remain
    anonymous out of fear for their safety.

    Back in the courtroom
    At attorney Prada’s request the judge froze Reyes Mota’s asylum case for the time
    being. That way, he could eventually take it up again. That is, if he is ever able to
    return to the United States.

    “We can agree that there was no removal order from this court or another court,”
    the judge said, noting that there was very little he could do.

    The U.S. government claims on Reyes Mota’s I-213 form, a document the Department
    of Homeland Security uses to support that someone is deportable, that he “may be a
    Tren de Aragua associate.” But in those same documents, the government says he
    has no criminal records or immigration history in the United States. The government
    also uses someone else’s last name in several parts of the document, identifies him
    with female pronouns, and uses two different unique identification numbers that
    immigration authorities use to keep track of individuals, raising questions about the
    reliability of Trump officials’ accusations against him.
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           After Prada pointed out the mistakes and argued there is no evidence Reyes Mota
           was a Tren de Aragua member, the judge asked whether the government had made a
           mistake. Lawyers for the Department of Homeland Security said this was not a
           hearing to analyze evidence but that they would look into it. However, there are no
           more hearings for the foreseeable future.

           Reyes Mota’s family also provided to the Miami Herald government documents
           showing that Reyes Mota did not have any criminal record in Venezuela, and photos
           that show he does not have any tattoos. Immigration authorities have used the
           presence of tattoos to hold migrants on suspicions of being gang members.

           On Wednesday afternoon, Homeland Security Kristi Noem was on her way to visit
           the Terrorism Confinement Center in El Salvador.She and other officials have touted
           the deportations as a feat of President Donald Trump’s agenda to keep Americans
           safe from violent criminals. Before her arrival she said on her X account she was
           going to see firsthand “where the worst-of-the-worst criminals are housed.”

           But the Trump administration has admitted in federal court documents that “many”
           Venezuelans it accused of being dangerous gang members and deported through
           presidential wartime powers have no criminal records in the United States, although
           they argued it was only because they had only been in the U.S. briefly. On
           Wednesday, a federal appeals court in Washington upheld the block a lower court
           had imposed on the use of the war time powers to deport immigrants.




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    Frengel Reyes Mota, a 24-year-old father and asylum seeker, was deported to El Salvador’s mega prison despite having no
    criminal record, according to Department of Homeland Security records. In his free time, Reyes Mota enjoyed playing with his
    dog, Sacha. Frengel Reyes Mota family


    Several family members of Venezuelan men sent to El Salvador have also told the
    Herald their loved ones at the Terrorism Confinement Center are not part of Tren de
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    Aragua. The Trump administration has also sent Venezuelans who had been granted
    refugee status to El Salvador. To receive refugee status, people must undergo
    extensive background checks.




    READ MORE: Despite refugee status in the U.S., young Venezuelan was deported to
    Salvadoran prison

    Venezuelan nonprofit organizations have raised alarms about the “arbitrary
    detentions of Venezuelan migrants” in the United States, emphasizing that they had
    left their country fleeing a difficult situation where their lives could be in danger if
    they are returned.

    “The mass and indiscriminate deportation of Venezuelans, without properly
    assessing their individual circumstances” makes them vulnerable, Foro por la Vida, a
    coalition of human-rights groups in Venezuela, said in a statement.

    Reyes Mota, a young man from a poverty-stricken city in a region rich in oil, wanted
    stability and peace for his family, his loved ones said. When he came to the United
    States, he was not expecting he would end up held indefinitely in a Central American
    prison that has been accused of human rights violations, or that the U.S. government
    would accuse him of belonging to a gang designated as a terrorist organization.

    His loved ones insist that he is a man of integrity with no criminal record.

    “Please, Trump, there are many innocent people in that jail,” his wife said, “and they
    are paying the price.”

    This story was originally published March 26, 2025 at 6:56 PM.



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                                                                I M M I G R AT I O N

                              “You’re Here Because of Your Tattoos”
                   The Trump administration sent Venezuelans to El Salvador’s most infamous
                               prison. Their families are looking for answers.

                                NOAH LANARD AND ISABELA DIAS                                  MARCH 26, 2025




 Mother Jones illustration; Mark Boster/Los Angeles Times/Getty; Photos courtesy Génesis Lozada, Joseph
 Giardina, Arturo Suárez, and María Alvarado




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 Mother Jones illustration; Mark Boster/Los Angeles Times/Getty; Photos courtesy Génesis Lozada, Joseph
 Giardina, Arturo Suárez, and María Alvarado

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            the news that matters.

            On Friday, March 14, Arturo Suárez Trejo called his wife, Nathali Sánchez, from an immigration detention center in
            Texas. Suárez, a 33-year-old native of Caracas, Venezuela, explained that his deportation flight had been delayed. He
            told his wife he would be home soon. Suárez did not want to go back to Venezuela. Still, there was at least a silver
            lining: In December, Sánchez had given birth to their daughter, Nahiara. Suárez would finally have a chance to meet
            the three-month-old baby girl he had only ever seen on screens.

            But, Sánchez told Mother Jones, she has not heard from Suárez since. Instead, last weekend, she found herself zooming
            in on a photo the government of El Salvador published of Venezuelan men the Trump administration had sent to
            President Nayib Bukele’s infamous Terrorism Confinement Center, or CECOT. “I realized that one of them was my
            husband,” she said. “I recognized him by the tattoo [on his neck], by his ear, and by his chin. Even though I couldn’t see
            his face, I knew it was him.” The photo Sánchez examined—and a highly produced propaganda video promoted by
            Secretary of State Marco Rubio and the White House—showed Venezuelans shackled in prison uniforms as they were
            pushed around by guards and had their heads shaved.

            The tattoo on Suárez’s neck is of a colibrí, a hummingbird. His wife said it is meant to symbolize “harmony and good
            energy.” She said his other tattoos, like a palm tree on his hand—an homage to Suárez’s late mother’s use of a
            Venezuelan expression about God being greater than a coconut tree—were similarly innocuous. Nevertheless, they
            may be why Suárez has been effectively disappeared by the US government into a Salvadoran mega-prison.

            Mother Jones has spoken with friends, family members, and lawyers of ten men sent to El Salvador by the Trump
            administration based on allegations that they are members of the Venezuelan organized crime group Tren de Aragua.
            All of them say their relatives have tattoos and believe that is why their loved ones were targeted. But they vigorously
            reject the idea that their sons, brothers, and husbands have anything to do with Tren de Aragua, which the Trump
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            administration recently labeled a foreign terrorist organization. The families have substantiated those assertions to
            Mother Jones, including—in many cases—by providing official documents attesting to their relatives’ lack of criminal
            histories in Venezuela. Such evidence might have persuaded US judges that the men were not part of any criminal
            organization had the Trump administration not deliberately deprived them of due process.

            On March 14, President Donald Trump quietly signed a proclamation invoking the Alien Enemies Act—a 1798 law last
            used during World War II. The order declared that the United States is under invasion by Tren de Aragua. It is the first
            time in US history that the 18th-century statute, which gives the president extraordinary powers to detain and deport
            noncitizens, has been used absent a Congressional declaration of war. The administration then employed the wartime
            authority unlocked by the Alien Enemies Act to quickly load Venezuelans onto deportation flights from Texas to El
            Salvador.

            In response to a class action lawsuit brought by the ACLU and Democracy Forward, federal judge James Boasberg
            almost immediately blocked the Trump White House from using the Alien Enemies Act to summarily deport
            Venezuelans, and directed any planes already in the air to turn around. But in defiance of that order, the
            administration kept jets flying to El Salvador. Now Suárez and others like him are trapped in the Central American
            nation with no clear way to contact their relatives or lawyers.

            Suárez, whose story has also been reported on by the Venezuelan outlet El Estímulo, is an aspiring pop musician who
            records under the name SuarezVzla. His older brother, Nelson Suárez, said his sibling’s tattoos were intended to help
            him “stand out” from the crowd. “As Venezuelans, we can’t be in our own country so we came to a country where there
            is supposedly freedom of expression, where there are human rights, where there’s the strongest and most robust
            democracy,” Nelson said. “Yet the government is treating us like criminals based only on our tattoos, or because we’re
            Venezuelan, without a proper investigation or a prosecutor offering any evidence.” (All interviews with family
            members for this story were conducted in Spanish.)




     “Well, you’re here because of your tattoos,” the ICE agent reportedly said. “We’re finding and questioning everyone who has tattoos.”




            The Justice Department’s website states that Suárez’s immigration case is still pending and that he is due to appear
            before a judge next Wednesday. Records provided by Nelson Suárez show that Arturo has no criminal record in
            Venezuela. Nor, according to his family, does Suárez have one in Colombia and Chile, where he lived after leaving
            Venezuela in 2016. They say he is one of millions of Venezuelans who sought a better life elsewhere after fleeing one of
            the worst economic collapses in modern history. (Just a few years ago, Secretary Rubio, then a senator from Florida,
            stressed that failure to protect Venezuelans from deportation “would result in a very real death sentence for countless”
            people who had “fled their country.”)

            The stories shared with Mother Jones suggest that Trump’s immigration officials actively sought out Venezuelan men
            with tattoos before the Alien Enemies Act was invoked and then removed them to El Salvador within hours of the
            presidential proclamation taking effect.

            “This doesn’t just happen overnight,” said immigration lawyer Joseph Giardina, who represents one of the men now in
            El Salvador, Frizgeralth de Jesus Cornejo Pulgar. “They don’t get a staged reception in El Salvador and a whole wing for
            them in a maximum-security prison…It was a planned operation, that was carried out quickly and in violation of the
            judge’s order. They knew what they were doing.”




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           Arturo Suárez performing and speaking with his baby daughter from detention. Courtesy Arturo
           Suárez


            The White House has yet to provide evidence that the hundreds of Venezuelans flown to El Salvador—without an
            opportunity to challenge their labeling as Tren de Aragua members and “terrorists”—had actual ties to the gang. When
            pressed on the criteria used for their identification, Press Secretary Karoline Leavitt pointed to unspecified
            “intelligence” deployed to arrest the Venezuelans she has referred to as “heinous monsters.” Trump’s border czar Tom
            Homan has insisted—without providing specific details—that the public should trust ICE to have correctly targeted
            the Venezuelans based on “criminal investigations,” social media posts, and surveillance.

            Robert Cerna, an acting field office director for ICE’s removal operations branch, said the agency “did not simply rely
            on social media posts, photographs of the alien displaying gang-related hand gestures, or tattoos alone.” But Cerna
            also acknowledged that many of the Venezuelans deported under the Alien Enemies Act had no criminal history in the
            United States, a fact he twisted into an argument to seemingly justify the summary deportations without due
            process. “The lack of a criminal record does not indicate they pose a limited threat,” Cerna wrote. “In fact, based upon
            their association with TdA, the lack of specific information about each individual actually highlights the risk they pose.
            It demonstrates that they are terrorists with regard to whom we lack a complete profile.”

            The relatives who talked to Mother Jones painted a vastly different picture from the US government’s description of the
            men as terrorists or hardened criminals. Many said their loved ones were tricked into thinking they were being sent
            back to Venezuela, not to a third country. (The Department of Homeland Security and ICE did not respond to a
            detailed request for comment asking for any evidence that the Venezuelans named in this article have ties to Tren de
            Aragua.)


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            Before leaving for the United States in late 2023, Neri Alvarado Borges lived in Yaritagua, a small city in north central
            Venezuela. His father is a farmer and his mother supports his 15-year-old brother, Nelyerson, who has autism.




                            Neri Alvarado with his brother Nelyerson in 2023. Courtesy María Alvarado




            Alvarado’s older sister, María, stressed in a call from Venezuela that her brother has no connection to Tren de Aragua.
            She said her brother was deeply devoted to helping Nelyerson—explaining that one of his three tattoos is an autism
            awareness ribbon with his brother’s name on it and that he used to teach swimming classes for children with
            developmental disabilities. “Anyone who’s talked to Neri for even an hour can tell you what a great person he is. Truly,
            as a family, we are completely devastated to see him going through something so unjust—especially knowing that he’s
            never done anything wrong,” María said. “He’s someone who, as they say, wouldn’t even hurt a fly.”

            Still, Alvarado was detained by ICE outside his apartment in early February and brought in for questioning, Juan
            Enrique Hernández, the owner of two Venezuelan bakeries in the Dallas area and Alvarado’s boss, told Mother Jones.
            One day later, Hernández went to see him in detention and asked him to explain what had happened. Alvarado told
            Hernández that an ICE agent had asked him if he knew why he had been picked up; Alvarado said that he did not.
            “Well, you’re here because of your tattoos,” the ICE agent replied, according to Hernández. “We’re finding and
            questioning everyone who has tattoos.”

            The agent then asked Alvarado to explain his tattoos and for permission to review his phone for any evidence of gang
            activity. “You’re clean,” the ICE officer told Alvarado after he complied, according to both Hernández and María
            Alvarado. “I’m going to put down here that you have nothing to do with Tren de Aragua.”
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            For reasons that remain unclear, Hernández said that another official in ICE’s Dallas field office decided to keep
            Alvarado detained. María Alvarado said her brother told her the same story at the time.

            Hernández spoke to Alvarado shortly before he was sent to El Salvador. “There are 90 of us here. We all have tattoos.
            We were all detained for the same reasons,” he recalled Alvarado telling him. “From what they told me, we are going to
            be deported.” Both assumed that meant being sent back to Venezuela.

            Hernández, a US citizen who moved to the United States from Venezuela nearly three decades ago, searched
            desperately for Alvarado when he didn’t show up in his home country that weekend. He was nearly certain that
            Alvarado was in El Salvador when he first spoke to Mother Jones on Thursday. “I have very few friends,” he said. “Very
            few friends and I have been in this country for 27 years. I let Neri into my house because he is a stand-up guy…Because
            you can tell when someone is good or bad.” Later that day, on Alvarado’s 25th birthday, Hernández got confirmation
            that his friend was in El Salvador when CBS News published a list of the 238 people now at CECOT.

            A centerpiece of Bukele’s brutal anti-gang crackdown, CECOT is known for due process violations and extreme
            confinement conditions. Last year, CNN obtained rare access to the remote prison, which can hold up to 40,000
            people. The network found prisoners living in crowded cells with metal beds that had no mattresses or sheets, an open
            toilet, and a cement basin. Visitation and time outdoors are not allowed. A photographer who was allowed into the
            prison as the Venezuelans arrived earlier this month wrote for Time magazine that he witnessed them being beaten,
            humiliated, and stripped naked.

            The Trump administration has indicated in court records that the El Salvador operation was weeks, if not months, in
            the making. In a declaration, a State Department official said arrangements with the Salvadoran and Venezuelan
            governments for the countries to take back US deportees allegedly associated with Tren de Aragua had been made
            after weeks of talks “at the highest levels”—including ones involving Secretary of State Rubio—and “were the result of
            intensive and delicate negotiations.”

            As part of the deal, the US government will pay El Salvador $6 million to hold the Venezuelan men for at least one year.
            Calling the agreements a “foreign policy matter,” Rubio has claimed the outsourcing of deportees’ detention to
            Bukele’s “excellent prison system” is saving money for US taxpayers.

            It is unclear if, or when, anyone sent to CECOT will be able to return to Venezuela. A Human Rights Watch program
            director noted in a declaration that the organization “is not aware of any detainees who have been released from that
            prison.” During an appeals court hearing on March 24, the ACLU’s lead counsel Lee Gelernt said, “We’re looking at
            people now who may be in a Salvadoran prison the rest of their lives.”




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           Neri Alvarado working at the bakery and the autism awareness tattoo with his brother’s
           name. Courtesy María Alvarado


            Joseph Giardina’s client Frizgeralth de Jesus Cornejo Pulgar thought he was set to return to Venezuela on a
            deportation flight. Carlos, Frizgeralth’s older sibling, said his 26-year-old brother called their sister, who lives in
            Tennessee, from the El Valle detention center in Texas. He said Frizgeralth told her he was going to be deported to
            Venezuela later that day. “He was happy that he was going to be here with us,” Carlos said from Caracas in a video call
            with Mother Jones.

            But Frizgeralth never arrived. Eventually, the family heard from the girlfriend of another Venezuelan set to be
            deported on the same flight as Carlos. She had identified him in videos shared on social media of the men who had
            been sent to the prison in El Salvador. On March 19, Carlos started scouring the internet and spotted his brother in a
            TikTok video. In it, Frizgeralth has his freshly shaved head pressed down, a rose tattoo on his neck peeking out from
            under a white t-shirt.

            “We felt very powerless and in a lot of pain,” Carlos said. “To see how they mistreat a person who doesn’t deserve any
            of that. It’s not fair.”




                                            “I never imagined being imprisoned just for getting a tattoo.”




            Frizgeralth arrived in the United States in June 2024 after crossing the Darién Gap and waiting several months in
            Mexico for a CBP One appointment. The Biden-era program, which the Trump administration has since terminated,

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            allowed migrants to schedule a date to present lawfully at a US port of entry. Carlos said Border patrol agents let
            Frizgeralth’s girlfriend and their other brother, as well as two friends, through but they held Frizgeralth back. He ended
            up detained at Winn Correctional Center, an ICE facility in Louisiana.

            In messages to his family from detention, Frizgeralth expressed concern he was being investigated because of his
            tattoos. He explained that none of the 20 or so images—including one on his chest of an angel holding a gun—he has
            tattooed on his body have any connection to gang activity. He also described feeling discouraged from hearing stories
            in detention of Venezuelans who had recently been redetained and said ICE agents picked them up over suspicions
            about their tattoos.

            Frizgeralth even had a declaration from his tattoo artist confirming the harmless nature of the artwork. “I never
            imagined being imprisoned just for getting a tattoo,” Frizgeralth, who owns a streetwear clothing brand with Carlos,
            wrote. “I never imagined being separated from my family. I wouldn’t wish this on anyone, not even my worst enemy if
            I had one. It’s horrible, it’s mental torture every day.”

            Like Suárez and Alvarado, Frizgeralth had no criminal record in Venezuela, documents show. Giardina said his client
            also had no known criminal history in the United States. Nor did he have a final deportation order. During his
            preliminary court hearings, the US government never claimed or presented evidence that Frizgeralth had ties to Tren
            de Aragua. “He was doing everything he was supposed to do,” Giardina said. “He got vetted and checked when he came
            into the country. He was in detention the entire time. It’s insanity.” If anything, Giardina said, his client had a strong
            claim for asylum based on political persecution. He said Frizgeralth was being targeted by the colectivos, paramilitary
            groups linked to the Maduro regime.

            About a week prior to his deportation, they moved Frizgeralth to Texas. His next hearing, which is scheduled for April
            10, still appears on the immigration court’s online system. “To detain them in this maximum security prison with no
            access to lawyers, no charges, just because you’re saying they’re terrorists…,” Giardina said. “I mean, what the hell?”

            Génesis Lozada Sánchez said she and her younger brother Wuilliam are from a rural Venezuelan “cattle town” called
            Coloncito near Colombia. Following Venezuela’s economic collapse, both she and Wuilliam lived in Bogota, where her
            brother saved up for the journey to the United States by making pants at a clothing factory. After he reached the
            border last January, Wuilliam was detained for more than a year, Génesis said.

            On Friday, March 14, he called a cousin in the United States to say that he was about to be deported to Venezuela. “But
            to everyone’s surprise, that’s not what happened. They were kidnapped,” Génesis said. “Why do I say kidnapped? These
            people have no ties to El Salvador. They haven’t committed any crimes there. And they’re not even Salvadoran. They
            don’t even cross into El Salvador after going through the Darién Gap on their way to the United States. So, it’s a
            kidnapping. They tricked these guys into signing papers by telling them they were being sent to Venezuela.”

            Like other men sent to El Salvador, Wuilliam has tattoos. But Génesis said that they have nothing to do with Tren de
            Aragua and that her brother has no criminal record. His goal had been to make enough money in the United States to
            help support their parents and to save up enough to hopefully open a clothing factory back home.

            Other reporting and court briefs further support the families’ suspicions that their loved ones were primarily targeted
            for deportation because of their tattoos. In one instance, a professional soccer player, whose attorney said had fled
            Venezuela after protesting against the Maduro regime and being tortured, was accused of gang membership based on a
            tattoo similar to the logo of his favorite team, Real Madrid.

            John Dutton, a Houston-based immigration attorney, said that he started noticing ICE officers detaining Venezuelans
            during check-ins due to their tattoos earlier this year. “If they notice they have a tattoo, they’re just taking them into
            custody,” he explained. “No more questions to ask.” Dutton estimated he now has about a dozen clients who have been
            arrested because of tattoos.



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            One of his clients, Henrry Albornoz Quintero, was due in court for a bond hearing last Wednesday after being taken
            into detention at a routine ICE check-in. “I show up. The judge asked me where my client is,” the Houston lawyer said.
            “I asked the same question to the DHS attorney. She looked at her notes, shuffled papers around as if she’s gonna find
            the answer in there, looks up, and said, ‘Judge, I don’t know.’”

            Dutton told the judge that his client might be in El Salvador; his relatives had recognized him in one of the images of
            people at CECOT. The judge then decided not to hear the case on the grounds that he no longer had jurisdiction. “You
            could tell he wanted to help me,” Dutton added. “He just couldn’t. There’s nothing he could do.”

            The next day, Albornoz’s name appeared on the list of people imprisoned in El Salvador. So far, Albornoz is the only
            one of Dutton’s clients to be sent there. His wife is nine months pregnant with their first child.

            “They didn’t just deport these people and then set them free,” says Ilya Somin, a law professor at George Mason
            University. “They sent them to El Salvador, where that country, at the behest of the United States, is incarcerating
            them for at least a year in their prison system. This is not just deportation without due process. This is imprisonment
            without due process in a foreign prison system that has terrible conditions. That’s a pretty blatant violation of the Fifth
            Amendment’s due process clause, which says that you can’t take away people’s life, liberty or property without due
            process of law.”

            Until Thursday, March 20, Barbara Alexandra Manzo still wasn’t sure if her brother Lainerke Daniel Manzo Lovera
            was among those sent to El Salvador and transferred to CECOT. The family hadn’t heard from him since that
            Saturday, when he called from El Paso, Texas, to say they were deporting him to Venezuela or Mexico. Her
            confirmation also came when she saw his name on the CBS News list.

            Barbara Alexandra told Mother Jones that Lainerke didn’t even have a tattoo before he left Venezuela in December 2023.
            He got one—a clock on his arm—while living and working in Mexico, waiting for a CBP One appointment. It was a gift
            from a roommate who had been given a date before he did. Last October, Lainerke showed up at the border and was
            sent to ICE detention; first in San Diego, then briefly in Arizona. He had a court hearing scheduled for March 26.

            “My son went to look for a better future, the American Dream,” his mother Eglee Xiomara said in a video. “And it
            didn’t come true. That was the worst trip he has ever made in his life.”

            Lainerke has yet to meet his six-month-old daughter, who was born in the United States. “He’s never been in prison,”
            Barbara Alexandra said. “[We’re wondering] if he’s ok or if something is happening to him. And we’ll never know
            because we have no recourse.”

            Nelson Suárez fears that he, too, could meet the same fate as his brother Arturo, the Venezuelan musician. Even during
            the first Trump administration, the fact that Nelson has Temporary Protected Status and a pending asylum case would
            have been enough to protect him from deportation. But there are no guarantees that it will be now. If Judge Boasberg’s
            temporary restraining order is lifted or overturned, he could be immediately deported to Venezuela, or sent to El
            Salvador, without due process. He doesn’t know if he will walk out of a scheduled check-in with ICE in May free or in
            chains.

            “I’m really scared,” he said last week. “My three daughters are here with me. My wife is here. My kids are in school. I
            don’t know what could happen. Since this happened to my brother, I really haven’t been able to sleep. I have no peace,
            no sense of calm. I’m afraid to go out on the street. But at the same time, we have to go out to work and get things
            done.”




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                             ‘Deported because of his
                             tattoos’: has the US targeted
                             Venezuelans for their body
                             art?
                             US claims tattoos prove membership of
                             Tren de Aragua gang but relatives describe
                             tributes to God, family and Real Madrid
                             By Tom Phillips and Clavel Rangel

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                             Venezuela migrants who have been caught up in Trump’s crackdown, seemingly in part because of their tattoos.
                             Composite: Supplied

                             Thu 20 Mar 2025 19.42 EDT


                             Like many Venezuelans of his generation, Franco José Caraballo Tiapa is a
                             man of many tattoos.

                             There is one of a rose, one of a lion, and another – on the left side of the 26-
                             year-old’s neck – of a razor blade that represents his work as a barber.

                             Two other tattoos pay tribute to Caraballo’s eldest daughter, Shalome: a
                             pocket watch featuring the time of her birth and some black lettering on his
                             chest that spells out the four-year-old’s name.

                             “He’s just a normal kid … he likes tattoos – that’s it,” said Martin Rosenow, a
                             Florida-based attorney who represents the Venezuelan asylum seeker – one
                             of scores shipped to El Salvador by the Trump administration last weekend
                             as part of his hard-line immigration crackdown.




                             Tattoos on the body of Franco José Caraballo Tiapa.

                             Caraballo’s fondness for body art may have been his undoing. For when the
                             father of two was detained by US immigration oﬃcials in Dallas last month,
                             they appear to have taken those tattoos as proof that he was a member of
                             Venezuela’s most notorious gang, Tren de Aragua.

                             An oﬃcial Department of Homeland Security document issued in early
                             February and reviewed by the Guardian states: “[The] subject [Caraballo] has
                             been identified as a Member/Active of Tren de Aragua” although it does not
                             explain how agents reached that conclusion. The same document notes that
                             Caraballo – who it calls a “Deportable/Excludable Alien” – has several tattoos
                             and no known criminal history “at this time”.

                             Rosenow rejected the idea that the images inked on to his client’s skin
                             indicated gang membership. “It’s specious – there’s no basis [for this
                             conclusion],” he said. “Experts in Venezuela who study the gang have all
                             stated that there are no tattoos that associate gang members. It’s not like the
                             Central American MS-13 gang where tattoos are relevant in their
                             organization.”

                             “Tren de Agua has no [specific] tattoos,” Rosenow continued. “If you see
                             pictures [of actual Tren de Aragua members arrested in the US], they’re
                             shirtless and many of them don’t even have tattoos.

                             “I’m nauseated by it all. I’m distressed for these individuals. I’m sad for what
                             this means. As an American, for me it’s disgraceful that we would violate
                             human rights so flagrantly on an international level.”

                             Caraballo, who hails from the Venezuelan state of Bolívar and entered the US
                             over its southern border in October 2023, is one of several Venezuelans


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                             whom immigration oﬃcials appear to have identified as gang members
                             based on little more than their nationality and their tattoos.

                             Daniel Alberto Lozano Camargo

                             Daniel Alberto Lozano Camargo, a 20-year-old asylum seeker from Maracaibo
                             in western Venezuela, lived in Houston, Texas where he washed cars for a
                             living, advertising his services on Facebook.

                             His partner, a US citizen called Leslie Aranda, said he was arrested last
                             November after being contacted by a supposed client. She has not heard
                             from him since last Friday, when Donald Trump invoked sweeping wartime
                             powers called the Alien Enemies Act to deport people considered a threat,
                             such as members of Tren de Aragua, which was last month designated a
                             foreign terrorist organization.




                             Daniel Alberto Lozano Camargo.

                             Like other Venezuelans who were deported, Lozano has several tattoos, said
                             Aranda, 25. He has the name of his partner’s daughter, Danessy, on one arm.
                             A rose. The name of his niece, Eurimar, with a crown over the letter E.
                             Praying hands on his neck. His father’s name, Adalberto, and his initials.
                             Lozano also has the date of his anniversary with Aranda: 19 January 2023.
                             Another tattoo reads “King of Myself.”

                             “I know his father’s name is significant to him because he died when Daniel
                             was young. And I also know he didn’t really like the rose tattoo because a
                             friend who was practising did it. Daniel loves art and tattoos – that’s why he
                             has them,” Aranda said.

                             Lozano’s mother, Daniela, who is also in the US, said: “They violated his
                             human rights – it’s an injustice. He doesn’t belong to any gang.”

                             Neri José Alvarado Borges

                             The sister of Neri José Alvarado Borges, another Venezuelan deported to El
                             Salvador, said the 24-year-old also had tattoos that relatives suspect may
                             have led to him being wrongly identified as a criminal.

                             One says “Family”, another says “Brothers” and a third, on his left thigh,
                             features the name of his younger brother, Neryelson, who is autistic, and the
                             rainbow-colored ribbon of the autism acceptance movement.



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                             Neri José Alvarado Borges.

                             “None of these tattoos has anything at all to do with the Tren de Aragua,”
                             said his sister, Lisbengerth Montilla, 20. “But for them [immigration
                             authorities] anyone with a tattoo is connected to Tren de Aragua.”

                             Montilla said her brother was no gangster. In fact, he was a psychology
                             student who had been forced to abandon his studies and migrate to the US
                             nine months ago because of Venezuela’s economic collapse.

                             After trekking through the perilous Darién Gap jungle and entering the US,
                             Alvarado, who has no criminal history, built a life in Dallas where he worked
                             in a bakery.

                             “Many of us have come here because of the situation back in our country,”
                             said Montilla, who also lives in the US. “There were times when we didn’t
                             even have food to eat or have the money to buy anything. Many people fled
                             because of the dictatorship in Venezuela, seeking a better future.

                             “Not all of those people [deported to El Salvador] are criminals – and not all
                             Venezuelans are bad people. We are from a decent, hard-working and
                             upstanding family. We’ve never had problems with anybody.”

                             Luis Carlos José Marcano Silva




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                             Luis Carlos José Marcano Silva.

                             Luis Carlos José Marcano Silva, a 26-year-old barber from the Venezuelan
                             island of Margarita, was detained at an immigration hearing in Miami last
                             month. His tattoos also seemingly played a role in his detention and
                             deportation to El Salvador.

                             One, on Marcano’s belly, shows the face of Jesus of Nazareth. Another, on his
                             arm, shows an infinity symbol while a third features the name of his
                             daughter, Adelys. His chest is emblazoned with the image of a crown.

                             “[At the hearing] all they kept telling him was that he belonged to the Tren
                             de Aragua gang. When his wife contacted the lawyer, they said it was
                             probably because of his tattoos,” said Marcano’s mother, Adelys del Valle
                             Silva Ortega, denying that her son has any links to the crime group or even a
                             criminal record.

                             “I feel frustrated, desperate. I imagine they are not treating him well. I’ve
                             already seen videos of that prison,” Silva said of the notorious Salvadoran
                             “anti-terrorism” jail where her son is now thought to be incarcerated. “I
                             think of him every moment, praying to the Virgin of the Valley [a Venezuelan
                             patron saint] to protect him.”

                             Jerce Reyes Barrios

                             The lawyer for a fifth Venezuelan man deported to El Salvador, a former
                             professional footballer called Jerce Reyes Barrios, 36, has also claimed his
                             tattoos played a role in sealing his fate.

                             Reyes’s tattoos include one of a crown sitting atop a soccer ball with a rosary
                             and the word “Dios” (God). In a sworn declaration, his California-based
                             attorney, Linette Tobin, said the Department of Homeland Security had
                             alleged this tattoo was proof of gang membership.

                             “In reality, he chose this tattoo because it is similar to the logo for his
                             favourite soccer team, Real Madrid,” Tobin said in her statement on
                             Wednesday.



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                             Tobin rejected the idea that her client was a gang member and said he had
                             fled Venezuela in early 2024 after being detained at an anti-government
                             demonstration by security forces. Reyes was subsequently “taken to a
                             clandestine building where he was tortured” with electric shocks and
                             suﬀocation.

                             Tobin said US immigration oﬃcials had reviewed her client’s social media
                             posts and found one in which he made “a hand gesture that they allege is
                             proof of gang membership”.

                             “In fact, the gesture is a common one that means I Love You in sign language
                             and is commonly used as a rock’n’roll symbol,” Tobin said.

                             Francisco Javier García Casique

                             Sebastián García Casique, the brother of a sixth Venezuelan deported to El
                             Salvador, said his sibling, Francisco Javier García Casique, also had tattoos,
                             including of a rose, a compass and a phrase reading: “God chooses his
                             toughest battles for his best warriors.”




                             Francisco Javier García Casique.


                             A fourth tattoo says: “Vivir el momento” (Live in the Moment). A fifth says in
                             English: “Family”.

                             In September 2021 García posted an Instagram video of a tattoo of a
                             timepiece being inked on to his right arm by an artist in Peru, where he then
                             lived. “My tattoo in tribute to my two grandmas who I love and miss a lot,”
                             García wrote.

                             Anyelo Sarabia González

                             In a sworn declaration, the sister of Anyelo Sarabia González, Solanyer
                             Michell Sarabia González, said her 19-year-old brother had been detained by
                             immigration agents at the start of this year in Dallas and that those agents
                             had asked “about a tattoo that is visible on his hand” showing a rose with
                             money as its petals.

                             “He had that tattoo done … because he thought it looked cool,” González’s
                             sister said, adding that she believed her brother had been sent to El Salvador
                             “under the false pretence that he was a member of Tren de Aragua”.

                             “The tattoo has no meaning or connection to any gang,” said González, 25.
                             Two other tattoos on her brother’s body – of the phrases “strength and
                             courage” and “I can do all things through Christ who strengthens me” – were
                             also not gang-related, she said.

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                             Franco José Caraballo Tiapa

                             Rosenow also saw no indication that his client – who he said had sought
                             asylum on the basis of political persecution after taking part in opposition
                             protests – was involved in the Venezuelan gang. He said Caraballo’s “cheesy”
                             and romantic Instagram posts indicated he was not “a vicious gang
                             member”.




                             Franco José Caraballo Tiapa


                             A Venezuelan criminal background check issued earlier this month indicates
                             Caraballo has no criminal record there. Francisco Javier García Casique’s
                             family has also published evidence that he had no criminal record back
                             home.

                             The White House has described the Venezuelans deported to El Salvador as
                             “heinous monsters” and terrorists but has yet to release detailed information
                             about their identities, let alone their alleged crimes.

                             On Thursday afternoon CBS News published an internal government list of
                             the 238 Venezuelan deportees, which included the names of all of the men in
                             this story.

                             On Monday, a senior oﬃcial from immigration and customs enforcement,
                             Robert Cerna, admitted that “many” of those removed from the US under the
                             Alien Enemy Act did not have criminal records in the US, but he nevertheless
                             said they were Tren de Aragua members.

                             The fact that those people did not have a criminal record “is because they
                             have only been in the country for a short period of time”, Cerna said.




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 Intelligence Assessment Said to Contradict
 Trump on Venezuelan Gang
 To invoke wartime deportation powers, President Trump asserted that
 Venezuela’s government controls a gang. U.S. intelligence analysts think that is
 not true.



 By Charlie Savage and Julian E. Barnes
 Reporting from Washington
 Published March 20, 2025        Updated March 22, 2025



 President Trump’s assertion that a gang is committing crimes in the United States
 at the direction of Venezuela’s government was critical to his invocation of a
 wartime law last week to summarily deport people whom officials suspected of
 belonging to that group.

 But American intelligence agencies circulated findings last month that stand
 starkly at odds with Mr. Trump’s claims, according to officials familiar with the
 matter. The document, dated Feb. 26, summarized the shared judgment of the
 nation’s spy agencies that the gang was not controlled by the Venezuelan
 government.

 The disclosure calls into question the credibility of Mr. Trump’s basis for invoking a
 rarely used wartime law, the Alien Enemies Act of 1798, to transfer a group of
 Venezuelans to a high-security prison in El Salvador last weekend, with no due
 process.

 The intelligence community assessment concluded that the gang, Tren de Aragua,
 was not directed by Venezuela’s government or committing crimes in the United
 States on its orders, according to the officials, speaking on the condition of
 anonymity to discuss internal deliberations.
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 Analysts put that conclusion at a “moderate” confidence level, the officials said,
 because of a limited volume of available reporting about the gang. Most of the
 intelligence community, including the C.I.A. and the National Security Agency,
 agreed with that assessment.

 Only one agency, the F.B.I., partly dissented. It maintained the gang has a
 connection to the administration of Venezuela’s authoritarian president, Nicolás
 Maduro, based on information the other agencies did not find credible.

 “Multiple intelligence assessments are prepared on issues for a variety of reasons,”
 the White House said in a statement. “The president was well within his legal and
 constitutional authority to invoke the Alien Enemies Act to expel illegal foreign
 terrorists from our country.”

 A spokesman for the Office of the Director of National Intelligence declined to
 comment.

 Mr. Trump’s extraordinary use of wartime powers to advance his immigration
 crackdown has edged the administration closer to a constitutional clash with the
 judiciary. A judge in Washington is considering whether the administration
 violated his order blocking, for now, the expulsion of migrants under the law. The
 Justice Department denounced the order as infringing on Mr. Trump’s national
 security powers and asked an appeals court to overturn it.

 The Alien Enemies Act empowers the executive branch to summarily remove
 foreign citizens whose government is in a declared war with the United States or is
 otherwise invading or engaged in a “predatory incursion” into American territory.
 The government last used the law in the internment and repatriation of Japanese,
 Italian and German citizens during and after World War II.

 On its face, the law appears to require not just an invasion or incursion, but a link
 to the actions of a foreign government.




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               German immigrants being prepared for deportation in Hoboken, N.J., during World
               War I in 1918. The Alien Enemies Act has been used to repatriate immigrants during
               World War I and II. Universal History Archive/Universal Images Group, via Getty Images



 In his proclamation, Mr. Trump effectively summoned such a link into legal
 existence by saying that he had determined that Tren de Aragua was a proxy for
 the Venezuelan government and committing crimes in the United States at its
 direction because Mr. Maduro sought to destabilize the country.

 “I make these findings using the full extent of my authority to conduct the nation’s
 foreign affairs under the Constitution,” Mr. Trump said.

 But Mr. Trump’s key factual assertions contradicted the earlier intelligence
 assessment, the officials said. It concluded that the gang was not acting at the
 direction of the Maduro administration and that the two are instead hostile to each
 other, citing incidents in which Venezuelan security forces exchanged gunfire with
 gang members.

 Because available information in the world of intelligence is often imperfect or
 incomplete, analysts assign levels of confidence to factual assertions and
 conclusions. Such caveats indicate that even if most or all the currently available
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 evidence points in one direction, it remains possible that something else might turn
 up that would change their minds.

 The overall conclusion was put at “moderate” confidence, and some supporting
 points put at “low” confidence, the officials said, because there was not as much
 reporting as analysts typically want to have “high” confidence. The United States
 has long scrutinized the government of Venezuela, but only recently has it begun to
 focus on Tren de Aragua, they said.

 The assessment, according to one official, also portrayed the gang as lacking the
 resources and being too disorganized — with little in the way of any centralized
 command-and-control — to be able to carry out any government orders. And, the
 official said, the assessment says that while a handful of corrupt Venezuelan
 officials have ties to gang members, that does not amount to the gang’s being
 under the sway of the government as a whole.

 The assessment, this official also said, asserts that when the State Department
 designated the gang as a foreign terrorist organization last month at Mr. Trump’s
 direction, a minister in the Maduro administration publicly praised the action. (The
 administration’s move broke with the practice of limiting “terrorism” designations
 to organizations that are clearly ideologically motivated.)

 Federal courts typically defer to the executive branch’s factual declarations about
 what is happening and why, rather than probing for what may actually be going on.
 That is particularly the case in matters of national security and foreign policy.

 But such deference is premised on the idea that officials are making
 determinations in good faith and drawing on executive branch resources like
 intelligence agencies to evaluate fast-moving and sometimes dangerous situations.
 Mr. Trump’s pattern of distorting the truth is testing that practice.

 The administration’s insistence that all the men it sent to El Salvador are members
 of Tren de Aragua has also been challenged. In one court filing, an official
 acknowledged that many have no criminal records but said the dearth of details


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 only underscored that “they are terrorists with regard to whom we lack a complete
 profile.”

 Lawyers for some of the migrants have collected statements from family members
 and others denying involvement in the gang. A lawyer for one detainee, for
 example, identified her client as a soccer player who had been tortured for
 participating in anti-Maduro protests and so fled to the United States to request
 asylum.

 The lawyer said U.S. officials accused him of being a Tren de Aragua member
 based on a tattoo and on a hand gesture he made in a picture on social media. But,
 she said, the tattoo was a version of a soccer team logo, and the hand gesture was a
 common “rock ’n’ roll” symbol.

 Mr. Trump’s proclamation cited scant evidence for his core finding that Tren de
 Aragua as an organization has been committing crimes to destabilize the United
 States “at the direction, clandestine or otherwise, of the Maduro regime in
 Venezuela.”

 Its most concrete detail was that the gang had expanded from 2012 to 2017, when
 Tareck El Aissami served as governor of the region of Aragua, and in 2017 Mr.
 Maduro appointed him as vice president. But the proclamation omitted that Mr.
 Aissami is no longer part of the Maduro administration, which is prosecuting him
 on corruption charges.




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               Tareck El Aissami was appointed as vice president by Mr. Maduro in 2017, after
               serving as governor of the Venezuelan region of Aragua. Mr. Aissami is now being
               prosecuted by the Maduro administration. Matias Delacroix/Associated Press



 On Saturday, as planeloads of Venezuelan migrants were being flown to El
 Salvador, Judge James E. Boasberg, the chief judge of the Federal District Court
 for the District of Columbia, temporarily barred the administration from
 summarily removing people based on the Alien Enemies Act.

 A former prosecutor, he was first appointed to the bench by a Republican president
 and elevated to his current role by a Democratic one. His decision to block the
 Trump administration’s deportations under the law has outraged the president and
 his allies, prompting Mr. Trump to call for his impeachment.

 The administration has appealed to the Court of Appeals for the District of
 Columbia Circuit. The case is now before Judges Karen Henderson and Justin
 Walker, both Republican appointees, and Patricia Millett, a Democratic appointee.

 Appeals courts typically reject challenges to temporary restraining orders. But the
 panel has ordered expedited briefings and scheduled arguments, suggesting it is
 considering deciding on the legal merits of Mr. Trump’s invocation of Alien
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 Enemies Act powers.

 Any ruling could turn in part on whether the judges accept Mr. Trump’s assertions
 about Tren de Aragua and its supposed ties to the Venezuelan government, as the
 administration has insisted.

 The Justice Department wrote that “the determination of whether there has been
 an ‘invasion’ or ‘predatory incursion,’ whether an organization is sufficiently linked
 to a foreign nation or government, or whether national security interests have
 otherwise been engaged so as to implicate the A.E.A., is fundamentally a political
 question to be answered by the president.”
 Charlie Savage writes about national security and legal policy. More about Charlie Savage

 Julian E. Barnes covers the U.S. intelligence agencies and international security matters for The Times. He
 has written about security issues for more than two decades. More about Julian E. Barnes


 A version of this article appears in print on , Section A, Page 13 of the New York edition with the headline: Analysis by Spy Agencies
 Challenges Trump’s Basis For Scrutiny of Venezuela




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                                                                                      signal gang affiliation, 124 of
                                                                                                                   say 191




     IMMIGRATION


     Tattoos of deported Venezuelans don't necessarily signal gang
     affiliation, experts say
     Relatives of some Venezuelan deportees believe the men were targeted as Tren de Aragua members
     based on their tattoos, but a gang expert said this isn’t a reliable identifier.




          The Trump administration on March 16 deported to El Salvador 238 people it claimed were members of
     Venezuela's Tren de Aragua gang and 23 people it said belonged to MS-13.
       El Salvador Presidency handout / Getty Images




     March 21, 2025, 12:22 PM PDT

     By Nicole Acevedo, Deon J. Hampton and David Noriega

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     Nike’s Jumpman, roses and a popular phrase from a Donald Trump-supporting Puerto Rican
     rapper: These are some of the tattoos defense lawyers and relatives say helped authorities accuse
     several Venezuelan men of belonging to Tren de Aragua gang.


     The men were not deported to their homeland last weekend but were instead sent to El Salvador,
     where they were jailed in a notorious megaprison, raising questions about whether they were
     given due process.


     Lawyers for at least five men have said in court filings this week that the U.S. government
     apprehended their clients in part because of tattoos that immigration authorities believed
     signaled ties to the gang.


     Law enforcement and immigration officials have said in the past they’ve had a challenging time
     identifying legitimate members of the Venezuelan criminal organization. Often the only
     information they do have to identify individuals is alleged gang tattoos.


     In the case of the recent deportation flights, Robert Cerna, the acting field office director of
     enforcement and removal operations at Immigration and Customs Enforcement, said in a sworn
     declaration on Monday that officials did not solely rely on tattoos to identify the deportees as
     alleged gang members.


     But family members and attorneys are contesting that assertion, saying the inkings in question
     merely indicate the men are sports fans or family men, not gang members. They believe their
     clients and deported relatives were falsely accused and targeted because of their tattoos, and
     denied the men are connected to Tren de Aragua at all.




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   What is 'Tren De Aragua'? Explaining the gang at center of Trump's immigration crackdown
   04:40




     Other Latin American gangs, such as the Salvadoran group MS-13, are known to use certain
     tattoos to identify their membership.


     But that’s not the case with the Venezuelan gang Tren de Aragua, according to Ronna Risq
                                                                                         Risquez,
     an expert on the group who authored the Spanish-language book “The Tren de Aragua: The
     Gang That Revolutionized Organized Crime in Latin America.”


     Risq
     Risquez  said tattoos are not closely connected with affiliation to Tren de Aragua. When asked if
     there’s a specific tattoo that identifies Tren de Aragua members, Risquez
                                                                         Risq    told Noticias
     Telemundo, “Venezuelan gangs are not identified by tattoos.”


     “To be a member of one of these Venezuelan organizations, you don’t need a tattoo,” she said in
     Spanish. “You can have no tattoos and still be part of Tren de Aragua. You can also have a tattoo
     that matches other members of the organization.”


     Law enforcement and immigration officials across the nation have linked several tattoos to Tren
     de Aragua: stars on shoulders, crowns, firearms, grenades, trains, dice, predatory felines, gas
     masks, clocks, the Illuminati sign and the jersey number 23 — which basketball players including
     Michael Jordan and LeBron James made famous — in addition to tattoos of roses and the
     Jumpman logo.


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         Families of deported Venezuelans are distraught their loved ones were sent to El
         Salvador



     Other tattooed phrases law enforcement says are associated with the gang include “Hijos de
     Dios” (Sons of God), or its abbreviation “HJ,” and “Real Hasta la Muerte” (Real Until Death).


     The government of El Salvador stated this week that hundreds of men deported from the U.S.
     last weekend were members of Tren de Aragua. In a propaganda-style video, the detainees were
     shown handcuffed in a crouched position as their heads were being shaved ahead of their
     transfer to the CECOT megaprison, according to El Salvador’s Press Secretariat.


     The video shows some prisoners who have tattoos: One man sports ink of a rose, an Illuminati
     symbol and the Jumpman logo, inspired by Michael Jordan — all tattoos previously cited by police
     and immigration authorities as evidence of ties to Tren de Aragua.

     But Risq
         Risquez said that gang members also sport tattoos considered culturally popular at the
     moment and popular among the general public — such as “Real Hasta la Muerte” tattoos, a
     phrase popularized by Anuel AA, the reggaeton singer.

     “This guy is loved by many Venezuelans and by many Latin Americans who have adopted this
     tattoo, and they’ve gotten that tattoo,” Risq
                                              Risquez said. “So that tattoo can’t be associated with Tren
     de Aragua because there are many people who aren’t from the Tren de Aragua, including Anuel,
     who have that tattoo.”

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             A photo from U.S. Border Patrol of what it said are Tren de Aragua tattoos. U.S. Border Patrol


     The Trump administration views Tren de Aragua as a national security threat, saying dangerous
     members have entered the country illegally. In the U.S., law enforcement has accused dozens of
     people of belonging to the gang in at least 14 states, according to an NBC News analysis.


     The administration has repeatedly cited Tren de Aragua as the embodiment of the criminal
     immigrant as part of the president’s aggressive immigration enforcement agenda, which has
     included sending hundreds of Venezuelan immigrants to the U.S. naval base in Guantanamo Bay,

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     Cuba, and to the Salvadoran megaprison, as well as stripping hundreds of thousands more of
     temporary legal status in the U.S.


     Targeting Venezuelans because of their tattoos is “wrong and outrageous,” said Bill Hing, a law
     professor at the University of San Francisco and co-director of the school’s immigration and
     deportation defense clinic.


     “It’s very evident that just having a Michael Jordan tattoo does not necessarily mean that a
     person is a gang member,” said Hing, who has represented hundreds of asylum-seekers from
     Central America, Colombia and Venezuela.


     A neck tattoo of the Jumpman logo was allegedly among the reasons one man was detained at
     Guantanamo along with 176 other Venezuelans, according to documents filed in a lawsuit by the
     American Civil Liberties Union and other groups.


     “Jordan is popular around the world, and for many Venezuelans he’s part of their fashion,” Hing
     said. He echoed Risquez
                       Risq   in saying that most people get tattoos based on pop culture references
     as well as their geographical or ancestral roots, racial pride and religion.




         Why the men who were sent to El Salvador’s mega-prison may never make it out
         Families and lawyers fear for the deportees who may face indefinite detention in a prison known for




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     The idea that a Jordan tattoo or jersey would be used to link someone with Tren de Aragua is
     close to laughable, said Risquez.
                              Risq


     The Department of Homeland Security did not respond to a request for comment. But on
     Tuesday, the White House said in a statement in response to the deportation flights to El
     Salvador that it was “confident in DHS intelligence assessments on these gang affiliations and
     criminality.” It added that the Venezuelan immigrants who were removed from the U.S. had final
     orders of deportation, though some attorneys and family members of the deportees are
     contesting that.


     “This administration is not going to ignore the rule of law,” the statement said.


     Hundreds of Venezuelans have since been removed from the U.S. under the Alien Enemies Act,
     which allows the president to expeditiously deport noncitizens during wartime.


     Trump invoked this law after he claimed the gang was invading the United States. That
     justification is now the heart of dispute between Department of Justice lawyers and a federal
     judge.


     But in assessing the use of tattoos as a main identifier of gang affiliation, Risq
                                                                                   Risquez pointed out that
     as in all parts of the world, the only way to determine that a person is a delinquent or criminal is
     “to conduct a police investigation” and “grant them due process.”




                   Nicole Acevedo


     Nicole Acevedo is a reporter for NBC Latino.




              Deon J. Hampton
     Deon J. Hampton is a national reporter for NBC News.




              David Noriega
     David Noriega is an NBC News correspondent based in Los Angeles.



                   Sarah Ford, Damià Bonmatí, Daniella Silva, Gary Grumbach and Carmen Sesin contributed.




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 The Trump administration sent them to a prison in El Salvador under a wartime act,
 calling them members of a Venezuelan gang. But a New York Times investigation found
 little evidence of criminal backgrounds or links to the gang.

 By Julie Turkewitz, Jazmine Ulloa, Isayen Herrera, Hamed Aleaziz and Zolan Kanno-Youngs
 Published April 15, 2025      Updated April 16, 2025, 11:12 a.m. ET



 Follow live updates on the Trump administration here.

 Nathali Sánchez last heard from her husband on March 14, when he called from a
 Texas detention center to say he was being deported back to Venezuela. Later that
 night, he texted her through a government messaging app for detainees.

 “I love you,” he wrote, “soon we will be together forever.”

 Her husband, Arturo Suárez Trejo, 33, a musician, had been in American custody
 for a month, calling every few days to assure his family that he was OK, his
 relatives said. Now, the couple believed they would reunite and he would finally
 meet his daughter, Nahiara, who had been born during his brief stint as a migrant
 in the United States.

 But less than a day later, Mr. Suárez was shackled, loaded onto a plane and sent to
 a maximum-security prison in El Salvador, according to an internal government
 list of detainees obtained by The New York Times. Around the time Mr. Suárez was
 texting his wife, the Trump administration was quietly invoking the Alien Enemies
 Act, a sweeping wartime power that allows the government to swiftly deport
 citizens of an invading nation.

 Mr. Suárez and 237 others, the Trump administration argued after the order
 became public, were all members of a Venezuelan gang called Tren de Aragua,
 which was “aligned with” the Venezuelan government and was “perpetrating” an
 invasion of the United States.




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     Ms. Sánchez with a photo of her husband, Mr. Suárez. Cristobal Olivares for The New York Times




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     Ms. Sánchez showing the last messages Mr. Suárez sent before she lost contact with him. “I love you
     with my life,” he wrote. Cristobal Olivares for The New York Times



 It was an extraordinary move: The act has only been invoked three times in
 American history, experts say — most recently in World War II, when it was used
 to detain German, Italian and Japanese people.

 And in this case, the Venezuelan men were declared “alien enemies” and shipped to
 a prison with little or no opportunity to contest the allegations against them,
 according to migrants, their lawyers, court testimony, judges and interviews with
 dozens of prisoners’ families conducted by The New York Times.

 The government’s public declaration of the act was made on March 15 at 3:53 p.m.,
 according to court records. The migrants were all on flights to El Salvador by 7:36
 p.m.



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 Yet most of the men do not have criminal records in the United States or elsewhere
 in the region, beyond immigration offenses, a New York Times investigation has
 found. And very few of them appear to have any clear, documented links to the
 Venezuelan gang.

 As they were being expelled, the detainees repeatedly begged officials to explain
 why they were being deported, and where they were being taken, one of their
 lawyers told the courts. At no point, the lawyer said, did officers indicate that the
 men were being sent to El Salvador or that they were removed under the Alien
 Enemies Act.

 The Alien Enemies Act gives the U.S. government broad powers to detain people
 during times of war, but Supreme Court rulings make clear that detainees have a
 right to challenge the government, and are entitled to a hearing, before their
 removal.

 Last month, an appeals court judge criticized the lack of due process under the
 Trump administration. “Nazis got better treatment under the Alien Enemy Act,”
 said Judge Patricia Millett.

 Then, last week, all nine Supreme Court justices said that targeted individuals
 must be given time to contest their removal before they’re expelled — and
 demanded that the Trump administration provide that opportunity going forward.

 In court, the administration has argued that the men can still challenge their
 incarceration — but that will be difficult, if not impossible, because they are
 already in El Salvador, out of reach of the American justice system, with little
 access to lawyers or even their family members.

 “They should stay there for the rest of their lives,” Kristi Noem, the homeland
 security secretary, said last week.

 Then on Monday, President Nayib Bukele of El Salvador forcefully backed the
 administration during a visit to the White House. He flatly rejected the idea of
 returning a Maryland man who had been wrongfully deported to El Salvador,

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 despite the Supreme Court’s instructions that the United States take steps to bring
 back the migrant.




     Kristi Noem, the homeland security secretary, during a tour last month of the prison in El Salvador
     where deported migrants accused of being gang members are being held. Pool photo by Alex Brandon




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     Family members of Venezuelans deported to El Salvador protested in Caracas last month, demanding
     the release of their loved ones. “Migration is not a crime!” some shouted. Adriana Loureiro Fernandez for The New
     York Times




 The Trump administration claims that all of the 238 Venezuelan men now
 imprisoned in El Salvador are members of Tren de Aragua, a transnational gang
 born in Venezuela. Their expulsion, the administration argues, is part of its plan to
 deport the worst migrant offenders.

 Officials say they used criminal records, social media, surveillance data, interviews
 with migrants and other information, like tattoos, to make their accusations.

 But a Times investigation found little evidence of any criminal background — or
 any association with the gang — for most of the men. In fact, the prosecutors, law
 enforcement officials, court documents and media reports that The Times
 uncovered or spoke to in multiple countries suggested that only a few of the
 detainees might have had any connection to Tren de Aragua.
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 Seeking to provide a fuller picture of who was imprisoned, a team of Times
 reporters and researchers ran the 238 names through three U.S. public records
 databases, checked backgrounds in Venezuela, Colombia, Peru, Ecuador and Chile,
 scoured court documents and news articles, spoke to dozens of family members
 and interviewed experts on Tren de Aragua.

 The findings are not comprehensive — there is no global public database to search
 for every accusation, and the U.S. government did not share its evidence against
 the detainees. But The Times’s investigation provides a snapshot of who the United
 States sent to El Salvador.

 Some of the prisoners do appear to have committed grave crimes. At least 32 of the
 men sent to El Salvador have faced serious criminal accusations or convictions in
 the United States or abroad, including a man accused of participating in an assault
 in Chicago, another convicted of trying to smuggle arms out of the United States
 and others accused of theft, strangulation, domestic battery or harboring
 undocumented immigrants.

 One has a homicide conviction in Venezuela, according to court documents.
 Another man was accused in Chile of kidnapping, drugging and raping a woman
 during a four-day rage.

 Chilean prosecutors also believe the man is a member of Tren de Aragua,
 according to court documents. Investigators say they found his name and
 messages in the phones of other gang members.

 Beyond that, The Times found that another two dozen of the men locked up in El
 Salvador had been accused or found guilty of lower-level offenses in the United
 States or elsewhere, including trespassing, speeding in a school zone and driving
 an improperly registered vehicle.

 But for the others, including Mr. Suárez, the musician, The Times found no
 evidence of a criminal background, beyond offenses related to being unauthorized
 migrants. Mr. Suárez’s family presented official certificates from Venezuela,


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 Colombia and Chile — where he lived in the past — saying he had no convictions in
 those nations.

 All 238 men will spend at least a year in El Salvador’s Terrorism Confinement
 Center, a sprawling complex of concrete and barbed wire built by President Nayib
 Bukele, who has called himself “a dictator” and promoted the prison as a holding
 pen for his country’s worst criminals.




     The Terrorism Confinement Center in Tecoluca, El Salvador. Salvador Melendez/Associated Press




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     Guards outside the prison where the migrants are being held. Pool photo by Alex Brandon



 The United States is paying the government of El Salvador to incarcerate the
 Venezuelan prisoners. On X, the Salvadoran leader called the yearlong sentence
 “renewable.”

 The U.S. government’s use of the alien act is now the subject of an intense court
 battle between the administration and civil rights groups, including the American
 Civil Liberties Union, whose lawyers say the government has not met the standard
 to invoke the measure: a war with or invasion by Venezuela.

 The groups also argue the government has violated the migrants’ rights to contest
 the accusation that they are members of Tren de Aragua and therefore “alien
 enemies.”




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 In court, the government has said that it has broad powers to determine what
 constitutes a war or invasion, as well as to decide who is a member of the gang,
 which the administration recently designated a foreign terrorist organization.

 This week, the Supreme Court said the Trump administration could continue
 deporting people using the Alien Enemies Act while the legal fight plays out in the
 courts — as long as detainees have a chance to challenge their expulsions.

 In a related case, the Supreme Court this month also ordered the Trump
 administration to take steps to return the Maryland man, Kilmar Abrego García,
 whom the government conceded it had sent to El Salvador in error.

 In that case, a judge found that the government had decided Mr. García was a
 member of another notorious gang, MS-13, on the basis of flimsy evidence.

 As for the prisoners accused of belonging to Tren de Aragua, a spokeswoman for
 the Department of Homeland Security, Tricia McLaughlin, said that all the men
 sent to El Salvador are “actually terrorists, human rights abusers, gangsters and
 more; they just don’t have a rap sheet in the U.S.”

 “We are confident in our law enforcement’s intelligence,” she added. “We have a
 stringent law enforcement assessment in place that abides by due process.”

 The raids targeting Venezuelan migrants began just after Mr. Trump took office.

 Officials from Immigration and Customs Enforcement seized Neri Alvarado, 25, a
 former psychology student, in a parking lot as he headed to work at a Dallas
 bakery, said his sister and his boss. Authorities picked up Francisco García
 Casique, 24, a barber, at his home in Austin, Texas, his family said. They grabbed
 Gustavo Aguilera Agüero, 27, an Uber driver, while he was working on his car in a
 driveway outside Dallas, according to his mother.




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     Izaida Alvarado in the room she used to share with her brother, Neri Alvarado, in Yaritagua, Venezuela.
     Adriana Loureiro Fernandez for The New York Times




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     Neri Alvarado’s mother, Yelitza Borges, at home in Yaritagua, Venezuela. Adriana Loureiro Fernandez for The New
     York Times




 Mr. Suárez, the musician, came from a once middle-class family in Venezuela, the
 second oldest of seven siblings. His mother was an educator, his father a
 bricklayer. In 2014, he joined mass protests against the country’s authoritarian
 government, said his older brother, Nelson Suárez, 35, who now lives in the United
 States.

 But when the country’s autocratic leader, Nicolás Maduro, tightened his grip and
 the Venezuelan economy spiraled into crisis, leaving millions hungry, the younger
 Mr. Suárez left for Colombia, then Chile.

 “Many times we had to run for our lives,” said the older Mr. Suárez, “until we
 decided to leave.”



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 In Chile, the younger Mr. Suárez installed refrigerators and began building a
 following as a singer, mixing rap, hip-hop and reggaeton.

 “There’s no sin here; there’s no sentence,” he sang in one song, about a woman
 who works the streets to escape poverty.

 He met his wife, Ms. Sánchez, at a music event.

 In the United States, Mr. Suárez believed he could advance his music career, said
 his brother, and make money to send back to his growing family.

 He entered the United States on Sept. 3 using a Biden-era application that allowed
 people to present themselves at the border and ask for entry, according to
 documents reviewed by The Times. Officials allowed him in with an order to
 appear in court on March 6, where he would have the opportunity to fight removal.

 In North Carolina, he worked in landscaping, said his brother Nelson.

 On Dec. 2, his daughter was born in Chile.

 On Jan. 20, Mr. Trump became president.

 On Feb. 8, Mr. Suárez arrived at a house in Raleigh to record a music video. But
 U.S. immigration agents showed up and hauled him away, according to the brother.

 Soon, Mr. Suárez was in detention in Georgia, where he told his brother that an
 official had done a background check and reviewed his YouTube channel. Mr.
 Suárez told his brother that officials didn’t seem to believe he was guilty of
 anything more than being a migrant.




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     Relatives of Mr. Suárez protesting his deportation to El Salvador in Caracas, Venezuela. Adriana Loureiro
     Fernandez for The New York Times




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     Paola Paiva-Trejo in front of a mural honoring some of the Venezuelans deported to El Salvador,
     including her brother, Arturo Suárez. Adriana Loureiro Fernandez for The New York Times



 “If this had been another moment, they would have let him go,” the brother said
 Mr. Suárez told him. “But since we are in this madness he was going to stay in the
 hands of ICE”

 In dozens of interviews, family members said that once the men were detained,
 U.S. officials focused on their tattoos.

 Mr. García, the barber, had the word “peace” written on his neck, accompanied by a
 crown, and had the names of his mother, grandmother and sisters on his body, said
 his family.

 Mr. Aguilera, the Uber driver, had the name of his oldest son, Santiago, also
 accompanied by a crown, a star, a skull with flowers and the infinity symbol,
 according to his mother.
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 Mr. Alvarado, the former psychology student, had come to the United States to
 earn money to help his younger brother, who has autism, other disabilities and
 health problems, his family said.

 Before leaving, Mr. Alvarado had inked on his leg a rainbow ribbon associated with
 autism awareness. His sister said it went with Mr. Alvarado’s other tattoos, which
 read: “brothers,” “family” and “self love.”




     Mr. Alvarado arrived in the United States with an autism awareness tattoo, which his family believes was
     used to tag him as a member of Tren de Aragua.




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     Mr. Alvarado’s little brother, Neryelson, in Venezuela. Adriana Loureiro Fernandez for The New York Times



 In an interview, Mr. Trump’s border czar, Tom Homan, said tattoos were just one
 factor used to determine if an individual was a member of Tren de Aragua.

 “I don’t say it’s a major factor,” he said, “it’s one of many.”

 But an internal government document made public in court filings indicates how
 much weight is given to tattoos.

 The document, called the “Alien Enemy Validation Guide,” instructs immigration
 officials to use a point system to identify members of Tren de Aragua. Eight points
 makes someone a “validated” member of the group. Having tattoos associated with
 the gang is worth four points.

 Wearing clothing associated with the gang is worth another four.


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 A second government document indicates that the administration considers a
 crown tattoo — much like the one worn by soccer star Lionel Messi — and the
 “Jump Man” symbol, popularized by Michael Jordan, to be Tren de Aragua
 symbols.

 Clothing associated with the gang includes “high-end urban street wear.”

 In interviews, five Venezuelan experts on Tren de Aragua — two police officials,
 two scholars and a journalist — told The Times that while some transnational
 gangs use tattoos as indicators of membership, the Venezuelan group did not.

 “In the case of the Tren de Aragua,” said Luis Izquiel, a professor of criminology at
 Venezuela’s Central University, “there is no common pattern of similar tattoos
 among its members.”

 While many Tren de Aragua members have tattoos, experts said, so do many
 young Venezuelan men.

 Of the 30 men whose family members or lawyers spoke to the Times, at least 27
 have tattoos.

 Mr. Suárez has 33, said his family, reflecting his urban music aesthetic. They
 include one of his signature phrases, they said: “The future is bright.”

 The Trump administration began to move dozens of detained Venezuelan men to
 facilities in Texas roughly two weeks before invoking the Alien Enemies Act.

 On March 14 and 15, the men called their families to say that Americans officials
 had told them they were being deported back to Venezuela, according to dozens of
 interviews.

 In Aragua state, in Venezuela, Mirelis Casique, the mother of Mr. García, the
 barber, rushed to fix up his room, applying new paint and hanging new curtains.




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     Mirelis Casique, the mother of Mr. García, in the room that was to be his upon his return to Venezuela. “I
     would put my hands in fire for my son, I know he’s not a criminal,” she said. Adriana Loureiro Fernandez for The
     New York Times




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     Ms. Casique with a photo of Mr. García. Adriana Loureiro Fernandez for The New York Times



 But by March 16, the wife of Mr. Suárez, the musician, had still not heard from him.

 Her anxiety rising, she turned to Google.

 “Deportation to Venezuela,” she typed into the search box.

 By now, three flights carrying the 238 men had arrived in El Salvador, despite a
 judge’s order that the Trump administration turn them around.

 That morning, Mr. Bukele had posted a video showing the new prisoners shackled
 and gripped by guards in riot gear being led into the prison.

 “We removed terrorists,” Mr. Homan, the U.S. border czar, said from Washington.
 “That should be a celebration in this country.”



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 Online, Mr. Suárez’s wife pulled up an image of a sea of shaved, cuffed men in
 Salvadoran prison. She recognized one: It was her husband.

 Holding her newborn, she sat down and cried.

 Later, she logged in to an online ICE search page that had allowed her to track her
 husband’s whereabouts in the United States.

 Mr. Suárez had suddenly disappeared from the system.

 Never before, legal analysts say, has the Alien Enemies Act been used with such
 little due process.

 During World War II, the Department of Justice established civilian hearing
 boards in which “registered aliens” of German, Italian and Japanese descent
 arrested by the government could argue they were not a danger to the nation, legal
 scholars said.

 Many scholars have criticized that process as deeply flawed; detainees were not
 afforded lawyers and could still be held based on hearsay and bias or racial
 discrimination.

 But Eric L. Muller, a professor at the University of North Carolina School of Law,
 said they nevertheless provided “a check” on the government, adding that the
 majority of people who obtained a hearing under the civilian boards were released.




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     Ms. Sánchez with her daughter, Nahiara, in Santiago. “This is no longer a dream,” Mr. Sánchez’s brother,
     Nelson, said of the musician’s incarceration. “I feel that am living the American nightmare.” Cristobal
     Olivares for The New York Times




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     Yuransi Gonzalez during a protest against the deportation of Venezuelans to El Salvador. Her son Anyelo
     Sarabia, 19, is among those imprisoned in the terrorism center. Adriana Loureiro Fernandez for The New York Times



 In Venezuela, families have gathered for marches calling for the release of loved
 ones. Many have tried contacting American and Salvadoran officials, but say their
 messages have gone unanswered.

 The governments of Mr. Trump and Mr. Bukele have refused to release a list of the
 men confined in the terrorism center or to confirm to families who is there.

 For this article, The Times obtained an internal government list of names. CBS
 News previously reported the names.

 The White House has said that 137 of the men were deported under the Alien
 Enemies Act, while 101 others were expelled under normal immigration
 proceedings. All are accused of being gang members, and all are in prison in El
 Salvador.

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 In recent weeks, Venezuela’s autocratic leader has accused the Trump
 administration of engaging in a violation with a long grim history in Latin
 America: a large-scale “forced disappearance.”

 The United Nations defines the practice as the deprivation of liberty “followed by a
 refusal to disclose the fate or whereabouts of the persons concerned.”

 In a rare moment of agreement, Human Rights Watch has come to the same
 conclusion as the Venezuelan leader.

 Mr. Suárez’s brother says his biggest fear is that “tomorrow I get my brother back
 — in a wooden box.”

 An uncle of Mr. Suárez’s, Edgar Trejo, said the family had been struggling not only
 to understand how the musician ended up in a faraway prison, but also the turn of
 events in “a country as organized and as just” as the United States.

 Once upon a time, said Mr. Trejo, a pastor in Caracas, he believed that the United
 States was “God’s policeman on earth.”

 In Caracas, the family had become accustomed to people being carted away with
 no trial.

 Now, he said, “what we have seen here,” in Venezuela “we are also seeing there.”




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     In Caracas, women protest the deportations to El Salvador. On sign reads: “Freedom for our kidnapped
     sons.” Adriana Loureiro Fernandez for The New York Times


 Research was contributed by Alain Delaquérière, Susan C. Beachy, Kirsten Noyes and Sheelagh McNeill.
 Reporting was contributed by Pascale Bonnefoy, Sheyla Urdaneta, Mitra Taj, Alan Feuer, Steven Rich, José
 María León Cabrera, Annie Correal, Miriam Jordan,Luis Ferré-Sadurní, Ana Ley, Genevieve Glatsky and Simón
 Posada.


 Read by Julie Turkewitz
 Audio produced by Jack D’Isidoro.

 Julie Turkewitz is the Andes Bureau Chief for The Times, based in Bogotá, Colombia, covering Colombia,
 Venezuela, Bolivia, Ecuador and Peru.

 Jazmine Ulloa is a national politics reporter for The Times, covering the 2024 presidential campaign. She is
 based in Washington.

 Hamed Aleaziz covers the Department of Homeland Security and immigration policy.

 Zolan Kanno-Youngs is a White House correspondent for The Times, covering President Trump and his
 administration.

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                                     Annals of Immigration


      The Makeup Artist Donald Trump
    Deported Under the Alien Enemies Act
The President has invoked the law to send Venezuelans to prison in El Salvador without due process—
                              and, in many cases, under false pretenses.

                                        By Jonathan Blitzer
                                            March 31, 2025




                                     Illustration by Anuj Shrestha
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          hroughout the fall and winter, Alexis Romero de Hernández struggled to
T         accept a grim new routine. She lived in a small town in central Venezuela
called Capacho, with her husband and the younger of her two sons. Her eldest, a
thirty-one-year-old makeup artist named Andry José Hernández Romero, was
being held in an immigration jail in San Diego. He called her every few days,
usually late in the afternoon, to reassure her that he was safe. The calls would last
about a minute. Alexis had to put money on his calling card to keep them coming.
“Mama, relax,” Andry would tell her. “I’m fine. They’re treating us well. What’s
bad is that we’re stuck here.”


In Capacho, Andry was a member of a local theatre troupe, and he acted in an
annual church procession during the Epiphany, which, in the Spanish-speaking
world, is known as El Día de los Reyes Magos, or Three Kings Day. He loved to
draw, and had a penchant for bringing aesthetic flourishes to every corner of his
life. When he worked as a hotel receptionist for a time, he created balloon
decorations in the lobby; at home, he designed costumes and clothes. He made
friends easily but, Alexis said, didn’t drink or stay out late. Andry is “very, very
humble and very, very open,” she told me, by phone. “He’s comfortable being
alone. He cooks for me and helps clean. He’s a homebody.”

In 2023, Andry took a job at a state-run television station in Caracas, the
country’s capital. It was an ideal job—he was responsible for prepping the show’s
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anchors and guests for the screen, and his family, who have a shop that sells glass
for mirrors and tables, needed the money. But he was gay and skeptical of the
country’s authoritarian regime, which made him a target for abuse. The year he
spent in Caracas, Alexis told me, was one of “persecution and discrimination.
People in high places always discriminate against those who are lower down. They
humiliated him.” At night, after work, he was often followed home and harassed
by armed vigilantes aligned with the government; on one occasion, his boss at the
station slapped him in front of his co-workers.



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When Andry told his parents that he’d decided to leave Venezuela, in late May of
2024, they begged him to stay. “At least see how things go with the elections,”
Alexis told him, referring to the country’s Presidential race that August. “His
father talked to him, too. But there was no way to convince him not to go.”
Andry’s decision initially seemed prescient: the current President, Nicolás
Maduro, who appeared to have lost the vote by an overwhelming margin, declared
himself the winner. Andry was one of roughly seven hundred and sixty thousand
Venezuelans who travelled to the United States during the Biden Administration,
traversing an infamously dangerous jungle known as the Darién Gap, between
Colombia and Panama. “He made the journey,” Alexis said. “He wanted to change
his life, to reach his potential, and to help us here.”
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The first time Andry tried to enter the U.S., he was arrested and sent to Tabasco,
Mexico, where a friend helped him download a government app that allowed
migrants to make appointments at ports of entry. The system, known as CBP
One, was the Biden Administration’s attempt to create a more orderly process for
people to enter the country. Part of the premise was to incentivize migrants to
come “the right way,” though it often took months for slots to open up. On the
morning of August 29th, a U.S. official interviewed Andry at the U.S.-Mexico
border in San Diego. Andry had no criminal record, and the exchange seemed
straightforward.

“Did you claim asylum while in Mexico?” the official asked.

“I didn’t know I could do that,” he replied.

Andry eventually passed his preliminary asylum screening. Officials determined
that he demonstrated a “credible fear” of persecution in his home country. But
during a physical exam, they had fixated on his tattoos. A snake extending from a
bouquet of flowers covers his left forearm and biceps. On each of his wrists is a
crown, with the words “Mom” and “Dad” inked next to them in English. The
photographs in his file show a thin man, slight of build, with a youthful face and
dark hair; there are rings under his eyes, and he is standing before the government
photographer without a shirt.
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Andry José Hernández Romero. Photograph courtesy Lindsay Toczylowski


Andry denied belonging to any gang. The agent, who asked him about the tattoos,
described his “demeanor during interview” as “uncooperative.” A note was added
to his file: “Upon conducting a review of detainee Hernandez’s tattoos it was
found that detainee Hernandez has a crown on each one of his wrist. The crown
has been found to be an identifier for a Tren de Aragua gang member.” These
crowns, according to the government, were “determining factors to conclude
reasonable suspicion.”

Often, asylum seekers who pass their initial screening are released with a future
court date, but Andry remained in custody, apparently because of the
government’s suspicions about his tattoos. In December, three months into his
detention, he met Paulina Reyes, a lawyer from the Immigrant Defenders Law
Center, a legal-advocacy organization, who agreed to represent him on a pro-bono
basis. Reyes filed an asylum application on Andry’s behalf. They spoke regularly,
both in person and on the phone, while waiting for a court appearance scheduled
for March 13th.

About a week before the hearing, Andry and a number of other Venezuelans in
San Diego were transferred to a facility in South Texas. Reyes, whom Immigration
and Customs Enforcement (ice) had neglected to inform, found this out when
Andry called her from Texas. That was the last time the two of them spoke.
During his March 13th hearing, in San Diego, Reyes thought he might appear on
video. When he did not, the proceedings were postponed until March 17th. Reyes
wasn’t able to speak with him, so she didn’t realize that, on Friday, March 14th,
he’d managed to make one last phone call to his mother. He told her he was fine,
but that the government was about to transfer him again. He had no information
about his destination.
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When Andry failed to appear at his second hearing, the immigration judge
wanted to know why the government wasn’t making him available. “He was
removed to El Salvador,” the ice lawyer replied. “We just found out today.” This
surprised the judge, who was there to determine whether or not Andry should be
deported. “How can he be removed to El Salvador,” the judge asked, “if there’s no
removal order?”

      n March 14th, Donald Trump had signed a proclamation declaring that his
O     Administration would begin using vastly expanded Presidential powers
under the Alien Enemies Act—a law from 1798 that had previously been invoked
just three times, supplying the rationale for the U.S. government to target British
nationals during the War of 1812, to intern Germans during the First World War,
and to intern Japanese, German, and Italian immigrants during the Second. The
law allows the President to detain and deport immigrants living lawfully in the
U.S. if they are from countries considered “enemies” of the government. In this
case, Trump claimed that the Venezuelan gang Tren de Aragua, operating “in
conjunction” with elements of the Maduro government, had “infiltrated the
United States” and was “conducting irregular warfare.”


The White House didn’t make the proclamation public for another day. In the
meantime, the government was secretly putting Venezuelans who were in federal
custody on planes, readying them for deportation. Andry was one of them; there
were two hundred and thirty-seven others who, like him, were accused of
belonging to the gang. The vast majority were involved in pending immigration
cases but were not given an opportunity to contest the alleged evidence against
them. A high-ranking ice official later acknowledged that many of these men had
no criminal records in the U.S. but insisted that the absence of such a history
“actually highlights the risk they pose.”

El Salvador is a conspicuously punitive destination. The country’s President,
Nayib Bukele, has suspended parts of the country’s constitution and, during the
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past three years, jailed more than eighty thousand alleged gang members without
clear charges. In February, after a meeting in San Salvador with Marco Rubio, the
U.S. Secretary of State, Bukele offered to house immigrants who’d been arrested
on American soil in his newly built prison, which is called the Terrorism
Confinement Center. “We have offered the United States of America the
opportunity to outsource part of its prison system,” Bukele wrote on X. “The fee
would be relatively low for the U.S. but significant for us, making our entire prison
system sustainable.”

On the day that Trump signed the order, Lee Gelernt, a veteran litigator with the
American Civil Liberties Union who specializes in immigrants’ rights, was in a
courtroom in Washington, D.C., arguing a case about another controversial
decision recently made by the Administration. In February, the President had sent
a hundred and seventy-eight Venezuelan men from U.S. detention to the military
compound at Guantánamo Bay, Cuba. After the A.C.L.U. brought a legal
challenge, the Department of Homeland Security deported the men to Venezuela,
evidently to avoid a court fight over their access to legal representation. But the
government said that it planned to send more migrants to Guantánamo. Gelernt
was trying to insure that they’d have access to lawyers. In the hours before the
hearing, he’d also been monitoring early news reports that the President was
preparing to invoke the Alien Enemies Act to deport more Venezuelan migrants.

As soon as the hearing ended, Gelernt rushed back to his hotel, where he worked
through the night with his A.C.L.U. colleagues to prepare an emergency lawsuit.
The idea was to prevent the government from deporting anyone under the Alien
Enemies Act while the case could be argued in court. “If people already had final
orders of removal, the government doesn’t need the Alien Enemies Act,” Gelernt
told me. “Using the Alien Enemies Act is all about short-circuiting the
immigration process, not only to eliminate hearings in immigration court but to
be able to send them wherever the government wants.”
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Through a national network of immigration attorneys, the team identified five
plaintiffs who fit the profile of those at the greatest risk of being summarily
deported to El Salvador: they were Venezuelan men in federal custody who had
open immigration cases and had recently been transferred to a detention facility in
Texas. The lawyers took down affidavits from the plaintiffs’ immigration attorneys
—the men themselves were unreachable—and crafted an argument to protect a
wider class of migrants in custody. The A.C.L.U. filed its brief sometime after two
in the morning on March 15th—a Saturday. Within hours, a federal judge in
Washington, D.C., had issued a temporary restraining order to block the
deportation of the five plaintiffs, who, it turned out, had already been taken to the
airport. Four of them had to be pulled off the planes on the tarmac. The other
passengers were left to wait on the aircraft for several hours more.

The judge, James Boasberg, a former prosecutor who’d been appointed to his
current position by Barack Obama and to a prior judgeship by George W. Bush,
scheduled a hearing on Zoom for five o’clock that afternoon. About an hour
before it was set to begin, the White House announced its invocation of the Alien
Enemies Act. At the hearing, Boasberg asked the government lawyer, “Are
imminent deportations and removals under this proclamation planned?”
According to a transcript of the proceedings, the lawyer responded, “Your Honor, I
don’t know the answer to that question.” Boasberg turned to Gelernt, who said, “I
recognize it’s Saturday, but, on the other hand, the government appears to be
moving planes very rapidly to El Salvador with hundreds of people. So we hope
that, in the next five minutes, counsel for the government can get an answer to
that.” Boasberg gave the government forty minutes.

During that time, according to an analysis by the Washington Post, two planes full
of migrants left Texas for Honduras. Either the government lawyer was unaware
of these departures or he feigned ignorance, because when Boasberg reconvened
the hearing at six o’clock the attorney still couldn’t provide any information. “I am
still trying to get additional details,” he said.
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At a quarter to seven, Boasberg issued a ruling to extend his temporary restraining
order to anyone in federal custody, which meant that, until further notice, the
Trump Administration could deport people under federal immigration laws but
not under the Alien Enemies Act. “Particularly given the plaintiff ’s information
unrebutted by the government that flights are actively departing and plan to
depart, I do not believe that I am able to wait any longer,” Boasberg said. He
instructed the government’s lawyer “that any plane containing these folks that is
going to take off or is in the air needs to be returned to the United States.” He
added, “However that’s accomplished . . . I leave to you. But this is something that
you need to make sure is complied with immediately.”

The judge’s verbal order was entered into the written record at 7:26 p.m. Shortly
after that, the two planes that had left Texas during the adjournment arrived in
Honduras, and a third took off from Texas. Within a few hours, each of those
planes departed Honduras for El Salvador: one at 11:39 p.m., another at 11:43
p.m., and the last at 12:39 a.m. Just before eight o’clock on the morning of March
16th, Bukele posted a New York Post article about Boasberg’s order, adding in a
comment, “Oopsie . . . Too late.” Rubio retweeted Bukele’s sarcastic post. Bukele
soon began releasing footage of Salvadoran soldiers swarming the migrants as
they got off the planes. Videos showed the men looking stunned, as their heads
were shaved and they were frog-marched into prison.

    everal hours later, Nelson, a thirty-five-year-old from Venezuela, who works as
S   a truck driver in North Carolina, spotted his younger brother, Arturo, in a
photograph of the detained men dressed in prison whites and crouching in rows
with their heads bowed. (Nelson’s last name has been withheld for his protection.)
He couldn’t see Arturo’s face, but he didn’t have to: Nelson spotted a
hummingbird tattoo on his neck. Beyond that, he told me, “We don’t have any
signs that my brother’s even still alive.” Arturo’s case was first reported by Mother
Jones, but Nelson and I met through another Venezuelan in the U.S., whose cousin
had been deported. She was too scared to talk to a journalist. “We can’t give an
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interview because his life is at risk in Venezuela, and we’re in danger here,” she
texted. “Este señor”—Trump—“is even threatening the lawyers who defend
immigrants.”


Arturo is a singer who worked landscaping jobs in the U.S. He left Venezuela in
2016, living in Colombia and then Chile with his wife, who, three months ago,
gave birth to their daughter. As part of his application for temporary protected
status in the U.S., which would have theoretically shielded him from deportation
and granted him work authorization, he was supposed to have an appointment
with D.H.S. on February 12th to get fingerprinted. But, on February 8th, he was
arrested at a house where he was shooting a music video. In Nelson’s telling, ice
officers turned up looking for someone else but took Arturo into custody as a
“collateral arrest.”

The family didn’t have the money to retain a lawyer, and Nelson was told he
couldn’t raise bond. Still, Nelson managed to secure documentation from each of
the countries where his brother had lived, demonstrating that he didn’t have a
criminal history. When I asked Nelson whether he thought Arturo’s tattoos were
the reason for his deportation to El Salvador, he told me, “I imagine it has to be.
He hasn’t even gotten a speeding ticket in the U.S., which is how they normally
get Latinos. I just don’t even understand how there’s evidence to categorize him as
a criminal.”

Other family members learned of their relatives’ deportations the same way that
Nelson had—from the footage released by Bukele. As the Washington Post
reported, Mervin Yamarte, a twenty-nine-year-old father from Maracaibo, who
had worked as a roofer in Venezuela, had called his mother in mid-March saying
he would see her soon: after being arrested, he and three of his friends from home,
who were living together in Dallas, had agreed to sign deportation orders,
expecting to be returned to Venezuela. When his mother recognized him in a
video posted by Bukele, she told the Post, “I couldn’t speak.” The father of Carlos
       Case 3:25-cv-00113-SLH    Document 57-9   Filed 04/29/25   Page 169 of 191
Daniel Terán, an eighteen-year-old Venezuelan who was first arrested in January,
shared with NPR a series of text messages he had exchanged with his son on the
eve of Carlos’s deportation. “With God’s help, we are leaving today,” Carlos had
said, assuming that he was being deported home. “God bless you, son,” his father
replied. A few days later, someone sent him a photo of his son in the Salvadoran
prison. Other relatives panicked when they hadn’t heard from the men but could
not find them in the U.S. government’s searchable database of people in
immigration detention. The wife of Franco Caraballo, a twenty-six-year-old, told
Reuters, “I’ve never seen him without hair, so I haven’t recognized him in the
photos,” adding, “I just suspect he’s there because of the tattoos that he has and
right now any Venezuelan man with tattoos is assumed to be a gang member.”

The Trump Administration has denied the Venezuelans a chance to respond to
the government’s allegations of gang membership, but the most obvious through
line, in each case, appears to be their tattoos. As part of the White House’s effort
to invoke the Alien Enemies Act, ice officers received a document called the
“Alien Enemy Validation Guide,” which provided a point system based on
different categories of incriminating behavior or associations. If an immigrant in
custody scored six points or higher, according to the rubric, he “may be validated”
as a gang member. Tattoos, which fall under the “Symbolism” category, constitute
four points; social-media posts “displaying” gang symbols are two points. Using
“open source material,” agents at the investigative arm of ice compiled photos of
tattoos considered suspicious: crowns, stars, the Michael Jordan Jumpman logo.
Jerce Reyes Barrios, a thirty-six-year-old soccer player and youth coach, fled
Venezuela last year after marching in anti-government protests. His immigration
file cites two grounds for suspicion: a gesture he made while posing for a photo
that was posted to social media and a tattoo of a crown on top of a soccer ball
with a rosary and the word “Dios.” His lawyer, Linette Tobin, worked with his
family to secure documents from the police in Venezuela to show that he hadn’t
committed any crimes. They also tracked down Barrios’s tattoo artist. “He wanted
a tattoo related to soccer,” the artist said in a legal declaration. “We searched on
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the internet and the ball with a crown caught our attention to represent the king
of soccer, and he liked the idea.”

In the aftermath of the deportations, someone took photographs of Tobin’s court
filing and posted them on social media, where they soon went viral. Critics of
Trump shared them as evidence that innocent people were being sent to “rot in
prison” in El Salvador, while the President’s defenders shared photos of Tobin,
deriding the affidavit she gave as as a “hoax.” “I looked at my phone, and I saw the
calls and the emails. I was seriously horrified,” she told me. Right-wing groups
were singling her out for harassment, but she was more upset about her client,
whose personal information was now being widely circulated.

Andrés Antillano, a criminology professor at the Central University of Venezuela,
has spent much of his career studying Tren de Aragua. “This is the first time I’ve
ever encountered any reference to the significance of tattoos,” he told me. He
called the thinking “absurd” and “naïve.” Tattoos were typically associated with
Central American gangs that built their identities around holding specific
territory, he said, but “it’s been a long time since that sort of thing would apply to
Tren de Aragua.” In fact, the guidance ice provided to its officers for identifying
members of Tren de Aragua seems to be based on the operations of the
Salvadoran gang MS-13. It flags graffiti, hand signs, and tattoos—all hallmarks of
MS-13, but “irrelevant” to how Tren de Aragua functions, Antillano said.

Ronna Rísquez, a Venezuelan journalist who’s reported extensively on criminal
groups in Venezuela, published the definitive book on Tren de Aragua. “The truth
is that a tattoo identifying Tren de Aragua does not exist,” she told me. “Tren de
Aragua does not use any tattoos as a form of gang identification; no Venezuelan
gang does.” In Rísquez’s view, tattoos are a completely unreliable indicator of
someone’s criminal proclivities; rather, they reflect contemporary fashions and
socioeconomic class. “Most young people in Latin America these days have
tattoos,” she said. Often, they imitate those of celebrities: a watch in reference to
the Argentinean soccer legend Lionel Messi, the phrase “real hasta la muerte,” in
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homage to the Puerto Rican singer Anuel AA. (Both of these symbols appear in
the ice documents.) Rísquez went on, “People get a tattoo because it means
something particular to them.”


      ndry’s tattoos have an immediate significance to the people in Capacho. For
A     a hundred and eight years, the town has held a special festival for the
celebration of Three Kings Day, replete with elaborate theatrical acts, sets,
costumes, and casts of dozens. The holiday is observed widely across Venezuela
(and indeed throughout much of the Christian world), but the production in
Capacho is legendary in the country and has been awarded distinguished status as
a national patrimonio, or heritage. “This work represents for the community of
Capacho the greatest cultural expression of street theatre,” Jorge Cárdenas, a
leader of the Foundation of Reyes Magos of Capacho, told me earlier this week.
“To speak of Capacho is to speak of the Reyes Magos.”


Cárdenas has known Andry since he was a boy, when Andry participated in the
festival’s program for children. When we spoke, Cárdenas described Andry’s
contributions to local theatre, including all of his roles in the festival itself, before
leaving me a series of messages brimming with literary and religious detail. Andry
was one of the thirteen main actors in the show, a makeup stylist for the others,
and the costume designer for nearly two dozen dancers. One of the principal
symbols of Three Kings Day is a crown. “Andry is a great lover of the festival, and
the two crowns on his wrists are a tribute to his passion for it,” Cárdenas said.

During the past week, several of Andry’s friends—some in the U.S., others in
Venezuela—urged me to watch footage of Andry at the festival, which is on
YouTube. There was something painfully desperate in their insistence, as if seeing
images of Andry for myself would help correct an otherwise stunning cultural
misunderstanding.
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One morning, a childhood friend of Andry’s named Alejandro, who currently lives
in the state of Georgia, where he works as a food deliveryman, spoke to me during
his shift. Alejandro came to the U.S. at the end of 2023, shortly after the death of
his father, who owned a bus company. He had spent a few years in Venezuela as a
taxi driver but eventually abandoned the job because he had to pay too much of
his meagre wages to local criminal groups as protection money, a tax known as a
vacuna, or vaccine. The irony wasn’t lost on him that he was now living in a
country where he could be accused of gangsterism. “They’re taking everyone now,”
he told me. “It doesn’t matter if you have papers or not.” He lives in an apartment
with his brother-in-law and two others from Capacho. One of them, in a nod to
their home town, also has a tattoo of a crown.


    udge Boasberg called a hearing on March 17th to determine whether the
J   Trump Administration had deliberately flouted his earlier order. If so, it meant
that the White House was choosing to ignore the Constitution’s foundational
system of checks and balances—and challenging the judiciary to do something
about it. By then, the Justice Department had unsuccessfully asked a higher court
to remove Boasberg from the case. In the courtroom, Boasberg explained to the
Administration’s lawyers that he wanted to “perform fact finding.” When did the
planes leave for El Salvador? How many people were on each one? When were
the migrants transferred into the custody of the Salvadoran authorities? “I’m not
at liberty to disclose anything about any flights,” one of the Administration’s
lawyers said. Trump’s legal team then struggled to explain why they couldn’t say
more. “If you tell me it’s classified, then we will go down to a classified facility in
this building, and you can give me that information then,” Boasberg said. “If what
you are saying is that it’s classified and you can’t tell me, then you are going to
need to make a good showing as to why that is.”


The government lawyer said that he could “consult with the clients on that, but
we don’t believe it’s necessary.” Gelernt told the judge, “There’s been a lot of talk
       Case 3:25-cv-00113-SLH   Document 57-9       Filed 04/29/25   Page 173 of 191
over the last seven weeks about constitutional crisis. People are throwing that term
around. I think we are getting very close to it.”

Within a day, Trump began attacking Boasberg on Truth Social. “This Radical
Left Lunatic of a Judge, a troublemaker and agitator who was sadly appointed by
Barack Hussein Obama, was not elected President,” he wrote. “I’m just doing what
the VOTERS wanted me to do. This judge, like many of the Crooked Judges’ I
am forced to appear before, should be IMPEACHED!!!” In response to the
President, Chief Justice John Roberts issued a rare rebuke, saying, “For more than
two centuries, it has been established that impeachment is not an appropriate
response to disagreement concerning a judicial decision.”

Soon, Attorney General Pam Bondi’s name began to appear on an increasingly
aggressive series of filings. One of them called the judge’s requests for information
“a picayune dispute over the micromanagement of immaterial factfinding.” The
Administration claims that it did not violate the judge’s order, because two of the
three deportation flights had already left the United States when Boasberg made
his ruling. According to federal officials, the Venezuelans on the third plane
weren’t removed solely on the basis of the Alien Enemies Act. But that assertion
raises another question: if they were deported under regular immigration
procedures, why would they be sent to El Salvador without prior warning? Early
last week, the Justice Department invoked the “state-secrets privilege,” claiming
that sharing even minimal details about the deportation flights “would pose
reasonable danger to national security and foreign affairs.”

Gelernt was the lead litigator in some of the highest-profile lawsuits of Trump’s
first term, including successful challenges to the initial Muslim ban and the
Administration’s family-separation policy. He pointed out that the last time
Roberts rebuked the President was in 2018, when, in another case brought by
Gelernt and the A.C.L.U., a federal judge blocked a Trump proclamation ending
asylum at the border. Trump lambasted him as an “Obama judge.” The echoes
were unmistakable, yet they also reinforced the fact that the Administration has
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only become more combative since Trump’s first term. “They’re much more intent
on picking a fight with the federal judiciary,” Gelernt told me. “It appears to me
that they think that’s a winning political issue for them.” He continued, “The
stridency of their positions is what’s catching me, the unwillingness to give at all.
What also seems clear is that the D.O.J. lawyers do not have authorization to
make any concessions in court.”

On March 26th, a federal appeals court upheld Boasberg’s temporary restraining
order. One of the judges, Patricia Millett, had expressed disbelief that Venezuelans
were being sent to El Salvador without any notice or opportunity to mount a legal
defense. “Nazis got better treatment under the Alien Enemies Act,” she said. The
Justice Department filed an emergency petition before the Supreme Court. In the
meantime, Trump’s Secretary of Homeland Security, Kristi Noem, who has
publicly called undocumented immigrants “dirtbags,” visited the Salvadoran
facility. Standing in front of a cell crammed with prisoners who appeared to be
Salvadorans, covered in MS-13 tattoos, she said, “This facility is one of the tools
in our tool kit that we will use if you commit crimes against the American
people.”

Andry’s American lawyers are caught in something of a paradox. They’re vocal
about sharing the details of his disappearance, because, if he fades from the news,
his situation may grow even more dire. Yet Andry is also an asylum seeker.
Disclosing the full identity of someone fleeing persecution is inherently risky. One
evening, while I was talking with one of his attorneys, Lindsay Toczylowski, the
president of the Immigrant Defenders Law Center, CBS News published the full
list of the two hundred and thirty-eight Venezuelans deported to El Salvador. “I
had spent nights looking at his Instagram pictures, thinking, How can something
like this happen to him? ” she told me. “But at the same time I felt like we couldn’t
share that information. When the list was published, it was inevitable that those
pictures would be out there.”
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Toczylowski and her colleagues had debated whether disclosing that Andry was
gay would make him a target inside the Salvadoran prison. They decided it was
pointless to try to hide it, and that maybe it would make the public more
sympathetic to his case. Ordinarily, this would be a conversation they could have
had with Andry. Under the circumstances, all they could do was discuss it with his
mother. She told them, “Do absolutely everything you can to get him out of
there.”

On March 21st, Time published a report, by Philip Holsinger, an American
photojournalist, who gained access to the Salvadoran prison when the
Venezuelans first arrived. In the story, he described someone roughly resembling
Andry. “One young man sobbed when a guard pushed him to the floor,” Holsinger
wrote. “He said, ‘I’m not a gang member. I’m gay. I’m a barber.’ ” The description
went on: he “began to whimper, folding his hands in prayer. . . . He was slapped.
The man asked for his mother, then buried his face in his chained hands and cried
as he was slapped again.”

On social media, people connected this account with the photos that Toczylowski
had shared of Andry. Toczylowski told me that it seemed unlikely Andry would
have described himself as a barber. But was it possible that, in addition to a gay
makeup artist, the Trump Administration had just deported a gay hairdresser?
One user on X posted a photo of Andry alongside a photo taken by Holsinger of a
Venezuelan prisoner getting his head shaved. “The first photo is of a young
Venezuelan named Andrys—a twenty-three-year-old gay makeup artist,” the
person wrote. (Andry is thirty-one.) A spokesperson for the Department of
Homeland Security quoted the post and responded, “No. DHS intelligence
assessments go well beyond just gang affiliate tattoos. This man’s own social media
indicates he is a member of Tren de Aragua.”

The residents of Capacho have been holding regular vigils for Andry, and they’ve
recorded videos of spirited pleas to release him. Cárdenas, the head of the Three
Kings festival, begged Bukele directly, calling Andry a “great talent of our town.”
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At the gatherings, many people turned out wearing costumes from the festival.
Andry’s full name is ubiquitous in the Spanish-language coverage. Online, there
are already dozens of photos, not just of him but of his old neighbors and friends
filling the streets before the local church. In one of them, Andry’s mother and
father are standing next to three men in festival garb, holding signs for
Conscience, Justice, and Liberty. On each of their heads is a crown. ♦


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Jonathan Blitzer is a staff writer at The New Yorker. His first book, “Everyone Who Is Gone
Is Here,” was published in January, 2024.
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More:   Immigrants    Donald Trump     Deportations      Asylum Seekers




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               EXHIBIT 18
4/29/25, 1:01 PM Case 3:25-cv-00113-SLH        Document
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                                                        sent to El Salvador Filed  04/29/25
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                                                                                        criminal record        182 of
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    Trump                              Immigration           ​Environment           ​Economy
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      WORLD & NATION




     About 90% of migrants sent to El Salvador lacked U.S. criminal
     record




     Guards transfer deportees from the U.S., alleged to be Venezuelan gang members, to the Terrorism Confinement Center in
     Tecoluca, El Salvador, on March 16. ( El Salvador presidential press office via Associated Press)


     By Bloomberg News

     April 10, 2025 7:05 AM PT



     Trump administration officials have described the men deported to El Salvador prisons
     last month as “the worst of the worst,” suggesting they were gang members involved in

https://www.latimes.com/world-nation/story/2025-04-10/about-90-of-migrants-sent-to-el-salvador-lacked-u-s-criminal-record      1/5
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     murder, rape and kidnapping.


     The reality is that of 238 migrants — mostly Venezuelan — that officials accused of
     belonging to the Tren de Aragua gang and expelled to the Central American country in
     mid-March, just a small fraction had ever been charged with serious crimes in the U.S.


     Hundreds of pages of U.S. legal records and American government statements reviewed
     by Bloomberg News found five men charged with or convicted of felony assault or
     firearms violations. Three men were charged with misdemeanors including harassment
     and petty theft. Two others were charged with human smuggling.


     For the rest of the men, there was no available information showing they committed any
     crime other than traffic or immigration violations in the U.S.


                                POLITICS

                                Supreme Court immigration ruling: Due process in theory, deportation in practice
                                April 9, 2025




     The findings raise questions about how the Trump administration determined that the
     migrants sent to El Salvador were violent criminals. The U.S. maintains that all of the
     Venezuelans on the flights had committed a crime because they were in the country
     illegally, a senior official with the Department of Homeland Security said in an email.
     The official said many of the men who lacked U.S. records were nonetheless terrorists,
     human-rights abusers or gangsters.


     Many of the men allegedly associated with Tren de Aragua were deported under the
     rarely used Alien Enemies Act of 1798 without court review.


     A U.S. judge ordered the administration to stop, but on Monday, the Supreme Court
     said the administration can seek to resume deportations under the act if migrants are
     given notice and a chance to make their case to a judge.
https://www.latimes.com/world-nation/story/2025-04-10/about-90-of-migrants-sent-to-el-salvador-lacked-u-s-criminal-record      2/5
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     Media reports in the Washington Post and elsewhere have cast doubt on the White
     House’s portrayals of the men as criminals, and lawyers have said that some individuals
     were identified as gang members based on the types of clothing they were wearing or
     tattoos they had.


                                POLITICS

                                Supreme Court upholds Trump’s war power to deport Venezuelan gang members
                                April 7, 2025




     A CBS News investigation found that three-fourths of the men sent to El Salvador
     couldn’t be connected with a U.S. or international criminal record. Now, Bloomberg’s
     review of U.S. court cases and government statements show there’s very little publicly
     available documentation to support the notion that only violent offenders were sent
     away.

                                                                     ADVERTISEMENT




     The administration has acknowledged in court that not all the men have criminal
     records, but say it’s only further evidence of the threat they pose.


     “It demonstrates that they are terrorists with regard to whom we lack a complete
     profile,” Robert Cerna, the acting field office director of enforcement and removal


https://www.latimes.com/world-nation/story/2025-04-10/about-90-of-migrants-sent-to-el-salvador-lacked-u-s-criminal-record      3/5
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     operations for Immigration and Customs Enforcement, said in a legal filing in the battle
     over the deportations.


     Bloomberg obtained a list of the passengers and examined their criminal histories by
     reviewing U.S. federal court records, media reports and public statements by
     government officials. The search also included state court dockets, though not all local
     courts make records available online. There were 13 court cases involving people with
     names that were similar to a deportee, though not an exact match; those weren’t
     included in the final tally because the connection couldn’t be confirmed.


                                WORLD & NATION

                                A closer look at Trump’s move to send Venezuelan migrants to a prison in El
                                Salvador
                                April 6, 2025




     The deportations are at the center of a high-stakes legal showdown that is testing the
     ability of federal judges to enforce limits on the president’s power. In its Monday
     opinion, the Supreme Court didn’t rule on whether the administration’s interpretation
     of the law was correct, but said it can resume using the law to try to deport alleged
     Venezuelan gang members. The court said detainees must have notice and a chance to
     make their case to a judge before they are deported.


     U.S. deportations to El Salvador have received outsize attention in part because of
     Kilmar Abrego Garcia, a Maryland man who immigration officials conceded was
     wrongly expelled. He was part of a separate group of Salvadoran deportees who were
     accused of being part of a different gang, MS-13.


     Andrés Antillano, a professor at the Central University of Venezuela in Caracas who
     studies organized crime, says it is possible that some individuals affiliated with Tren de
     Aragua are in the U.S., but panic about an organized crime wave is overblown. He
     compared it with previous concerns about immigrants bringing in crime, likening it to

https://www.latimes.com/world-nation/story/2025-04-10/about-90-of-migrants-sent-to-el-salvador-lacked-u-s-criminal-record      4/5
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     anti-Italian bias in the 1940s and 1950s focused on alleged ties to the mafia, anti-Cuban
     sentiment amid Miami’s drug wars of the 1980s and more recently stereotypes about
     Central Americans being involved with MS-13.


     “Waves of migration have generated a lot of anxiety, and myths have emerged,”
     Antillano said in an interview. The Trump administration is “criminalizing young
     Venezuelans, mostly from working-class groups.”



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                                                 Democracy Dies in Darkness




U.S. intelligence contradicts Trump’s justification for mass
deportations
The determination is the most comprehensive assessment to date undercutting the president’s
rationale for deporting suspected gang members without due process.
April 17, 2025


By John Hudson and Warren P. Strobel


The National Intelligence Council, drawing on the acumen of the United States’ 18 intelligence agencies, determined in
a secret assessment early this month that the Venezuelan government is not directing an invasion of the United States
by the prison gang Tren de Aragua, a judgment that contradicts President Donald Trump’s public statements,
according to people familiar with the matter.


The determination is the U.S. government’s most comprehensive assessment to date undercutting Trump’s rationale
for deporting suspected gang members without due process under the Alien Enemies Act, the 1798 law last used during
World War II that laid the foundation for the incarceration of more than 110,000 Japanese Americans.


Trump invoked the act in mid-March, proclaiming without evidence that Tren de Aragua is perpetrating an “invasion”
of the United States “at the direction” of the regime of Venezuelan President Nicolás Maduro. Under the Alien Enemies
Act, the government sent planeloads of alleged gang members to El Salvador’s notorious megaprison despite a judge’s
order to turn the planes around and afford the detainees an opportunity to challenge their removal through standard
legal processes.



Trump presidency

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progress on campaign promises and legal challenges to his executive orders and
actions.
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The intelligence product found that although there are some low-level contacts between the Maduro government and
Tren de Aragua, or TdA, the gang does not operate at the direction of Venezuela’s leader. The product builds on U.S.
intelligence findings in February, first reported by the New York Times, that the gang is not controlled by Venezuela.


The National Intelligence Council is the analytic hub of the U.S. intelligence community that reports to Director of
National Intelligence Tulsi Gabbard. It is composed of veteran specialists in particular regions or topics, known as
national intelligence officers, and produces classified assessments meant to represent the assessment of all U.S. spy
agencies.


The people familiar with this assessment spoke on the condition of anonymity to discuss confidential intelligence
matters.


When asked about the findings, the Office of the Director of National Intelligence dismissed it as the work of “deep
state actors” working in conjunction with the media.


“President Trump took necessary and historic action to safeguard our nation when he deported these violent Tren de
Aragua terrorists,” the statement said. “Now that America is safer without these terrorists in our cities, deep state
actors have resorted to using their propaganda arm to attack the President’s successful policies.”


The finding was nearly unanimous among the U.S. intelligence agencies with the exception of the FBI, which assessed a
moderate level of cooperation between the gang and the Venezuelan government, two people familiar with the matter
said.


The dispute over the group’s ties to Venezuela come amid a larger standoff between the Trump administration and the
courts that has alarmed constitutional scholars, the president’s political opponents and some fellow Republicans as the
administration challenges judges’ orders arising from this case and others.


The Alien Enemies Act empowers the executive branch to summarily remove foreigners whose home country is at war
with the United States or waging a “predatory incursion” into U.S. territory. Legal experts believe the law requires that
the invasion or incursion be linked to the actions of a foreign government.


Trump’s invocation of the act claims such a link: “TdA is undertaking hostile actions and conducting irregular warfare
against the territory of the United States both directly and at the direction, clandestine or otherwise, of the Maduro
regime in Venezuela.”


Two Democrats on the House Intelligence Committee, Rep. Jim Himes (Connecticut), the panel’s top member from his
party, and Rep. Joaquin Castro (Texas), wrote to Gabbard on April 10 imploring her to declassify information on TdA’s
alleged ties to the Venezuelan government, a committee spokesperson said. The pair asked her to do so “in keeping
with her public commitment to greater transparency” from U.S. spy agencies. They have yet to receive a reply, the
spokesperson said.


Castro asked Gabbard at an Intelligence Committee hearing in late March whether U.S. spy agencies assessed that the
Maduro government is directing “any hostile actions against the United States.”
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“There are varied assessments that came from different intelligence community elements,” Gabbard replied. She did
not disclose that almost all U.S. intelligence agencies, with the exception of the FBI, did not see evidence of such links.


At the hearing, Castro also asked CIA Director John Ratcliffe whether U.S. spy agencies had an assessment that the
United States is at war with, or being invaded by, Venezuela. “We have no assessment that says that,” Ratcliffe replied.


A former U.S. intelligence officer who served in South America, speaking on the condition of anonymity because of the
issue’s sensitivity, said he knew of no evidence that TdA was directed by Maduro and his allies. That view is shared
widely by regional analysts.


“The idea that Maduro is directing Tren de Aragua members and sending criminals to infiltrate the United States is
ludicrous,” said Geoff Ramsey, a Venezuela expert at the Atlantic Council, a Washington-based think tank.


The group, which started as a prison gang in the Venezuelan state of Aragua in 2014, has expanded into a transnational
gang that has carried out brazen crimes from Santiago, Chile, to New York City. But it does not operate with a clearly
defined hierarchical structure, Ramsey said.


“Tren de Aragua has become more like a brand that any group of carjackers from Miami down to Argentina can invoke
to further their criminal activity, but there’s really no clear sense of hierarchy,” he said. “And the reality is that Tren de
Aragua has not always gotten along with the Maduro government: We saw just a few years ago, the military in 2023,
stormed a prison that Tren de Aragua controlled and allegedly carried out extrajudicial executions.”


Trump’s standoff with the courts over his deportation orders has grown increasingly rancorous.


For weeks, Chief U.S. District Judge James E. Boasberg of D.C. has pressed the Justice Department on why the
administration deposited more than 130 Venezuelan deportees in the Salvadoran megaprison without due process,
hours after he ordered the administration not to do so and said any planes that had already taken off should be turned
around and returned to the United States.


On Wednesday, he said he would launch proceedings to determine whether any Trump administration officials defied
his order not to deport the migrants and should face criminal contempt charges.


“The Constitution does not tolerate willful disobedience of judicial orders — especially by officials of a coordinate
branch who have sworn an oath to uphold it,” the judge said.


Allowing political leaders to defy court judgments would make “a solemn mockery” of “the constitution itself,” he said.


Administration officials have broadly maintained that they’ve complied with all court orders, even as they’ve repeatedly
walked right up to the line of open defiance and publicly attacked Boasberg and other judges for seeking to restrain the
president’s agenda.


Steven Cheung, White House communications director, said in an emailed statement, “The President is 100%
committed to ensuring that terrorists and criminal illegal migrants are no longer a threat to Americans and their
communities across the country.”
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What readers are saying
The comments overwhelmingly criticize President Trump, focusing on his alleged dishonesty and the
contradiction between his claims and the U.S. intelligence community's assessment regarding Tren de
Aragua's ties to the Venezuelan government. Many commenters express disbelief in... Show more
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